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 VII. REVIEW AND ANALYSIS OF ESTATE CAUSES OF ACTION IMPLICATED
 BY AFFILIATE TRANSACTIONS AND THE RELATIONSHIP AND COURSE OF
 DEALING AMONG RESCAP, AFI, ALLY BANK, AND CERBERUS
 L. CONTRACTUAL ISSUES AND RELATED CLAIMS
      The transactions between ResCap and ResCap Subsidiaries, on the one hand, and AFI
 and Ally Bank on the other hand, may implicate a number of contractual issues and related
 claims, including the following:
                   1. Claims for breach of, and tortious interference with, the 2005 Operating
                      Agreement, and fraud, arising from the 2006 Bank Restructuring;
                   2. Contractual claims related to the MMLPSA, the Pipeline Swap, the MSR
                      Swap, and the Broker Agreement; and
                   3. Claims regarding the Debtors’ indemnity obligations for loan modifications
                      under the January 30 Letter Agreement and the A&R Servicing Agreement.
 These issues are addressed below.1
      1. Contract And Tort Claims Related To 2006 Bank Restructuring
      Pursuant to the analysis in Section V.A.2.b, summarized in Section V.A.1.a(5), the
 Examiner has concluded that ResCap did not receive reasonably equivalent value in the 2006
 Bank Restructuring, in large measure because ResCap was not fully compensated for the non-
 voting nature and other qualities of the IB Finance Class M Shares that ResCap received in the
 transaction.2 There are troubling facts associated with the 2006 Bank Restructuring and, after
 summarizing the circumstances of that transaction, this Section considers whether the estate
 may have viable fraud claims or contract claims arising from the 2005 Operating Agreement
 with respect to the 2006 Bank Restructuring.3
               a. Summary Of Factual Background
      In 2006, ResCap in essence sold the assets and liabilities of Old GMAC Bank to AFI in
 exchange for a non-voting, partial ownership interest in IB Finance, the newly established
 holding company for Ally Bank (f/k/a GMAC Automotive Bank).4 That interest was
 1   In addition to these issues, there is a further contractual issue regarding the enforceability of the First 2009
     Tax Allocation Agreement, which is addressed in Section VII.K.
 2   ResCap had a controlling interest in Old GMAC Bank; it received a non-voting, non-controlling interest in
     relatively unmarketable tracking shares of IB Finance. See Section V.A.1.a (2006 Bank Restructuring
     narrative); Section V.A.2.b (2006 Bank Restructuring REV explanation); Appendix V.A.2.b (supporting data
     and calculations).
 3   Similar potential claims by third-party beneficiaries of the 2005 Operating Agreement are addressed in
     Section VIII.C.5.b. Elsewhere in this Report, the Examiner considers the 2006 Bank Restructuring with
     respect to: (1) alter ego/veil piercing; (2) equitable subordination; (3) fraudulent transfer claims; and
     (4) fiduciary duty claims. See Sections VII.A.1.f, VII.C.4.c(1), VII.F.6.f(1)(a), VII.E.2.a (respectively).
 4   For a more detailed narrative of the 2006 Bank Restructuring, refer to Section V.A.1.

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 represented by two million IB Finance Class M Shares.5 The Independent Directors, who
 (together with the ResCap Board) approved the transaction, were told by ResCap and AFI
 management and directors that the transfer was necessary in order to close the Cerberus
 investment in AFI.6 ResCap stood to benefit from the Cerberus transaction through avoidance
 of a credit rating decline (although no formal valuation of this benefit was conducted at the
 time). In order to ensure that Cerberus would not become a bank holding company through its
 ownership interest in AFI, the Cerberus PSA required the removal of Old GMAC Bank (a
 federal thrift) from the Cerberus ownership chain, and specified that the assets and liabilities
 of Old GMAC Bank were to be transferred to Ally Bank (a Utah industrial bank).7 But
 accomplishing this, and obtaining the expected credit rating impact of the transaction, did not
 require that ResCap be left with no voting interest in Ally Bank, nor did it require ResCap to
 be under-compensated for its loss of control. The Cerberus PSA, in fact, did not specify how
 that transfer was to be accomplished nor how Ally Bank and its holding company were to be
 structured; indeed, it specifically acknowledged that ResCap could be given sole ownership of
 Ally Bank.8 In particular, the Cerberus PSA did not mandate that ResCap trade its interest in
 Old GMAC Bank, at book value, for non-voting interests in a newly established holding
 company that would own the industrial bank formerly known as GMAC Automotive Bank.9

      Indeed, ResCap and AFI management initially explored multiple potential ownership
 structures for the reorganized bank, only one of which called for the approach ultimately
 implemented, i.e., 100% AFI voting control of IB Finance, only non-voting interests in IB
 Finance for ResCap, and proportional earnings distribution to ResCap based on Ally Bank’s
 mortgage operation.10 The evidence shows, however, that the Independent Directors were
 never told that any such alternative structures were possible or were considered (or could or
 should have been considered by the ResCap Board), much less told whether such alternative
 5    ResCap received $1.161 billion, which it contributed to IB Finance. After closing, ResCap was immediately
      called upon to contribute additional capital of $360 million to the mortgage division of Ally Bank. See Section
      V.A.1.a.
 6    See Walker Report, at 9 [RC40008925]. Note that David Walker, a ResCap director, also had an affiliation
      with AFI, as did others involved in this transaction. See also Memorandum, Proposed Restructuring of
      GMAC U.S. Banking Entities, dated May 5, 2006, at 1 [EXAM10258913] (attached to E-mail from
      K. Sabatowski to T. Melzer and T. Jacob (May 4, 2006) [EXAM10258912]) (explaining that absent
      completion of the 2006 Bank Restructuring described therein, including AFI ownership of the voting shares,
      the Cerberus PSA would not close).
 7    Cerberus PSA, § 4.1(e)(i) [CERB000521].
 8    The Cerberus PSA did not specify a particular structure for GMAC Automotive Bank’s future ownership
      other than that it had to be “directly or indirectly wholly owned” by AFI. Id.; see also id. Ex. H, at 1 (“[AFI]
      or ResCap will wholly own the Industrial Bank, or it will be co-owned by [AFI] and ResCap.”) (emphasis
      added).
 9    As addressed in Section V.A.1.a, interviews of Cerberus officers are consistent with the conclusion that
      Cerberus did not require a specific form of ownership for the restructured bank and, in any event, no such
      requirement was reflected in the Cerberus PSA.
 10   See Draft Memorandum, IB Alternatives, dated Apr. 4, 2006, at 1 [EXAM11237439] (attached to E-mail from
      D. Applegate to B. Paradis (Apr. 4, 2006) [EXAM11237438]).

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 structures were viable, or the reason or reasons that they were rejected in favor of the structure
 ultimately adopted, i.e., under which ResCap’s shares of IB Finance were non-controlling and
 non-voting.11

       Further, the April 20, 2006 memorandum by ResCap General Counsel David Marple,12
 which was addressed to David Applegate and copied to multiple ResCap officials,13 was never
 shared with the Independent Directors. That memorandum stated that “[AFI] maintains that it
 must control the Industrial Bank in order for its automotive businesses to be covered under the
 ‘call option’ provided by [the Cerberus PSA].”14 Marple’s memorandum posited three ways in
 which the contemplated transaction conflicted with the 2005 Operating Agreement:15 (1) the
 loss of control would violate the “arm’s-length” and “fair value” requirement for agreements
 between ResCap and AFI;16 and the new structure would contravene (2) the AFI affiliate
 investment prohibition;17 and (3) the requirement that ResCap run its business separately from
 that of AFI.18 Marple’s memorandum also observed that “if either of the independent directors
 believes that the amendment is a ‘close call’ under the Operating Agreement—they will likely
 veto the amendment.”19

      The misgivings concerning the loss of “controlling interest in a bank” expressed by
 Applegate, and his proposal in an April 24, 2006 memorandum to AFI President William Muir
 of an alternative structure whereby ResCap would manage and control at least 51% of the
 restructured bank,20 were apparently never shared with the Independent Directors.21 Instead, a



 11   See Section V.A.1.a.
 12   See Memorandum, GMAC Bank Restructuring, dated Apr. 20, 2006 [EXAM11248642].
 13   The memorandum was also copied to William Solomon, AFI General Counsel, to whom Marple had at least a
      dotted line reporting relationship. See Int. of D. Marple, Jan. 22, 2013, at 46:15–18 (“So my solid line was
      into Bruce Paradis. My dotted was into Bill. Bill probably saw fewer spaces between those dots than others,
      but, you know.”).
 14   Memorandum, GMAC Bank Restructuring, dated Apr. 20, 2006, at 2 [EXAM11248642].
 15   See id. at 3–5.
 16   2005 Operating Agreement, § 2(b) [ALLY_0140795].
 17   Id. § 2(a)(ii).
 18   Id. § 2(f).
 19   Memorandum, GMAC Bank Restructuring, dated Apr. 20, 2006, at 6 [EXAM11248642].
 20   Memorandum, ILC Ownership and Control, dated Apr. 24, 2006 [EXAM11248641].
 21   When interviewed by the Examiner’s Professionals, Muir suggested that he did not even consider Applegate’s
      proposal to be a serious proposal. See Int. of W. Muir, Mar. 1, 2013, at 26:2–7 (“Well, I would say my
      recollection is that it wasn’t a—how can I put it? It wasn’t a seriously considered proposition. It was not
      something that, I don’t think, Dave himself ever really thought was reasonable and was going to fly. But it
      didn’t hurt to ask.”); see also Int. of E. Schenk, Apr. 24, 2013, at 55:2–14 (Schenk, who was counsel to the
      Independent Directors, was unfamiliar with the contents of Applegate’s memorandum).

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 few days after Applegate wrote to Muir, ResCap Chairman (and AFI Chairman) Eric Feldstein
 explained to the Independent Directors how AFI would “divest [ ] itself of its thrift charter,”
 as required by Cerberus.22

      In this first presentation to the Independent Directors on the topic, Feldstein’s
 memorandum advised that “[o]ne alternative considered” was that of ResCap obtaining the
 charter of a “new industrial bank,” into which Old GMAC Bank’s business could be
 transferred, but that “this is not a viable option” due to time constraints.23 Thus, while not
 explicitly stating that the structure was mandated by the terms of the Cerberus PSA,
 Feldstein’s memorandum “propose[d] an alternative” in order to move forward with the
 Cerberus PSA, whereby Old GMAC Bank would be restructured in a manner such that its
 assets, liabilities, management, employees, and operations would be transferred to Ally Bank;
 “economic ownership” would be split proportionally between AFI and ResCap; and “voting
 ownership . . . would remain 100% with [AFI].”24 Feldstein’s memorandum said:

                  Given the proposed structure preserves the economics to
                  ResCap and that this transaction would only be completed in
                  connection with the sale of 51% of [AFI] (which should result in
                  [AFI] and ResCap ratings being de-linked from GM’s ratings),
                  this approach is prudent and sound for ResCap.25

       The memorandum further advised the Independent Directors that “[t]he ResCap Board
 . . . is prepared to approve the bank restructuring and related waivers in the Operating
 Agreement” and noted that “each of you (as independent directors) must also approve the
 waivers if they materially and adversely affect the rights of the rated debt.”26 Feldstein’s
 memorandum, which concluded by expressing the hope that “you can agree with the proposed
 course of action,” and a request for the Independent Directors’ “thoughts,”27 did not mention:
 (1) the alternative structures that were considered in Applegate’s April 4 memorandum;
 (2) that such structures had been rejected by AFI management, apparently as an
 accommodation to GM; or (3) that Applegate had misgivings about the loss of control.

      A few days later, through their counsel (Erika Schenk of Bryan Cave), the Independent
 Directors raised with Marple a number of questions concerning the proposal; however,
 apparently accepting that the structure was a necessary aspect of the transaction with
 22   Memorandum, Proposed Restructuring of GMAC U.S. Banking Entities, dated May 5, 2006, at 1
      [EXAM10258913] (attached to E-mail from K. Sabatowski to T. Melzer and T. Jacob (May 4, 2006)
      [EXAM10258912]). This memorandum was copied to everyone who was then a member of the ResCap
      Board.
 23   Id.
 24   Id.
 25   Id. at 2.
 26   Id.
 27   Id.

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 Cerberus, the Independent Directors simply noted the subject of “the economic stake of
 ResCap and the voting rights in the IB”28 as an issue, but did not ask any questions about it.
 Marple—who two weeks earlier had advised Applegate and others that “[i]t is not reasonable
 to believe that ResCap’s leadership would agree to transfer a material business to a third-party
 under a similar arrangement”29—provided only a sparing response: “let me know if you would
 like any further information in connection with your consideration of this matter.”30 A more
 complete and candid response would have disclosed the possibility of alternative structures
 obviating or ameliorating control issues, or would have provided information or advice
 regarding his views of the contemplated transaction in light of the restrictions on inter-
 company transactions under the 2005 Operating Agreement.31 The Investigation has found no
 evidence that the Independent Directors or their counsel questioned Marple’s response.32 More
 generally, the Investigation has revealed no evidence showing that the Independent Directors
 were ever informed of the possibility of alternative ownership structures in connection with
 the 2006 Bank Restructuring which, inter alia, may have included proportional voting
 control33 or compensation to ResCap for its loss of control.34

       The AFI officials in control of the transaction and related communications with the
 Independent Directors included the chief architects and proponents of the sale of 51% of AFI
 to Cerberus—Feldstein and David Walker—and given the contents of Marple’s memorandum
 and Applegate’s memorandum, they had reason to fear that the Independent Directors would
 find that the transaction was not in the best interests of ResCap and its creditors. The
 Examiner concludes that material information regarding possible alternative structures was
 withheld from the Independent Directors by AFI or officials under its control, as was the fact
 that accommodation of GM’s call option played a role in, and may have been a primary reason




 28   E-mail from E. Schenk to D. Marple (May 10, 2006) [JACOB.000010]. Melzer was aware that “voting shares
      would have been better.” Int. of T. Melzer, Oct. 10, 2012, at 206:18–25, 208:25–209:7.
 29   Memorandum, GMAC Bank Restructuring, dated Apr. 20, 2006, at 4 [EXAM11248642].
 30   Memorandum, GMAC Bank Restructuring, dated May 12, 2006, at Question 4 [ALLY_0401600].
 31   See Memorandum, GMAC Bank Restructuring, dated Apr. 20, 2006 [EXAM11248642].
 32   Schenk said that she could not “recall with specificity” whether she asked for additional information. Int. of E.
      Schenk, Apr. 24, 2013, at 89:19–90:1. And she said in her experience if Marple “knew we were interested in
      an issue, he was always very good about coming back even if we hadn’t requested something and saying . . . I
      just saw this and here it is.” Id. at 68:9–19. No additional correspondence between Marple and the
      Independent Directors or their counsel on the subject of voting rights was located in the Investigation (nor any
      reference to such correspondence), and the Examiner concludes that the evidence supports the proposition that
      no such correspondence occurred.
 33   See Int. of S. Khattri, Oct. 25, 2012, at 73:10–17 (“[Q:] Was there any presentation to the independent
      directors that suggested that it was an option that ResCap receive something other than a non-voting interest?
      [A:] To the best of my knowledge no.”).
 34   See Int. of T. Jacob, Apr. 17, 2013, at 77:9–19.

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 for, AFI’s rejection of alternative structures at that time.35 Instead, incomplete and,
 consequently, misleading information was provided. It is apparent, moreover, that the AFI
 proponents of the Cerberus PSA communicated the urgent view, and the Independent
 Directors were led to believe,36 that the failure of ResCap to execute the 2006 Bank
 Restructuring in the proposed manner would cause the Cerberus PSA to fail to the detriment
 of both AFI and ResCap.37

      In November 2006, after approval by the FDIC and DFI of the restructuring of GMAC
 Automotive Bank,38 the ResCap Board, including the Independent Directors, were presented
 with the Walker Report in connection with their November 20, 2006 vote on the restructuring
 of Old GMAC Bank.39 The Walker Report stated: “Successful completion of the bank
 restructuring is a condition to the closing of the [AFI] Sale.”40 It explained, further, that if the
 “[AFI] Sale” did not close, statements from ratings agencies “clearly indicate prompt and
 adverse actions,”41 e.g., “Moody’s would relink [AFI’s] credit rating with GM’s rating.”42
 Given the linkage between AFI’s credit rating and that of ResCap, the Walker Report
 explained, “we expect that if [AFI] is downgraded, ResCap will be downgraded to non-
 investment grade.”43

     The Walker Report included no explanation, however, for the non-voting status of the IB
 Finance Class M Shares under the transaction the ResCap Board was being asked to approve.


 35   As noted in Section VI.A.1.a, Muir’s suggestion that alternative structures were rejected by AFI in order to
      ensure that Ally Bank spoke to regulators with only “one voice” is difficult to reconcile with the record. See
      Int. of W. Muir, Mar. 1, 2013, at 35:19–36:15.
 36   See, e.g., Walker Report, at 9 [RC40008925] (“Successful completion of the bank restructuring is a condition
      to the closing of the [AFI] Sale. This sale is intended to de-link ResCap’s credit rating from GM, and may
      facilitate ratings upgrades . . . . Conversely, if the [AFI] Sale does not close . . . statements from the ratings
      agencies clearly indicate prompt and adverse actions.”).
 37   See, e.g., Int. of W. Muir, Mar. 1, 2013, at 22:7–19. (“And so, as a part of that process, the ResCap
      executives—I would put it in the category, ‘Well, it doesn’t hurt to ask’—said, ‘Well, we’d like to control the
      bank.’ And basically they weren’t given that opportunity, because we didn’t feel it was in the best interests of
      the bank or the parent company to let that happen. And, since—you know, basically it was ResCap’s choice as
      to whether or not they wanted to participate along the terms that we were providing, which we felt were
      economically very fair and in everybody’s best interests and going to be a good deal for one and all.”).
 38   See DFI, Findings, Conclusions & Order Conditionally Approving Application, Nov. 15, 2006
      [CERB003827]; see also FDIC Approval Letter from S. L. Thompson (Nov. 15, 2006) [GOLDIN00093066].
 39   See Walker Report [RC40008925]. The ResCap Board had a draft of the Walker Report a month earlier. See
      Draft Report to the Board of Directors of ResCap, dated Oct. 16, 2006, at RC00016557 [RC00016501]
      (included in the materials circulated to the ResCap Board in advance of its October 19, 2006 meeting).
 40   Walker Report, at 9 [RC40008925].
 41   Id.
 42   Id.
 43   Id.

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 The Walker Report stated that notwithstanding the non-voting shares it would receive,
 “ResCap’s control over the bank would . . . be unchanged,” because AFI (the putative owner
 of all of the voting shares in IB Finance) was and would remain the sole member of ResCap
 and thus “controls the ResCap [B]oard.”44

      Moreover, the Walker Report notably mentioned only two of the three relevant
 provisions of the 2005 Operating Agreement highlighted in Marple’s April 20, 2006,
 memorandum.45 In particular, the Walker Report did not mention the requirement under
 section 2(b) of the 2005 Operating Agreement that any material transaction between ResCap
 and AFI be “on terms and conditions that are . . . arm’s-length . . . and for fair value.”46
 Similarly, it did not mention Marple’s prior conclusion and advice to management that the
 proposed restructuring ran afoul of those section 2(b) requirements.47

       The conduct surrounding communications with the Independent Directors with respect to
 the 2006 Bank Restructuring suggests that ResCap and AFI officials chose to manage the
 information flow on this subject to minimize the likelihood that the Independent Directors
 would “veto”48 the transaction. The failure specifically to mention section 2(b) in the Walker
 Report appears to have been an intentional effort to manage the vote of the Independent
 Directors so that they would not veto the amendment. Even Applegate, who expressed
 misgivings to Muir in his April 24 memorandum, had said in an earlier e-mail that “[t]he goal
 is to solidify our leadership of the process and end ownership.”49

      The 2006 Bank Restructuring was approved unanimously by the ResCap board members
 present at its November 20, 2006 meeting,50 and the ResCap Board granted a “waiver of the
 Operating Agreement,”51 although only sections 2(a) and 2(f) thereof were specifically
 44   Id. at 9–10.
 45   Memorandum, GMAC Bank Restructuring, dated Apr. 20, 2006 [EXAM11248642].
 46   2005 Operating Agreement, § 2(b) [ALLY_0140795].
 47   See Memorandum, GMAC Bank Restructuring, dated Apr. 20, 2006, at 4 [EXAM11248642]. In addition,
      while accommodating GM’s call option was a key predicate for the restructuring proposal that the ResCap
      Board was considering (a fact not mentioned in the Walker Report), the Walker Report said that any risk of
      GM exercising the option, leaving ResCap without access to bank funding, was remote. See Walker Report, at
      7 [RC40008925]. The Walker Report suggested that by the time GM was in any financial condition to do so,
      ResCap would have acquired a new industrial bank of its own. See id.
 48   Memorandum, GMAC Bank Restructuring, dated Apr. 20, 2006, at 6 [EXAM11248642].
 49   E-mail from D. Applegate to J. Barr and R. Hall (Mar. 21, 2006) [EXAM11740324].
 50   The minutes reflect that ResCap CEO Bruce Paradis was not present. Minutes of a Special Meeting of the
      Board of Directors of Residential Capital, LLC, Nov. 20, 2006, at RC40006837 [RC40006748]. Paradis had
      been appointed to AFI’s “Executive Committee” a few days earlier. See Minutes of a Regular Meeting of the
      Board of Directors of GMAC LLC, Nov. 16, 2006, at ALLY_0002358 [ALLY_0002260].
 51   Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Nov. 20, 2006, at
      RC40006839 [RC40006748]. Under section 8 of the 2005 Operating Agreement, such a waiver could only be
      valid if “a majority of . . . ResCap’s Board . . . including a majority of the Independent Directors” approved it.

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 mentioned in the ResCap board minutes memorializing that action.52 There was no fairness
 opinion or any independent third-party valuation report in connection with the transaction.53
 ResCap was under-compensated for its interest in Old GMAC Bank: the REV shortfall was
 between $390-465 million.54 The difference in the equity value of Old GMAC Bank and the
 2 million IB Finance Class M Shares was between $533 and $608 million.55

                b. Fraud

      The facts just outlined are, as noted above, disconcerting. Despite the presence of the
 2005 Operating Agreement, the Independent Directors clearly were not fully advised
 regarding the transaction, and therefore made a less-than fully informed decision when they
 agreed to a waiver under the 2005 Operating Agreement. ResCap received considerably less
 value in the form of non-voting IB Finance Class M Shares than that which it gave up, i.e.
 ownership of Old GMAC Bank, and the Independent Directors may well have pressed for
 ResCap to receive more value if they had known the facts that were kept from them.

       The analysis of potential claims in this area is subject to an initial question about whether
 a wholly owned subsidiary can bring a claim sounding in fraud against its parent and sole
 shareholder. In a 1972 per curiam ruling, the Minnesota Supreme Court affirmed the dismissal
 of a fraud counterclaim brought by a former subsidiary against its parent on several grounds,
 one of which was that “[w]e think the subsidiary is without standing to challenge the acts of
 its parent.”56 The case, which cites no authority for this proposition, has not been cited for this
 proposition in the 41 years since it was issued, and involved complex facts. Nearly twenty
 years later, an Illinois federal district court, in a much more developed discussion, allowed a
 contract claim by a wholly owned subsidiary against its parent to proceed, stating, inter alia, a
 parent cannot “reap[ ] the benefits of its subsidiary’s independent corporate existence . . .
 52   Id. The minutes state that “full and robust deliberation” preceded the ResCap Board’s vote. Id. The
      Investigation has revealed no suggestion that the discussion addressed the very information which appears to
      have been purposefully left out of related correspondence and reports. See Int. of S. Khattri, Oct. 25, 2012, at
      73:10–16 (stating there was no presentation to the Independent Directors suggesting any option for ResCap to
      receive other than non-voting interest); Int. of E. Feldstein, Dec. 14, 2012, at 112:25–113:10 (stating there
      was no discussion with the Independent Directors of voting shares versus non-voting shares); Int. of D.
      Walker, Nov. 28, 2012, at 147:22–23 (“I’m saying I don’t recall whether they were presented with that.”); Int.
      of E. Schenk, Apr. 24, 2013, at 57:22–58:1 (“[Q:] So, and to your knowledge, was it always presented to them
      that [AFI] would retain 100 percent of voting interest in the bank? [A:] Yes.”).
 53   See Int. of T. Melzer, Oct. 10, 2012, 213:5–15 (“So as to not leave the . . . bank discussion open, there were
      aspects of that transaction that concern me. But, on balance, all things considered, I felt it was in the best
      interests of all stakeholders . . . . [W]e did not have independent valuations of the interests in this particular
      case. But I think it was probably a book value transaction, which is not uncommon, and I wasn’t
      uncomfortable with that approach.”).
 54   See Section V.A.2.b; Appendix V.A.2.b.
 55   See Section V.A.2.b; Appendix V.A.2.b.
 56   See Blenda Life Corp. v. Blenda Life, Inc., 196 N.W.2d 925, 927 (Minn. 1972) (per curiam) (terming this
      issue “dispositive”).

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 while at the same time side-stepping its reciprocal pit-falls.”57 This issue of suits by wholly
 owned subsidiaries against parents is further complicated here because the power that a parent
 corporation typically enjoys with respect to its wholly owned subsidiary is qualified to a
 certain extent in the AFI-ResCap relationship by the structure and procedures created by the
 2005 Operating Agreement.58 The Examiner’s Professionals have not been able to identify
 other judicial precedents addressing a situation of this kind. Whether Minnesota courts today
 would apply an unsupported statement made in a per curiam decision from 1972 to bar claims
 in the circumstances of the present case is far from clear.

      Assuming, however, that a wholly owned subsidiary can bring a claim sounding in fraud
 against its parent and sole shareholder, the Wagoner rule and the doctrine of in pari delicto are
 likely to present an impediment to such claim in this instance.

                    (1) Choice Of Law And Statute Of Limitations

      New York law governs the 2005 Operating Agreement.59 In New York courts, however, a
 contractual choice-of-law provision does not govern a cause of action sounding in tort, absent
 express agreement or an exceptionally broad choice of law provision (neither of which is the
 case here).60 Minnesota courts, on the other hand, recognize that “tort claims ‘rais[ing] issues
 of performance’ under a contract . . . are governed by the contract’s choice-of-law clause.”61
 Accordingly, and consistent with the choice-of-law analysis in Section VII.F.2.a, a potential
 action for fraud is examined both with respect to New York law and with respect to the law of
 the jurisdiction that is likely to be applicable based on general choice-of-law principles. For
 the reasons outlined in Section VII.F.2.a, the Examiner therefore considers the substantive law
 and the statutes of limitations under the law of New York and of Minnesota.

      The limitations period for fraud under either New York62 or Minnesota63 law is six years.
 Under Minnesota law the statute does not begin to run until “the discovery by the aggrieved
 party of the facts constituting the fraud.”64 However, it is plaintiff’s burden to establish that it

 57   Stamp v. Inamed Corp., 777 F. Supp. 623, 627–28 (N.D. Ill. 1991); cf. Teleglobe USA Inc. v. BCE, Inc. (In re
      Teleglobe Commc’ns Corp.), 493 F.3d 345, 371–72 (3d Cir. 2007) (reasoning similarly in the context of a
      privilege dispute).
 58   2005 Operating Agreement [ALLY_0140795].
 59   Id. § 13.
 60   See H.S.W. Enters., Inc. v. Woo Lae Oak, Inc., 171 F. Supp. 2d 135, 141 n.5 (Bankr. S.D.N.Y. 2001).
 61   Ceres Envtl. Serv., Inc. v. Arch Specialty Ins. Co., 853 F. Supp. 2d 859, 865 (D. Minn. 2012); see also Fla.
      State Bd. of Admin. v. Law Eng’g & Envtl. Serv., Inc., 262 F. Supp. 2d 1004, 1012–15 (D. Minn. 2003)
      (concluding under Minnesota law that contractual Florida choice-of-law provision applies to tort claims,
      including breach of fiduciary duty, negligence, and negligent misrepresentation, because they are all “closely
      related to the parties’ contractual relationship”).
 62   N.Y. C.P.L.R. § 213(8).
 63   MINN. STAT. § 541.05, subd. 1(6).
 64   Id.

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 could not have discovered the facts any sooner than within six years of when the action is
 commenced.65 Similarly, New York law holds that a claim for fraud is timely if commenced
 either within six years of the date the fraud occurs, or within two years of the date the fraud is
 discovered or through reasonable diligence should have been discovered, whichever is
 longer.66 The question of when a fraud reasonably should have been or could have been
 discovered is one of fact67 or a mixed question of fact and law.68 In this instance, because the
 conduct underlying the claim of fraud continued at least until November 20, 2006, and
 ResCap’s estate has the benefit of the two-year extension under the Bankruptcy Code,69 the
 statute of limitations should not be an impediment.

                    (2) Standing (The Wagoner Rule) And In Pari Delicto

      Under the in pari delicto doctrine,70 or its Second Circuit analogue—the Wagoner
 rule71—“[w]hen it comes to common law claims . . . a bankruptcy trustee is often barred from
 bringing claims on behalf of the debtor’s estate because . . . [the doctrine] generally precludes
 a wrongdoer . . . from recovering from another wrongdoer.”72 While the Wagoner rule is
 technically addressed to standing in the bankruptcy context, whereas in pari delicto is a state
 65   Alliance Bank v. Dykes, No. A12-0455, 2012 Minn. App. Unpub. LEXIS 1253, at *44 (Minn. Ct. App.
      Dec. 31, 2012) (citing Jane Doe 43C v. Diocese of New Ulm, 787 N.W.2d 680, 684 (Minn. Ct. App. 2010)),
      review denied, 2013 Minn. LEXIS 166 (Minn. Mar. 19, 2013); see also Veldhuizen v. A.O. Smith Corp.,
      839 F. Supp. 669, 675–76 (D. Minn. 1993) (limitation period begins to run when plaintiff is “aware of facts
      sufficient to put a reasonable person on notice that a fraud claim may exist”).
 66   See Liberty Co. v. Boyle, 708 N.Y.S.2d 122, 125 (N.Y. App. Div. 2000); see also Bobash, Inc. v. Festinger,
      No. 03908/05, 839 N.Y.S.2d 431 (Table) (N.Y. Sup. Ct. Mar. 30, 2007), appeal dismissed as academic, 868
      N.Y.S.2d 747 (N.Y. App. Div. 2008).
 67   See Barry v. Barry, 78 F.3d 375, 380 (8th Cir. 1996).
 68   See Saphir Int’l, SA v. UBS PaineWebber Inc., 807 N.Y.S.2d 58, 59 (N.Y. App. Div. 2006).
 69   See 11 U.S.C. § 108(a).
 70   See Kirschner v. KPMG, LLP, 938 N.E.2d 941, 950–51 (N.Y. 2010); State v. AAMCO Automatic
      Transmissions, Inc., 199 N.W.2d 444, 448 (Minn. 1972); Christians v. Grant Thornton, LLP, 733 N.W.2d
      803, 810 (Minn. Ct. App. 2007).
 71   Shearson Lehman Hutton, Inc. v. Wagoner, 944 F.2d 114, 118–20 (2d Cir. 1991).
 72   Picard v. HSBC Bank PLC, 454 B.R. 25, 29 (S.D.N.Y. 2011), amended on other grounds, No. 11 Civ. 763
      (JSR), 2011 WL 3477177 (S.D.N.Y. Aug. 8, 2011). “‘[T]here is no practical difference between the [in pari
      delicto and Wagoner] doctrines, for both seek to test whether, on the face of the pleadings, there is
      wrongdoing imputed to the plaintiffs that prevents them from pursuing their claims.’” Cobalt Multifamily
      Investors I, LLC v. Shapiro, 857 F. Supp. 2d 419, 429 n.5 (S.D.N.Y. 2012) (quoting Krys v. Sugrue (In re
      Refco Sec. Litig.), 779 F. Supp. 2d 372, 374 n.1 (S.D.N.Y. 2011), aff’d sub nom. Krys v. Butt, 486 F. App’x
      153 (2d Cir. 2012)). Federal courts in other jurisdictions address the issue without reference to the Wagoner
      “standing” approach. See generally McHale v. Citibank, N.A. (In re 1031 Tax Grp., LLC), 420 B.R. 178, 197
      (Bankr. S.D.N.Y. 2009) (noting that the First, Third, Fifth, Eighth, and Eleventh Circuits do not follow the
      Second Circuit’s approach); Moratzka v. Morris (In re Senior Cottages of Am., LLC), 482 F.3d 997, 1004 (8th
      Cir. 2007) (“We agree with the First, Third, Fifth, and Eleventh Circuits that the collusion of corporate
      insiders with third parties to injure the corporation does not deprive the corporation of standing to sue the
      third parties . . . .”).

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 law affirmative defense,73 “[t]he two concepts are similar and are both grounded in common
 law agency principles.”74 Both may be resolved on a motion to dismiss.75

      The New York Court of Appeals has emphasized when reviewing the law of in pari
 delicto (in the context of a fraud claim) on certified questions from both the Second Circuit
 and the Delaware Supreme Court that “all corporate acts . . . are subject to the presumption of
 imputation. . . . [T]here are strong considerations of public policy underlying this precedent.”76
 “A corporation must . . . be responsible for the acts of its authorized agents even if particular
 acts were unauthorized.”77

      To the extent that the circumstances regarding the 2006 Bank Restructuring are
 suggestive of wrongdoing on the part of AFI, through its agents (e.g., Feldstein, Walker), they
 are also suggestive of wrongdoing on the part of ResCap, through its agents—both insiders
 (such as Marple and Applegate), and those with dual affiliation (again, e.g., Feldstein,
 Walker). There is little doubt that, absent an applicable exception, a fraud claim by the trustee
 against AFI would be barred by the Wagoner rule and in pari delicto.

      “[T]he principle that a wrongdoer should not profit from his own misconduct is so strong
 in New York that we have said the defense applies even in difficult cases and should not be
 ‘weakened by exceptions.’”78 Therefore, exceptions to these doctrines are narrowly
 construed.79 The primary exception to the in pari delicto defense is the “adverse interest
 exception,” which acts to prevent the imputation to a corporation of its agents’ wrongdoing in
 circumstances where such imputation is not defensible under agency law principles from
 which the in pari delicto doctrine derives.80 This is, however, the “most narrow of
 exceptions.”81

      Thus, “[t]o come within the exception, the agent must have totally abandoned his
 principal’s interest and be acting entirely for his own or another’s purposes [and] [i]t cannot
 73   See Kirschner, 938 N.E.2d at 946 n.3.
 74   McHale, 420 B.R. at 197 (noting the “near total congruency of the two concepts” and citing Wight v.
      BankAmerica Corp., 219 F.3d 79, 86 (2d Cir. 2000)).
 75   See Kirschner, 938 N.E.2d at 946 n.3.
 76   Id. at 951 (citation omitted).
 77   Id. at 950 (citation omitted); see also State v. AAMCO Automatic Transmissions, Inc., 199 N.W.2d 444, 448
      (Minn. 1972) (“Generally, anyone who engages in a fraudulent scheme forfeits all right to protection, either at
      law or in equity.”) (quoting Kansas City Operating Corp. v. Durwood, 278 F.2d 354, 357 (8th Cir. 1960)).
 78   Kirschner, 938 N.E.2d at 950 (citation omitted).
 79   See McConnell v. Commonwealth Pictures Corp., 166 N.E.2d 494, 497 (N.Y. 1960) (“We are not working
      here with narrow questions of technical law. We are applying fundamental concepts of morality and fair
      dealing not to be weakened by exceptions.”).
 80   See Kirschner, 938 N.E.2d at 952; see also Christians v. Grant Thornton, LLP, 733 N.W.2d 803, 810 (Minn.
      Ct. App. 2007) (“The ‘adverse interest’ exception prevents imputation, however, if the individual’s conduct
      provides no benefit to the corporation.”) (citing RESTATEMENT (SECOND) OF AGENCY § 228(1) (1958)).
 81   Kirschner, 938 N.E.2d at 952.

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 be invoked merely because he has a conflict of interest or because he is not acting primarily
 for his principal.”82 “Total abandonment” is not shown merely by actions that are “detrimental
 to the corporation’s interest” or even “entirely adverse to” the corporation.83
      In analyzing whether the adverse interest exception may apply, so that the estate’s
 putative fraud claim against AFI would not be in pari delicto, the result may turn upon
 whether the restructuring of Ally Bank should be considered in isolation, or considered in the
 context of the Cerberus investment transaction in which it played a part. There are arguments
 in support of either approach—with potentially opposing results under the adverse interest
 exception—but on balance the more reasonable approach is the latter. First, it is clear that all
 actors considered the restructuring in the context of the Cerberus PSA.84 Second, and
 fundamentally, it is clear that the 2006 Bank Restructuring occurred because of the Cerberus
 transaction. The Investigation has revealed no evidence suggesting otherwise; it was a
 requirement under the Cerberus PSA that the Old GMAC Bank be removed from the AFI
 ownership chain so that Cerberus, as the new 51% shareholder, would not become a bank
 holding company.85
      Considered in this manner, the adverse interest exception is unlikely to apply. It is
 common ground that the Cerberus transaction was conceived and executed with the intention
 of benefitting AFI and ResCap. By bringing in a new majority owner, Cerberus, AFI and
 ResCap hoped and expected that GM would cease to be a drag on the companies’ credit
 ratings. There is no reason to believe that this view was anything other than sincere. Thus,
 regardless of whether ResCap suffered a detriment with respect to the 2006 Bank
 Restructuring itself—even a very sizable one—it is difficult to conclude that any relevant
 conduct by the ResCap directors and officers involved was akin to “outright theft or looting or
 embezzlement—where the insider’s misconduct benefits only himself or a third party.”86
       Accordingly, it appears that the adverse interest exception would not be applicable and, if
 that is so, then the fraud claim would be blocked by the Wagoner rule or in pari delicto.
      Some courts have pointed to an “innocent insider” exception to the Wagoner rule or in
 pari delicto.87 However, to the extent it applies under New York or Minnesota law, “innocent
 insider” is a much narrower exception than its name suggests. In a thoughtful 2004 decision
 82   Id. (internal quotation marks omitted).
 83   Mediators, Inc. v. Manney (In re Mediators, Inc.), 105 F.3d 822, 827 (2d Cir. 1997) (citing Center v.
      Hampton Affiliates, Inc., 488 N.E.2d 828, 829–30 (N.Y. 1985)).
 84   See, e.g., Int. of E. Feldstein, Dec. 14, 2012, at 125:13–21; Int. of B. Paradis, Dec. 14, 2012, at 120:16–21; Int.
      of W. Muir, Mar. 1, 2013, at 20:11–21:5; Int. of D. Applegate, Mar. 14, 2013, at 46:11–25; Int. of S. Khattri,
      Oct. 25, 2012, at 103:3–104:13, Int. of T. Melzer, Mar. 22, 2013, at 83:22–84:7; Int. of T. Jacob, Nov. 7,
      2012, at 136:25–137:5; Int. of L. Zukauckas, Oct. 19, 2012, at 130:24–131:17.
 85   See Cerberus PSA, § 4.1(e)(i) [CERB000521].
 86   Kirschner, 938 N.E.2d at 952.
 87   For example, in SEC v. Lee, 720 F. Supp. 2d 305 (S.D.N.Y. 2010), the court commented that the “innocent
      insider” exception may save a claim otherwise subject to in pari delicto when “there is another agent within
      the corporation who had no knowledge of the fraud and who had the will and the ability to stop the fraud had
      it come to his or her attention.” Id. at 332.

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 a court “reject[ed]” the “so-called ‘innocent insider’ exception,”88 and provided an extensive
 analysis of its origin and misapplication. The court explained that, at most, “innocent insider”
 functions as a gloss on the so-called “sole actor” exception89 to the adverse interest exception.
 “[U]nless the adverse interest exception to the presumption of imputation applies, it is
 immaterial whether innocent insiders exist[ ]; the agent is still acting on behalf of the
 company, and his actions will be imputed to the company notwithstanding the existence of
 those innocent insiders.”90

      Because the adverse interest exception is likely not applicable here, there is no occasion
 to consider whether the “sole actor” exception to the adverse interest exception should apply
 given AFI’s status as ResCap’s sole shareholder. There likewise is no occasion to consider
 whether the Independent Directors should be regarded as “innocent insiders” whose role and
 performance under the 2005 Operating Agreement would defeat application of the sole actor
 exception here were it otherwise applicable.91

      Notwithstanding the foregoing analysis of the Wagoner rule and the in pari delicto
 defense, these doctrines are subject to a degree of interpretation if for no other reason than the
 complexity of the range of “exceptions to exceptions.” And, as noted, if a court were to
 analyze the “adverse interest” exception more narrowly—considering only the 2006 Bank
 Restructuring and not the larger Cerberus investment transaction of which it was a part—
 conceivably it could find that these doctrines do not bar the claim. While a close question, the
 Examiner concludes it is more likely than not that the Wagoner rule or the affirmative

 88   Ernst & Young v. Bankr. Servs., Inc. (In re CBI Holding Co., Inc.), 311 B.R. 350, 372 (S.D.N.Y. 2004), aff’d
      in part and rev’d in part, 529 F.3d 432 (2d Cir. 2008); see also McHale v. Citibank, N.A. (In re 1031 Tax
      Grp., LLC), 420 B.R. 178, 203 (Bankr. S.D.N.Y. 2009) (“While other courts have employed the innocent
      insider exception as an independent exception to both the Wagoner rule and in pari delicto doctrine, this
      Court is skeptical that this is the law. New York state cases do not recognize ‘innocent insider’ as an
      independent exception that stands alone from the adverse interest exception.”).
 89   “This exception to the adverse interest exception, styled the ‘sole actor rule,’ operates most clearly in the
      context of a corporation owned and managed by a single person. When that person, in his role as manager,
      defrauds the corporation in order to benefit only himself, he has acted outside of the scope of his agency;
      technically, the agent’s fraudulent actions should not be imputed to the company pursuant to the ‘adverse
      interest’ exception.” Ernst & Young, 311 B.R. at 373; see also RESTATEMENT (THIRD) OF AGENCY § 5.04
      note c (2006) (viewing “innocent insider” as a gloss on the “sole actor” exception).
 90   Ernst & Young, 311 B.R. at 372; see also Ernst & Young, 529 F.3d at 447 n.5 (“Judge Wood’s analysis of the
      innocent insider exception and its likely genesis as a product of courts’ confusion regarding the relationship
      between the normal rule of imputation, the adverse interest exception to that rule, and the sole actor exception
      to that exception is extremely persuasive.”).
 91   See generally Breeden v. Kirkpatrick & Lockhart LLP (In re Bennett Funding Grp., Inc.), 336 F.3d 94, 101
      (2d Cir. 2003). It is not entirely clear whether the “innocent insider” gloss on the “sole actor” exception to the
      “adverse interest” exception exists under Minnesota law, as there appear to be no cases precisely on point.
      See, e.g., Sussel Co. v. First Fed. Sav. & Loan Ass’n of St. Paul, 238 N.W.2d 625, 628 (Minn. 1976)
      (supporting sole actor exception to independent fraudulent act exception to imputation principle but not
      addressing “innocent insider”). In any event, as noted, there is no occasion to consider “innocent insider”
      because the “adverse interest” exception does not apply in the first place.

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 defense of in pari delicto would prevail, thereby precluding the estate’s fraud claim against
 AFI. Because the Wagoner rule and in pari delicto analysis are close questions, which a court
 may view differently, the fraud claim is also considered on the merits in the following Section.

                    (3) The Claim And Its Elements

      The elements of a claim for fraud under New York law are: “(1) a material
 misrepresentation or omission of fact (2) made by defendant with knowledge of its falsity
 (3) and intent to defraud; (4) reasonable reliance on the part of the plaintiff; and (5) resulting
 damage to plaintiff.”92 The elements under Minnesota law are substantially similar: “(1) a
 false representation . . . of a past or existing material fact susceptible of knowledge; (2) made
 with knowledge of the falsity of the representation or made without knowing whether it was
 true or false; (3) with the intention to induce [plaintiff] to act in reliance thereon; (4) that the
 representation caused [plaintiff] to act in reliance thereon; and (5) that [plaintiff] suffered
 pecuniary damages as a result of the reliance.”93

      The law in both jurisdictions recognizes instances in which silence, i.e., non-disclosure
 rather than “affirmative misrepresentation,”94 may be the premise for fraud. “Special
 circumstances”95 where there may be such a duty to disclose include:

                    First, “[o]ne who speaks must say enough to prevent his words
                    from misleading the other party.” Second, “[o]ne who has
                    special knowledge of material facts to which the other party
                    does not have access may have a duty to disclose these facts to
                    the other party.” Third, “[a] duty to disclose facts may exist
                    when a fiduciary relationship exists between the parties . . . .”96

       Thus, non-disclosure typically serves as a premise for a claim of fraud “only when the
 party concealing the material fact is under a legal or equitable obligation to communicate that
 fact to the other party who in turn is entitled to disclosure of the material fact.”97
 92   Del Carmen Onrubia de Beeck v. Costa, 959 N.Y.S.2d 628, 637 (N.Y. Sup. Ct. 2013) (quoting Crigger v.
      Fahnestock & Co., 443 F.3d 230, 234 (2d Cir. 2006)); see also Ross v. Louise Wise Servs., Inc., 868 N.E.2d
      189, 195 (N.Y. 2007).
 93   Valspar Refinish, Inc. v. Gaylord’s, Inc., 764 N.W.2d 359, 368 (Minn. 2009).
 94   Kaufman v. Cohen, 760 N.Y.S.2d 157, 165 (N.Y. App. Div. 2003).
 95   Trenholme v. QRS Diagnostic, LLC, No. A05-2472, 2006 WL 2601664, at *3 (Minn. Ct. App. Sept. 12, 2006)
      (citing Klein v. First Edina Nat’l Bank, 196 N.W.2d 619, 622 (Minn. 1972)).
 96   Trenholme, 2006 WL 2601664, at *3 (quoting Heidbreder v. Carton, 645 N.W.2d 355, 367 (Minn. 2002);
      Klein, 196 N.W.2d at 622) (citations omitted).
 97   Trenholme, 2006 WL 2601664, at *3 (citing Richfield Bank & Trust Co. v. Sjogren, 244 N.W. 2d 648, 650
      (Minn. 1976)); see also Kaufman, 760 N.Y.S.2d at 165 (“[A] fraud cause of action may be predicated on acts
      of concealment where the defendant had a duty to disclose material information.”).

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        “Concealment,” as distinguished from “non-disclosure,” may also serve as a premise for
 a claim of fraud: “Concealment of a fact can be as effective a misrepresentation as an outright
 lie . . . .”98 Accordingly:

                     [I]f a party conceals a fact material to the transaction, and
                     peculiarly within his own knowledge, knowing that the other
                     party acts on the presumption that no such fact exists, it is as
                     much a fraud as if the existence of such facts were expressly
                     denied, or the reverse of it expressly stated.99

      Similarly, there can be circumstances where a duty to disclose arises from the possession
 of superior knowledge:

                     Under New York law, a duty to disclose material facts arises in
                     one of three ways: (1) where the parties stand in a confidential
                     fiduciary relationship, (2) where one party possesses superior
                     knowledge, not readily available to the other, and knows that
                     the other is acting on the basis of mistaken knowledge, or
                     (3) where a party to a business transaction has made a partial or
                     ambiguous statement, on the theory that once a party has
                     undertaken to mention a relevant fact to the other party it cannot
                     give only half of the truth.100

      Finally, “[o]ne who speaks must say enough to prevent his words from misleading the
 other party.”101 Failure to do so, again, serves as a premise for a claim of fraud. “A
 misrepresentation may be made by an affirmative statement that is itself false or by concealing
 or not disclosing certain facts that render facts disclosed misleading.”102

      The evidence described above demonstrates that the information which these AFI and
 dual-hat ResCap insiders provided to the Independent Directors regarding the contemplated
 transaction could only be rendered non-misleading by more complete disclosure. This is
 98   Thorp Credit & Thrift Co. v. Pommerer (In re Pommerer), 10 B.R. 935, 939 (Bankr. D. Minn. 1981) (citing In
      re Schnabel, 61 F. Supp. 386, 392 (D. Minn. 1945)); see also RESTATEMENT (SECOND) OF TORTS § 550
      (1977) (“One party to a transaction who by concealment or other action intentionally prevents the other from
      acquiring material information is subject to the same liability to the other, for pecuniary loss as though he had
      stated the nonexistence of the matter that the other was thus prevented from discovering.”).
 99   Thomas v. Murphy, 91 N.W. 1097, 1098 (Minn. 1902).
 100 Abu Dhabi Commercial Bank v. Morgan Stanley & Co., No. 08 Civ. 7508(SAS), 2012 WL 4762039, at *3

      (S.D.N.Y. Oct. 5, 2012).
 101 Klein, 196 N.W.2d at 622 (citation omitted); see also Am. Computer Trust Leasing v. Boerboom Int’l, Inc.,

      967 F.2d 1208, 1212 (8th Cir. 1992) (stating that fraud occurs “when disclosure is necessary to clarify
      misleading information already disclosed”).
 102 Heidbreder v. Carton, 645 N.W.2d 355, 367 (Minn. 2002) (citing M.H. v. Caritas Family Servs., 488 N.W.2d

      282, 289 (Minn. 1992)).

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 particularly true of Feldstein’s May 5, 2006 note to the Independent Directors,103 and the
 Walker Report.104 Considered in the context of the 2005 Operating Agreement, which could
 only function as intended if all insiders dealt in good faith with the Independent Directors,
 partial disclosures take on added significance—even more so in light of the unqualified trust
 the Independent Directors held for the dual-hat AFI directors.105

      Hence, whether viewed in light of the requirement at law not to stand idly by while the
 Independent Directors proceeded on the basis of mistaken knowledge, or the requirement at
 law not to provide only “half truth,” the facts respecting this transaction appear to support the
 claim.

      In order to succeed on a claim of fraud, the estate would have to establish scienter, i.e.,
 false representation (or concealment) made with intent to defraud (New York) or intent to
 induce reliance (Minnesota). The standards are similar. “[S]hort of the defendant’s own
 admission, the plaintiff can often prove knowing falsehood only by circumstantial evidence.
 Such evidence must not be merely speculative, but if it is strong enough, it is not only
 admissible but may meet the clear and convincing standard.”106

      Under New York law, “knowledge of falsity or reckless pretense of knowledge may
 establish scienter.”107 Similarly, under Minnesota law, “[t]here is no doubt of fraudulent intent
 when the misrepresenter knows or believes the matter is not as he or she represents it to be.”108
 “Fraudulent intent is, in essence, dishonesty or bad faith. What the misrepresenter knows or




 103 Memorandum,Proposed Restructuring of GMAC U.S. Banking Entities, dated May 5, 2006
    [EXAM10258913] (attached to E-mail from K. Sabatowski to T. Melzer and T. Jacob (May 4, 2006)
    [EXAM10258912]).
 104 Walker Report [RC40008925].

 105 “[W]ith respect to management that was running the company when Tom [Jacob] and I got involved . . .

    ResCap management and . . . [AFI] management and there were representatives of [AFI] including the
    chairman and CEO and the CFO and so forth that were on the board of ResCap . . . . [W]e had really the
    utmost confidence in those individuals and their motivations at that point in time. . . . [W]e were appropriately
    relying on that.” Int. of T. Melzer, Mar. 22, 2013, at 17:3–15.
 106 DAN B. DOBBS, PAUL T. HAYDEN, & ELLEN M. BUBLICK, THE LAW OF TORTS § 665 (2d ed. 2012); see also

    RESTATEMENT (SECOND) OF TORTS § 525 (1977) (requiring a “purpose” of inducing reliance). Under
    Minnesota law, however, proof of fraud is not subject a heightened evidentiary standard. See Humphrey v.
    Alpine Air Prods., Inc., 500 N.W.2d 788, 790 (Minn. 1993) (“Minnesota common law . . . favors the use of
    the preponderance of the evidence standard in a civil fraud case.”); cf. Merrick Gables Ass’n, Inc. v.
    Hempstead, 691 F. Supp. 2d 355, 361 (E.D.N.Y. 2010) (noting that under New York law, the clear and
    convincing standard applies).
 107 Bd. of Educ. v. Sargent, 539 N.Y.S.2d 814, 820 (N.Y. App. Div. 1989).

 108 Noske v. Friedberg 713 N.W.2d 866, 876 (Minn. Ct. App. 2006) (quoting Florenzano v. Olson 387 N.W.2d

    168, 173 (Minn. 1986).

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 believes is the key to proof of intent. Wrongful intent, as a state of mind, is rarely proved
 directly, e.g. by an admission of bad faith, but is normally established through circumstantial
 evidence.”109
      In this regard, as already outlined, there is little question that AFI directors and ResCap
 directors and management with obvious loyalties to AFI had more complete knowledge of the
 background of the 2006 Bank Restructuring, and that the Independent Directors were
 knowingly kept in the dark. Marple’s memorandum,110 for example, went to Applegate, who
 at the time in addition to being ResCap COO and a ResCap Board member, was a board
 member of GMAC Mortgage Holdings LLC (a non-ResCap subsidiary of AFI). It also went to
 Bruce Paradis, ResCap CEO and ResCap Board member, and later a member of AFI’s
 “Executive Committee.” Marple himself had a reporting relationship to William Solomon,
 AFI General Counsel, who also was a recipient of the April 20, 2006 memorandum. There is
 no basis to conclude that the memorandum and its contents were ever shared with the
 Independent Directors.
      Applegate’s April 24, 2006 memorandum111—which attached a copy of Marple’s
 April 20 “GMAC Bank Restructuring” memorandum112 and expressed misgivings about the
 proposed transaction structure—was addressed to Muir (AFI President) and copied to
 (1) Sanjiv Khattri (AFI Board member and CFO, as well as ResCap Board member);
 (2) Walker (AFI CFO for Mortgage Operations, CFO and board member of GMAC Mortgage
 Group, as well as ResCap Board member); and (3) Paradis (member of AFI’s “Executive
 Committee”). Karen Sabatowski (GMAC Mortgage), another recipient of Applegate’s
 April 24, 2006 memorandum, sent Feldstein’s (AFI CEO and Chairman, and ResCap Board
 member) May 5, 2006 “Proposed Restructuring” note to the two ResCap Independent
 Directors. Marple sent, and Sabatowski and Walker were copied on, the May 12, 2006
 response memorandum to the questions posed by the Independent Directors and their counsel
 on May 10, 2006.113
      It appears that Walker, whose report to the ResCap Board would later be the basis of the
 ResCap Board’s vote in favor of the 2006 Bank Restructuring, did not address Marple’s
 obvious failure to provide greater disclosure respecting voting rights for ResCap under the
 new structure (even though Marple himself had addressed the Operating Agreement
 implications in his April 20, 2006 memorandum, and Walker had been a recipient of
 Applegate’s April 24, 2006 memorandum). In his November 20, 2006 report to the ResCap
 Board regarding the proposed bank restructuring, Walker made no mention of possible
 alternative structures, no mention of any management misgivings, and no mention of section
 2(b) of the Operating Agreement. In that presentation, Walker advised that “ResCap’s control
 over the bank would also be unchanged relative to its current position,” because although
 109 Florenzano, 387 N.W.2d at 173.

 110 Memorandum, GMAC Bank Restructuring, dated Apr. 20, 2006 [EXAM11248642].

 111 Memorandum, ILC Ownership and Control, dated Apr. 24, 2006 [EXAM11248641].

 112 Memorandum, GMAC Bank Restructuring, dated Apr. 20, 2006 [EXAM11248642].

 113 Memorandum, GMAC Bank Restructuring, dated May 12, 2006 [ALLY_0401600].



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 “[AFI] would own 100% of the voting shares of the bank,” it also owned ResCap and
 “control[led] the ResCap board.”114

      There is no evidence that Feldstein did anything to correct the statements in his May 5,
 2006 memorandum (which also went to Applegate, Khattri, Marple, Muir, Paradis, Walker,
 Davee Olson, and Linda Zukauckas) implying that the transfer of voting control to AFI was a
 condition of the Cerberus PSA. That memorandum—which did not address the section 2(b)
 requirements of the Operating Agreement—advised Jacob and Melzer that “[t]he ResCap
 Board of Directors is prepared to approve the bank restructuring” and that the proposed
 structure “preserves the economics to ResCap.”115

      The November 20, 2006 ResCap board minutes reflect that the 2006 Bank Restructuring
 and associated 2005 Operating Agreement waiver, were (as Feldstein predicted in his May 5,
 2006 note to the Independent Directors) approved by every inside ResCap board member, as
 well as by the two Independent Directors.116

      The only inside ResCap board member who conceivably might be viewed as a non-AFI
 insider, James Giertz,117 had very little concrete recollection of the ResCap Board’s
 consideration regarding any aspect of the 2006 Bank Restructuring, and none at all regarding
 voting rights,118 although he did state generally that “it was our duty to protect the interest of
 ResCap.”119 He did not recall voting for the transaction nor, when advised that there had been
 a unanimous vote, did he remember what if anything caused him to believe the adopted
 structure was appropriate.120 Zukauckas (ResCap board member and AFI official) said that
 114 Walker  Report, at 9–10 [RC40008925]. Applegate thought Walker was correct as regards control of the
    ResCap Board and “was never confused on who ultimately called the shots.” Int. of D. Applegate, Dec. 7,
    2012, at 242:24–243:2. When interviewed, the Independent Directors were equivocal as to whether they
    agreed with Walker’s explanation. Jacob said: “[W]e concluded that the control of the bank essentially
    remained unchanged because although [AFI] had the 100 percent voting rights [AFI] also owned 100 percent
    of ResCap and controlled the ResCap board.” Int. of T. Jacob, Apr. 17, 2013, at 76:6–10. And Melzer said
    that “the reality is that [AFI] controlled that bank both before and after.” Int. of T. Melzer, Mar. 22, 2013, at
    88:17–89:15. Yet, in an earlier interview Melzer expressed disagreement. See Int. of T. Melzer, Oct. 10, 2012,
    at 207:14–18 (“[Q:] Do you agree with that statement? [A:] No. No, not if you’re sitting there looking after
    the interests of ResCap’s creditors.”); see also id. at 208:7 (“[I]n terms of control, there is a change. . . .
    Because of the voting/nonvoting securities.”).
 115 Memorandum,Proposed Restructuring of GMAC U.S. Banking Entities, dated May 5, 2006, at 2
    [EXAM10258913] (attached to E-mail from K. Sabatowski to T. Melzer and T. Jacob (May 4, 2006)
    [EXAM10258912]).
 116 Minutes of a Special Meeting of the Board of Directors of Residential          Capital, LLC, Nov. 20, 2006, at
    RC40006837–40 [RC40006748].
 117 Giertz had a dotted line reporting relationship to AFI’s Khattri, however. See Int. of J. Giertz, Jan. 25, 2013, at

    19:17–20.
 118 Id. at 64:5–79:12.

 119 Id. at 69:15–23.

 120 Id. at 78:22–79:12.



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 she did not know why AFI obtained all of the voting rights in the 2006 Bank Restructuring
 and acknowledged that she did not recall “any probing” by the ResCap Board on that aspect of
 the transaction.121

       Non-board members Marple, Solomon, and Sabatowski were present at the
 November 20, 2006 ResCap Board meeting.122 Despite a notation in the minutes that there had
 been “full and robust deliberation” of the proposed restructuring (which was presented by
 Sabatowski),123 Jacob said that nobody ever mentioned to him any possibility of structuring
 the transaction in way that would preserve a voting interest in Ally Bank for ResCap or indeed
 that any alternative structure may have been possible.124 The proposal for 100% voting
 ownership to AFI—as reflected in Feldstein’s May 5, 2006 memorandum—was the only
 structure ever shared by ResCap or AFI management with the Independent Directors.125

      Jacob said that he and Melzer concluded that ResCap was receiving “fair value” in the
 transaction because its approval would allow the Cerberus PSA to close.126 Indeed, it is apparent
 that Melzer and Jacob viewed the 2006 Bank Restructuring—as structured—to be part and
 parcel of the Cerberus PSA, and that they believed that without closing the bank transaction—as
 structured—the Cerberus PSA would not close either. Melzer said that he “didn’t look at the
 bank transaction as a separate transaction”127 and that “[d]oing that transaction enabled the
 Cerberus transaction.”128 They did not consider putting a value on the lost control.129 Because
 they believed ResCap was receiving “fair value” in the transaction, Jacob explained that the
 Independent Directors did not believe they were waiving section 2(b) of the 2005 Operating
 Agreement (contrary to the explanation appearing in Marple’s memorandum, which they never
 saw, and not mentioned in the Walker Report, which they did see).130

     These observations are consistent with comments from Schenk, who was counsel to the
 Independent Directors regarding their consideration of the 2006 Bank Restructuring: “We
 121 Int. L. Zukauckas, Oct. 19, 2012, at 161:9–18.

 122 Minutes of a Special Meeting of the Board of Directors of Residential       Capital, LLC, Nov. 20, 2006, at
    RC40006837 [RC40006748].
 123 Id. at RC40006839.

 124 See Int. of T. Jacob, Apr. 17, 2013, at 59:24–60:16, 70:7–22; see also Int. of T. Melzer, Mar. 22, 2013, at

    74:6–9.
 125 See Int. of T. Jacob, Apr. 17, 2013, at 71:14–72:4; see also Int. of T. Melzer, Mar. 22, 2013, at 85:18–19

    (“What was presented to us was really the model that was ultimately approved.”).
 126 See Int. of T. Jacob, Apr. 17, 2013, at 76:1–5, 77:13–19.

 127 Int. of T. Melzer, Mar. 22, 2013, at 80:6–7. “[W]e didn’t look at the arm’s-length and fair value narrowly in

    the context of just the bank transfer.” Id. at 82:8–10.
 128 Id. at 82:14–15.

 129 See Int. of T. Jacob, Apr. 17, 2013, at 77:9–19.

 130 Id. at 81:12–25. Yet, Jacob recalled that they did waive the “arms-length” requirement. Id. at 82:7–13.



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 would have been looking . . . at the entirety of the circumstances surrounding the sale.”131 As
 Schenk explains it, the 2006 Bank Restructuring could only have closed on the terms
 presented, and the interests of ResCap’s creditors were protected because absent the
 transaction, the Cerberus PSA would fail, leading to a series of detrimental events.132 She saw
 the benefits of the Cerberus transaction as immediate,133 while the consequences of the loss of
 ownership rights were remote.134 In hindsight, such comments from the Independent Directors
 and their counsel may suggest a lack of purposefulness in thinking through the loss of
 control,135 and perhaps a degree of post-hoc rationalization. They do not, however, change the
 evident facts that the Independent Directors were not advised of Marple’s conclusions,136 did
 not know of Applegate’s misgivings,137 and were faced with evaluating the 2006 Bank
 Restructuring (as presented) as a sole option,138 inextricably connected to the success or
 failure of the Cerberus investment.139

      As already observed, AFI officials in control of the transaction and related
 communications with the Independent Directors included the chief architects and proponents
 of the sale of 51% of AFI to Cerberus—Feldstein and Walker. Given the contents of Marple’s
 memorandum140 and Applegate’s memorandum,141 they had reason to fear that the
 Independent Directors would find that the transaction was not in the best interests of ResCap


 131 Int. of E. Schenk, Apr. 24, 2013, at 69:14–16.

 132 Id. at 78:21–79:13 (“The Cerberus transaction would not have gone through . . . . They would have stayed out

    of the GM family. They would have been downgraded appropriately. . . . to non-investment grade. . . . Then
    your access to funds is really depleted. And . . . likely they would end up having to sell off ResCap’s assets in
    a fire sale . . . . And at the end of the day that was not in the best interest of ResCap.”).
 133 Id. at 70:4–10 (“And so, we had an opportunity . . . for ResCap to improve its position from what would . . . at

    that point be the inevitable conclusion that its rating would be downgraded . . . which would have been
    devastating to ResCap.”).
 134 Id. at 77:14–23 (“The voting versus non-voting . . . certainly that is a difference. . . . But at the end of the day,

    I’m not sure it made much difference, particularly since ResCap was a subsidiary of [AFI].”).
 135 Id. at 82:11–15 (“So the change of ownership [to] an economic-only ownership from one that had also the

    voting side of things was not necessarily considered to be a particularly significant change.”).
 136 E.g., id. at 53:24–54:1 (“[Q:] Did Mr. Marple ever convey that view to you? [A:] No.”).

 137 E.g., id. at 55:13–14 (“I don’t recall any of these specific arguments being discussed with me.”).

 138 “I remember the transaction being presented as this is the transaction . . . there was no presentation of
    alternatives . . . .” Id. at 35:24–36:5.
 139 “The transaction was presented to us as a package, and we were evaluating the transaction as a package.” Id.

    at 87:1–3.
 140 “However, ResCap will not be given any voting control with regard to either these material business activities

    or the entity itself. It is not reasonable to believe that ResCap’s leadership would agree to transfer a material
    business to a third party under a similar arrangement.” Memorandum, GMAC Bank Restructuring, dated
    Apr. 20, 2006, at 4 [EXAM11248642].
 141 Memorandum, ILC Ownership and Control, dated Apr. 24, 2006 [EXAM11248641].



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 and its creditors.142 And the evidence shows that important information was withheld or
 provided in an incomplete and, therefore, misleading manner. It is clear that the Independent
 Directors were never privy to any discussion with management on the subject of voting
 control.143 While Walker said that he does not recall whether the notion of a transaction that
 preserved voting rights for ResCap was discussed with the Independent Directors144 he
 emphasized that “the Toms [Jacob and Melzer] were smart, independent, thoughtful, thorough
 people. . . . they were not pushovers.”145 Ultimately, such comments support the conclusion
 that the Independent Directors did not know that other structures were possible and had
 actually been considered by management, and that as “independent, thoughtful, thorough
 people” they would have been able to better protect the “interest of ResCap, including its
 creditors”146 had such information not been withheld.

      Were a fraud action viable, damages could be substantial, likely amounting to not less
 than the Fair Market Value shortfall of between $390 to $465 million,147 and perhaps as much
 as the difference between the equity value of ResCap’s interest in Old GMAC Bank, which it
 transferred, and the equity interest in IB Finance, which it received, i.e., between $533 and
 $608 million.148

                       (4) Conclusion As To Fraud Claim

      While a close question, the Examiner concludes that, particularly in light of the threshold
 issues under the Wagoner rule and the in pari delicto doctrine, it is more likely than not that a
 claim by the estate against AFI for fraud arising from the 2006 Bank Restructuring would not
 prevail.

               c. Breach Of Contract

     Under section 2(b) of the 2005 Operating Agreement, ResCap was prohibited from
 engaging in material transactions with AFI “unless such transactions [were] on terms and
 conditions that are consistent with those that parties at arm’s-length would agree to and for
 142 “The proposed restructuring of [Old] GMAC Bank raises potential conflicts under ResCap’s Operating
    Agreement. While these conflicts could be waived . . . any such amendment would require the affirmative
    vote of both of ResCap’s independent directors. This approval cannot be assured . . . .” Memorandum, GMAC
    Bank Restructuring, dated Apr. 20, 2006, at 1 [EXAM11248642].
 143 See Int. of T. Melzer, Mar. 22, 2013, at 89:22–25.

 144 “I’m saying I don’t recall whether they were presented with that.” Int. of D. Walker, Nov. 28, 2012, at

    147:22–23.
 145 Id. at 148:3–7.

 146 2005 Operating Agreement, § 8 [ALLY_0140795].

 147 See Section V.A.2.b; Appendix V.A.2.b. These figures take into account $143 million on the value received

    side, accounting for the avoidance of a credit rating downgrade. See id.
 148 See Section V.A.2.b; Appendix V.A.2.b.



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 fair value.”149 As reflected in Marple’s memorandum,150 and given the conclusion in Section
 V.A.2.b regarding fair value, there is little question that the 2006 Bank Restructuring did not
 comply with this restriction, and no exception under the 2005 Operating Agreement was
 applicable.151 The facts surrounding the transaction demonstrate that the AFI and ResCap
 insiders had material information regarding the transaction that was not completely and
 accurately shared with the Independent Directors. Accordingly, although the ResCap Board,
 including the Independent Directors, resolved to waive the provisions of the 2005 Operating
 Agreement, as permitted by section 8 of the 2005 Operating Agreement,152 from the
 perspective of the Independent Directors the waiver was not “knowing,” a requirement for any
 waiver to be valid.153

      This section considers whether ResCap’s estate has a viable claim against AFI for breach
 of the 2005 Operating Agreement in connection with the 2006 Bank Restructuring. Such a
 claim is unlikely to be time-barred,154 assuming the accrual date was November 22, 2006
 (when the 2006 Bank Restructuring closed) or any date later than May 14, 2006 (six years
 before the Petition Date).155

                  (1) The Claim And Its Elements

      To establish breach of contract, New York requires proof of four elements: (1) existence
 of a contract; (2) performance under the contract by the plaintiff; (3) breach by the defendant;
 and (4) that the plaintiff was damaged as a result.156 As with the fraud claim potentially arising
 149 2005 Operating Agreement, § 2(b) [ALLY_0140795].

 150 Memorandum, GMAC Bank Restructuring, dated Apr. 20, 2006 [EXAM11248642].

 151 See 2005 Operating Agreement, § 2(c) [ALLY_0140795].

 152 “[N]o amendment or waiver that materially and adversely affects the rights of any Class of Rated
    Indebtedness shall become effective unless such amendment or waiver as been approved by a majority of the
    members of ResCap’s Board of Directors, including a majority of the Independent Directors. In acting or
    otherwise voting on matters referred to in this Section 8 that materially and adversely affect the rights of any
    Class of Rated Indebtedness, to the fullest extent permitted by law, the Independent Directors shall consider
    only the interest of ResCap, including its creditors.” Id. § 8.
 153 See generally Gen. Motors Acceptance Corp. v. Clifton-Fine Cent. Sch. Dist., 647 N.E.2d 1329, 1331 (N.Y.

    1995); Nassau Trust Co. v. Montrose Concrete Prods. Corp., 436 N.E.2d 1265, 1269–70 (N.Y. 1982) (stating
    that contractual rights may be waived if they are knowingly, voluntarily and intentionally abandoned); Weeks
    Dredging & Contracting, Inc. v. Hendry Corp., No. 84 CIV 2424 (CSH), 1988 U.S. Dist. LEXIS 3482, at *8–9
    (S.D.N.Y. Apr. 21, 1988).
 154 See 2005 Operating Agreement, § 13 [ALLY_0140795] (specifying that New York law governs); Notaro v.

    Sterling Transp. Servs., LLC, 943 N.Y.S.2d 793 (Table) (N.Y. Sup. Ct. 2012) (“New York courts will
    generally enforce a clear and unambiguous choice-of-law clause contained in an agreement so as to give
    effect to the parties’ intent.”). The applicable statute of limitation is six years. See N.Y. C.P.L.R. § 213(2).
 155 ResCap’s estate generally has at least two years from the Petition Date to commence an action that ResCap

    could have brought on the Petition Date. See 11 U.S.C. § 108(a).
 156 See JP Morgan Chase v. J.J. Elec. of N.Y., Inc., 893 N.Y.S.2d. 237, 239 (N.Y. App. Div. 2010).



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 from the same operative facts, a breach of contract claim would be subject to challenge based
 on the Wagoner rule and the in pari delicto doctrine. In addition, two specific terms of the
 agreement present impediments to an action for breach of contract: (1) the “sole obligation”157
 provision; and (2) the “sole remedy”158 provision.
                   (2) Standing (The Wagoner Rule) And In Pari Delicto
      When a contract claim arises from and involves the same underlying facts as a fraud
 claim, the contract claim likewise is subject to the Wagoner rule and in pari delicto.159 The
 analysis of the Wagoner rule and in pari delicto as to the breach of contract claim is thus the
 same as provided in Section VII.L.2.b.(2). The Examiner accordingly concludes that, while a
 close question, it is more likely than not that a claim by the estate against AFI for breach of
 the 2005 Operating Agreement arising from the 2006 Bank Restructuring would be precluded
 by these doctrines. In the event a court were to conclude differently, the breach of contract
 claim is also considered on the merits in the following Sections.
                   (3) “Sole Obligation”
      An obstacle to the estate’s breach of contract claim is presented by the prescription of
 section 7 of the 2005 Operating Agreement, establishing that AFI’s “sole obligation”160
 thereunder is “to comply with the Independent Director provisions of Section 2(g) and the
 provisions of Sections 2(h) and 2(i).”161 Specifically, section 2(g) requires only that AFI
 appoint at least two Independent Directors, promptly fill any vacancies, and not bring any
 action for breach of fiduciary duty against any Independent Director for acting pursuant to the
 provisions of the Operating Agreement.162 In short, AFI’s conduct surrounding the 2006 Bank
 Restructuring does not appear to have violated any explicit obligation under the 2005
 Operating Agreement, because AFI’s undertaking was limited to those specific obligations
 referenced in section 2(g).
      Notwithstanding the difficulty in identifying any breach of an express contractual
 obligation by virtue of the “sole obligation” clause, the 2005 Operating Agreement
 incorporates an implied covenant of good faith and fair dealing, as do all contracts governed
 by New York law.163 Under New York law, the duty of good faith and fair dealing establishes
 157 2005 Operating Agreement, § 7 [ALLY_0140795].

 158 Id.

 159 See Mediators, Inc. v. Manney (In re Mediators, Inc.), 105 F.3d 822, 827 (2d Cir. 1997); Hirsch v. Arthur

    Andersen & Co., 72 F.3d 1085, 1092–94 (2d Cir. 1995); Ernst & Young v. Bankr. Servs., Inc. (In re CBI
    Holding Co.), 318 B.R. 761, 765–66 (S.D.N.Y. 2004), aff’d in part and rev’d in part, 529 F.3d 432 (2d Cir.
    2008); see also State v. AAMCO Automatic Transmissions, Inc., 199 N.W.2d 444, 448 (Minn. 1972).
 160 2005 Operating Agreement, § 7 [ALLY_0140795].

 161 Id.

 162 Id. § 2(g)(i). Sections 2(h) and 2(i), which relate to AFI’s financial statements and to AFI’s obligation to hold

    ResCap and its subsidiaries out as separate and distinct legal entities, are not relevant to this analysis.
 163 Seegenerally Fleisher v. Phoenix Life Ins. Co., 858 F. Supp. 2d 290, 298–88 (S.D.N.Y. 2012); Spread
    Enters., Inc., v. First Data Merch. Servs. Corp., No. 11-CV-4743 (ADS) (ETB), 2012 WL 3679319, at *3
    (E.D.N.Y. Aug. 22, 2012).

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 that “neither party shall do anything that will have the effect of destroying or injuring the right
 of the other party to receive the fruits of the contract.”164 The duty of good faith and fair
 dealing “protects the promisee not against a breach of the express terms of a contract but of
 the reasonable expectations and inferences otherwise derived from the agreement.165

       A claim based on a breach of the duty of good faith and fair dealing “may be brought . . .
 only where one party’s conduct, though not breaching the terms of the contract in a technical
 sense, nonetheless deprived the other party of the benefit of its bargain.”166 Here, it would be
 reasonable for ResCap to expect that AFI, including any officials with dual ResCap affiliation,
 would exhibit candor in disclosing to the Independent Directors information related to a
 transaction covered by sections 2(b) and 8 of the 2005 Operating Agreement.167 All insiders
 were undoubtedly aware that the Independent Directors were dependent upon them for
 information. While the explicit terms of the 2005 Operating Agreement do not require AFI to
 have exhibited candor in its dealings with the Independent Directors, absent such candid
 disclosures the Independent Directors would be hindered in their ability to evaluate such a
 transaction and the associated waivers under the 2005 Operating Agreement, particularly in
 their ability to “consider only the interests of ResCap, including its creditors.”168

      Such a failure to more candidly inform the Independent Directors could not form the
 basis for a claim of breach of an explicit contract term against AFI, due to the “sole
 obligation” limitation. Whether an action based on the duty of good faith and fair dealing
 could be premised on such failings by AFI is debatable. Indeed, actions based on the duty of
 good faith and fair dealing rarely survive a motion to dismiss because they are generally




 164 Fleisher, 858 F. Supp. 2d at 298–99 (citations omitted).

 165 Net2Globe Int’l, Inc. v. Time Warner Telecom of N.Y., 273 F. Supp. 2d 436, 467 (S.D.N.Y. 2003) (citing

    Sauer v. Xerox Corp., 95 F. Supp. 2d 125, 132 (W.D.N.Y. 2000)).
 166 Sauer, 95 F. Supp. 2d at 132.

 167 See, e.g., Hampshire Grp., Ltd. v. Kuttner, No. 3607-VCS, 2010 WL 2739995, at *13 (Del. Ch. July 12, 2010)

    (noting fiduciaries have a duty to inform other fiduciaries of information material to the affairs of the
    corporation). In view of their “duty of candor,” the Delaware Supreme Court has recognized that “[a]t a
    minimum . . . fiduciaries, corporate or otherwise, may not use superior information or knowledge to mislead
    others in the performance of their own fiduciary obligations.” Mills Acquisition Co. v. Macmillan, Inc., 559
    A.2d 1261, 1283 (Del. 1989); see generally Section VII.E.2.a.(1) (concluding that, while not certain under
    Delaware law, ResCap insiders likely did not have a fiduciary duty of disclosure to the Independent
    Directors). Without suggesting that there is an actionable fiduciary duty from AFI to ResCap, the overlapping
    presence of AFI officials and managers on the ResCap Board informs the Examiner’s understanding of the
    standard of conduct one would expect when such officials interact with the Independent Directors.
 168 2005 Operating Agreement, § 8 [ALLY_0140795].



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 viewed as duplicative of a claim for breach of the explicit terms of the contract.169 That is not
 always the case, however.170 On balance, the Examiner concludes that while it is a close
 question, it is more likely than not that a court would find in these circumstances that AFI’s
 conduct amounted to a breach of the covenant of good faith and fair dealing.

                   (4) “Sole Remedy”

     The 2005 Operating Agreement includes a second provision which may preclude ResCap
 from recovering on a breach of contract claim against AFI. Section 7 of the 2005 Operating
 Agreement specifies that the “sole remedy” available from AFI is “specific performance.”171
 Such a remedy is at this point unlikely to be of value to the estate. Section 7 also specifies:
 “Under no circumstances shall . . . [AFI] be liable for damages for breach of this
 Agreement.”172

      Contractual liability limitations are presumptively enforceable, as the manifestation of
 the parties’ bargain.173 That presumption may in some circumstances be overcome in the case
 of a “special relationship between the parties.”174 Moreover, “an exculpatory agreement, no
 matter how flat and unqualified its terms, will not exonerate a party from liability under all
 circumstances.”175




 169 See, e.g., Fleisher v. Phoenix Life Ins. Co., 858 F. Supp. 2d 290, 299 (S.D.N.Y. 2012) (stating that a court will

    dismiss as “redundant” or “duplicative” a claim for breach of the covenant of good faith and fair dealing
    “where the conduct allegedly violating the implied covenant is also the predicate for breach of covenant of an
    express provision of the underlying contract.”).
 170 See JFK Family Ltd. P’ship v. Millbrae Natural Gas Dev. Fund 2005, L.P., 873 N.Y.S.2d 234, 234 (N.Y. Sup.

    Ct. 2008). The JFK decision relies in part upon Fitzgerald v. Cantor, 1998 Del. Ch. LEXIS 212, at *4–6 (Del.
    Ch. 1998). Both cases denied defendant’s motion to dismiss a claim for breach of the covenant of good faith
    and fair dealing. See also Travelers Int’l, A.G. v. Trans World Airlines, Inc., 41 F.3d 1570, 1577 (2d Cir.
    1994) (confirming judgment finding liability for breach of the covenant of good faith and fair dealing); House
    of Diamonds v. Borgioni, LLC, 737 F. Supp. 2d 162, 169–71 (S.D.N.Y. 2010) (granting summary judgment
    for breach of covenant of good faith and fair dealing).
 171 2005 Operating Agreement, § 7 [ALLY_0140795].

 172 Id.

 173 See Metro. Life Ins. Co. v. Noble Lowndes Int’l, Inc., 643 N.E.2d 504, 507 (N.Y. 1994)

 174 Peluso v. Tauscher Cronacher Prof’l Eng’rs, P.C., 704 N.Y.S.2d 289, 290 (N.Y. App. Div. 2000).

 175 Kalisch-Jarcho, Inc. v. City of N.Y., 448 N.E.2d 413, 416 (N.Y. 1983) (finding limitation on contractor’s

    delay damages could be invalidated on showing that city acted in bad faith and with deliberate intent delayed
    the plaintiff in the performance of its obligation).

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      The standard for overcoming a liability limitation is a high one—i.e., “conduct that
 evinces a reckless indifference to the rights of others.”176 Thus:

                  [A]n exculpatory agreement . . . will not exonerate a party from
                  liability under all circumstances. . . . [I]t will not apply to
                  exemption of willful or grossly negligent acts . . . [or when] the
                  misconduct for which it would grant immunity smacks of
                  intentional wrongdoing. This can be explicit, as when it is
                  fraudulent, malicious or prompted by the sinister intention of
                  one acting in bad faith. Or when, as in gross negligence, it
                  betokens a reckless indifference to the rights of others, it may be
                  implicit.177

      Given the purposes of the 2005 Operating Agreement, the dependence of the Independent
 Directors (and the third-party beneficiaries) upon the good faith and candor of the insiders in
 order to fulfill their role in effectuating that purpose, and the evident lack of candor by, for
 example, Feldstein and Walker, AFI’s conduct appears to “smack[ ] of intentional
 wrongdoing,” and as discussed in Section VII.L.1.b above, was arguably fraudulent.

      There are countervailing considerations, however. For example, the importance of
 closing the Cerberus PSA in order to prevent a detrimental credit rating downgrade for both
 AFI and its ResCap subsidiary may present a partial, and credible, explanation for the conduct
 of the inside directors and others who had loyalties to AFI. Acting out of expediency or even
 carelessness is not necessarily “reckless indifference to the rights of others.”178

                  (5) Conclusion As To Breach Of Contract Claim

      While a close question, the Examiner concludes that particularly in light of the threshold
 issues under the Wagoner rule and the in pari delicto doctrine, it is more likely than not that a
 claim by the estate against AFI for breach of either the express terms of the 2005 Operating
 Agreement and/or the covenant of good faith and fair dealing thereunder, arising from the
 2006 Bank Restructuring, would not prevail.
 176 Sommer v. Fed. Signal Corp., 593 N.E.2d 1365, 1370–71 (N.Y. 1992) (placing as a jury question whether

    alarm company’s failure to report alarm amounted to “reckless indifference” which would overcome
    contractual liability limitation). See also Castagna, & Son, Inc. v. Bd. of Educ., 570 N.Y.S.2d 286, 287 (N.Y.
    App. Div. 1991) (finding despite no-damages-for-delay clause, “plaintiffs have presented sufficient evidence
    to raise triable issues of fact as to whether the delay damages were caused by the Board’s bad faith, or its
    willful, malicious or grossly negligent conduct with respect to its performance under the parties’ contract”).
 177 Net2Globe Int’l, Inc. v. Time Warner Telecom of N.Y., 273 F. Supp. 2d 436, 450 (S.D.N.Y. 2003) (quoting

    Kalisch-Jarcho, Inc., 448 N.E.2d at 416–17.
 178 Kalisch-Jarcho, Inc., 448 N.E.2d at 416–17; cf. Deutsche Lufthansa AG v. Boeing Co., No. 06 CV 7667

    (LBS), 2007 U.S. Dist. LEXIS 9519, at *8–11 (S.D.N.Y. Feb. 2, 2007) (finding that defendant had not acted
    with “purpose of injuring [plaintiff]” and therefore enforcing $100,000 damages limit even though plaintiff
    spent over $1 million preparing to meet supply needs of defendant, who had not disclosed to plaintiff that it
    was considering exiting business line).

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      Were a breach of contract action viable here, damages could be substantial:

                   It is well settled that in breach of contract actions “the
                   nonbreaching party may recover general damages which are the
                   natural and probable consequence of the breach.” Special, or
                   consequential damages, which “do not so directly flow from the
                   breach,” are also recoverable in limited circumstances. . . . “[I]n
                   order to impose on the defaulting party a further liability than
                   for damages [which] naturally and directly [flow from the
                   breach], i.e., in the ordinary course of things, arising from a
                   breach of contract, such unusual or extraordinary damages must
                   have been brought within the contemplation of the parties as the
                   probable result of a breach at the time of or prior to
                   contracting.”179

 As noted, the Fair Market Value shortfall was between $390 to $465 million.180 These figures
 take into account $143 million on the value-received side, accounting for the avoidance of a
 credit rating downgrade.181 More broadly, the difference between the equity value of ResCap’s
 interest in Old GMAC Bank, which it transferred, and the equity interest in IB Finance, which
 it received, was between $533 and $608 million.182 Damages for breach of contract in this
 instance are most likely to fall within one of these ranges, corresponding to the terms which
 ResCap could and likely would have achieved had the breach not occurred, such that the
 Independent Directors would have been prompted to obtain a valuation of the transaction and
 press for a more fair outcome.183

              d. Tortious Interference With Contract

      The elements of tortious interference with contract under the law of New York and
 Minnesota are substantially similar. Under Minnesota law, the elements are: “‘(1) the
 existence of a contract; (2) the alleged wrongdoer’s knowledge of the contract; (3) intentional


 179 Bi-Economy Mkt., Inc. v. Harleysville Ins. Co. of N.Y., 886 N.E.2d 127, 130 (N.Y. 2008) (quoting Kenford Co.

    v. Cnty. of Erie, 537 N.E.2d 176, 178 (N.Y. 1989); Am. List Corp. v. U.S. News & World Report, Inc., 549
    N.E.2d 1161, 1164 (N.Y. 1989)).
 180 See Section V.A.2.b; Appendix V.A.2.b.

 181 See Section V.A.2.b.

 182 See Section V.A.2.b; Appendix V.A.2.b.

 183 As the valuation performed in the course of the Investigation demonstrates, such damages are capable of

    measurement, and a valuation could have been done in connection with the 2006 Bank Restructuring.
    Damages which are too speculative may not be recovered. Kenford Co. v. Cnty. of Erie, 493 N.E.2d 234, 235
    (N.Y. 1986) (affirming denial of damages for loss of future profits as too speculative). But see Vidas Cousins
    Realty Corp. v. PB & J Assocs., Inc., SP 005616/07, 39 Misc. 3d 1204(A) (N.Y. Dist. Ct. Apr. 1, 2013)
    (finding loss of future profit caused by the landlord’s failure to repair a leaking roof, requiring a business to
    close, may be recoverable if the loss is “capable of proof with reasonable certainty”).

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 procurement of its breach; (4) without justification; and (5) damages.’”184 Under New York
 law, the elements are: “(1) the existence of a valid contract between plaintiff and a third party;
 (2) the defendant’s knowledge of the contract; (3) the defendant’s intentional procuring of the
 breach; and (4) damages.”185 Fatal to a claim of tortious interference with the 2005 Operating
 Agreement in either jurisdiction is the established rule that only a third party, unrelated to the
 contract, may be liable for tortious interference. “Plaintiffs cannot state a claim for tortious
 interference against one of the contracting parties.”186 Accordingly, the Examiner concludes
 that is unlikely that an estate claim against AFI for tortious interference with the 2005
 Operating Agreement, arising from conduct surrounding the 2006 Bank Restructuring, would
 prevail.187




 184 E-Shops Corp. v. U.S. Bank Nat’l Ass’n, 678 F.3d 659, 664 (8th Cir. 2012) (quoting Furlev Sales & Assocs.,

    Inc. v. N. Am. Auto. Warehouse, Inc., 325 N.W.2d 20, 25 (Minn. 1982)).
 185 Foster v. Churchill, 665 N.E.2d 153, 156 (N.Y. 1996); see also Maillet v. Frontpoint Partners, LLC, No. 02

    Civ. 7865 (GBD), 2003 WL 21355218, at *2 (S.D.N.Y. 2003).
 186 Maillet, 2003 WL 21355218, at *2 (quotation and citations omitted); Shearin v. E.F. Hutton Grp., Inc. 652

    A.2d 578, 590 (Del. Ch. 1994); Bouten v. Richard Miller Homes, Inc., 321 N.W.2d 895, 900–01 (Minn.
    1982); see generally DAN B. DOBBS, PAUL T. HAYDEN, AND ELLEN M. BUBLICK, THE LAW OF TORTS § 635
    (2d ed. 2012) (“[O]nly a stranger can commit the tort of interference with contract.”).
 187 The Wagoner rule would likely also apply and, under the law of New York but not of Minnesota, in pari

    delicto might also present a defense to a tortious interference action by the estate against AFI. See BrandAid
    Mktg. Corp. v. Biss, 462 F.3d 216, 218–19 (2d Cir. 2006); Bieter Co. v. Blomquist, 848 F. Supp. 1446, 1451
    (D. Minn. 1994). The applicable New York statute of limitations is three years. See N.Y. C.P.L.R. § 214(4).
    Under Minnesota law, the statute of limitations is six years. See MINN. STAT. § 541.05 (2000); see also Wallin
    v. Minn. Dep’t of Corrs., 598 N.W.2d 393, 401 (Minn. Ct. App. 1999).

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     2. Contractual Claims Related To The MMLPSA, Pipeline Swap, MSR Swap, And Broker
        Agreement

      The parties’ dealings in connection with the MMLPSA, Pipeline Swap, MSR Swap, and
 Broker Agreement, detailed in Section V.B, give rise to the following potential contractual
 claims:

                  (1) Claims concerning representation and warranty liabilities under the 2001
                      and 2006 MMLPSAs;

                  (2) Claims that entry into various of these agreements or amendments thereto
                      violated the pertinent Operating Agreement because the Independent
                      Directors did not waive the arm’s length and fair value requirements for
                      affiliate transactions;

                  (3) Claims that application of the Pipeline Swap to the period from funding to
                      sale and to brokered loans violated the terms of that agreement;

                  (4) Claims that revenues on loans GMAC Mortgage brokered to Ally Bank
                      were misallocated; and

                  (5) Claims under the MSR Swap that Ally Bank improperly failed to pay
                      GMAC Mortgage the value of correspondent-loan MSRs and purchased
                      MSRs.

 Each of these claims is analyzed below.

              a. Contractual Representation And Warranty Liabilities Under The 2001 And
                 2006 MMLPSAs

       As discussed in Sections V.B.3.a(4) and V.B.3.b(3), under the 2001 MMLPSA as
 written, Old GMAC Bank provided representations and warranties for all mortgage loans,
 while under the 2006 MMLPSA as written, Ally Bank provided representations and warranties
 for Second Lien Loans188 only. ResCap/GMAC Mortgage assumed financial responsibility in
 later years for repurchase and representation and warranty liabilities on loans purchased from
 Old GMAC Bank and Ally Bank under the MMLPSA, e.g., when ResCap entered into
 settlements with Fannie Mae and Freddie Mac in 2010.189 The discussion that follows
 addresses whether ResCap/GMAC Mortgage have claims against AFI and/or Ally Bank with
 respect to such liabilities.

 188 As used in this Section, “Second Lien Loan” shall mean: (1) an individual mortgage loan secured by a

    mortgage that creates a second priority lien upon the pledged collateral; (2) a HELOC; and/or (3) in the
    context of an MMLPSA, a “Second Lien Mortgage Loan” as defined in the applicable MMLPSA.
 189 See Section III.I (discussing the Fannie Mae and Freddie Mac settlements).



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                   (1) Representation And Warranty Liabilities Under The 2001 MMLPSA

      For the reasons detailed below, the Examiner concludes that any claim against AFI or
 Ally Bank for loan representations and warranties under the 2001 MMLPSA is not likely to
 prevail.

                       (a) Successor Liability And Indemnification Theories Are Not Likely To
                           Prevail

      As discussed in Section V.B.3.a(6), the 2001 MMLPSA was not assumed by Ally Bank
 in the 2006 Bank Restructuring.190 Accordingly, to assert a contractual claim against AFI or
 Ally Bank with respect to loans purchased under the 2001 MMLPSA, ResCap would have to
 show either that (1) Ally Bank is responsible for the liabilities of Old GMAC Bank under a
 theory of successor liability; or (2) AFI is responsible for Old GMAC Bank’s liabilities under
 (a) the indemnification provided in connection with the OTS approval of the 2006 Bank
 Restructuring or (b) the indemnification provisions of the 2005 Operating Agreement or the
 2006 Amended Operating Agreement.

                            (i) Successor Liability

                                (A) Choice Of Law

      In the Second Circuit, the choice-of-law rules of the forum state apply to claims premised
 on state law, unless state law would conflict with a federal policy or interest.191 Thus, New
 York choice-of-law principles will apply to any successor-liability claim here because of the
 apparent absence of any federal interest and the pendency of the Chapter 11 Cases in the
 Southern District of New York.

      In New York, “[t]he first step in any case presenting a potential choice of law issue is to
 determine whether there is an actual conflict between the laws of the jurisdictions
 involved.”192 If the laws of the relevant jurisdictions are substantively the same, a court may
 190 Minutesof a Regular Meeting of the Board of Directors of GMAC Bank, Nov. 30, 2006, at 2
    [ALLY_PEO_0020880]; Review of GMAC Bank Affiliate Agreements Assigned from GMAC Bank FSB to
    GMAC Bank ILB, dated Nov. 30, 2006, at ALLY_0260095–97 [ALLY_0260087]; Purchase and Assumption
    Agreement, Sched. B [ALLY_PEO_0021066].
 191 Bianco v. Erkins (In re Gaston & Snow), 243 F.3d 599, 601–02 (2d Cir. 2001) (“Because federal choice of

    law rules are a type of federal common law, which federal courts have only a narrow power to create, we
    decide that bankruptcy courts confronting state law claims that do not implicate federal policy concerns
    should apply the choice of law rules of the forum state.”). “[W]here (1) the claim before the bankruptcy court
    is wholly derived from another legal claim already pending in a parallel, out-of-state, non-bankruptcy
    proceeding; and (2) the pending original, or ‘source,’ claim was filed in a court prior to the commencement of
    the bankruptcy case, bankruptcy courts should apply the choice of law rules of the state where the underlying
    prepetition claim was filed.” Statek Corp. v. Dev. Specialists, Inc. (In re Coudert Bros. LLP), 673 F.3d 180,
    182 (2d Cir. 2012).
 192 In re Allstate Ins. Co., 613 N.E. 2d 936, 937 (1993). An actual conflict is present “[w]here the applicable law

    from each jurisdiction provides different substantive rules.” Curley v. AMR Corp., 153 F.3d 5, 12 (2d Cir.
    1998).

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 avoid the choice-of-law analysis.193 However, if there is a conflict, New York courts apply an
 “interest analysis” in order to determine which state law governs a successor liability claim.194
 In applying the interest analysis to successor-liability claims, New York courts enforce the law
 of the state in which the defendant was formed, unless the law of that state is the same as New
 York law.195 In this case, the state of incorporation of the potential defendant, Ally Bank, is
 Utah.

      While Utah successor-liability law is less robust than New York law in certain respects,
 both Utah and New York apply the four traditional exceptions to the general rule that a
 successor entity that acquires the assets of another is not liable for the obligations of the
 predecessor entity: (1) where the successor expressly assumed the debt at issue; (2) the
 transaction constitutes a de facto merger; (3) the successor is a mere continuation of the
 predecessor; or (4) the transaction was entered into fraudulently to escape obligations of the
 predecessor.196 As discussed in more detail below, although Utah and New York law differ
 with respect to the de facto merger exception, they appear to be consistent with respect to the
 other three exceptions.

                                 (B) Exceptions To The General Rule Of No Successor Liability

       For the reasons detailed below, the Examiner concludes that each of the four exceptions
 is likely to be held inapplicable here, so that Ally Bank is unlikely to be held liable on a
 successor-liability theory.

                                      i. Assumption Of Liability

      While Utah courts recognize the assumption of liability exception to the general rule of
 no successor liability, there is no case under Utah law that explains or analyzes the application
 193 See Curley, 153 F.3d at 12 (citing J. Aron & Co. v. Chown, 231 A.D.2d 426 (N.Y. Sup. Ct. 1996)) (“It is only

   when it can be said that there is no actual conflict that New York will dispense with a choice of law
   analysis.”).
 194 Planet Payment, Inc. v. Nova Info. Sys., Inc., No. 07-cv-2520, 2011 WL 1636921, at *6 (E.D.N.Y. Mar. 31,

    2011) (citing Fin. One Pub. Co. Ltd. v. Lehman Bros. Special Fin., Inc., 414 F.3d 325, 336 (2d Cir. 2005)).
 195 Hayden Capital USA, LLC v. Northstar Agri Indus., LLC, 2012 WL 1449257, at *7 (S.D.N.Y. April 23,

    2012); U.S. Fidelity & Guar. Co. v. Petroleo Brasileiro S.A.-Petrobras, No. 98 Civ. 3099(THK), 2005 WL
    289575, at *5 (S.D.N.Y. Feb. 4, 2005); Planet Payment, 2011 WL 1636921, at *7 (holding that Georgia, as
    defendant’s state of incorporation had the greatest interest because “claims of successor liability which . . .
    involve questions of corporate liability for the acts of others are of greater interest to the state of incorporation
    and residence of the defendants”) (internal quotations omitted); Soviet Pan Am Travel Effort v. Travel Comm.,
    Inc., 756 F. Supp. 126, 131 (S.D.N.Y. 1991) (applying Maryland law to successor liability claim where
    defendants were incorporated there); Howard v. Clifton Hydraulic Press Co., 830 F. Supp. 708,
    712 (E.D.N.Y. 1993) (applying both New York and New Jersey law where defendant was incorporated in
    New Jersey, because “the issue of successor liability does not turn out differently under New York or New
    Jersey law”).
 196 See Schumacher v. Richards Shear Co., 451 N.E.2d 195, 198 (N.Y. 1983); Decius v. Action Collection Serv.,

    Inc., 105 P.3d 956, 958-59 (Utah Ct. App. 2004) (citing Florom v. Elliott Mfg., 867 F.2d 570, 575 n.2 (10th
    Cir. 1989)).

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 of the exception.197 New York, which has a more robust body of law on the exception, looks to
 the language of the governing contract to determine whether the buyer expressly or impliedly
 agreed to assume liabilities of the successor.198

       As noted above, the 2001 MMLPSA was not assumed by Ally Bank under the Purchase
 and Assumption Agreement. Further, the Purchase and Assumption Agreement expressly
 states that Ally Bank assumes only those liabilities set forth on a schedule to the agreement,
 and assumes no other liabilities.199 None of the items on the schedule would encompass
 liabilities under the 2001 MMLPSA or, in particular, representation and warranty liabilities for
 loans sold thereunder.200 The Examiner therefore concludes that an assumption theory is
 unlikely to prevail.

                                       ii. De Facto Merger

      Utah and New York law governing the de facto merger exception appear to differ.
 New York considers whether there is: (1) continuity of ownership between the predecessor
 and successor corporation; (2) cessation of ordinary business and dissolution of the
 predecessor corporation; (3) assumption of liabilities ordinarily necessary for the continuation
 of the predecessor’s business; and (4) continuity of management, personnel, physical location,
 assets and general business operation.201 Utah, in contrast, (a) considers “whether the business
 operations and management continued” and (b) requires that “the buyer paid for the asset
 purchase with its own stock.”202 Because the analysis required under Utah law differs from
 that under New York law, Utah law, as the law of the jurisdiction of Ally Bank’s
 incorporation, would govern the de facto merger analysis.

      Applying the Utah de facto merger test to the facts here, it appears that the first
 requirement is met, but that the second cannot be satisfied. Old GMAC Bank was
 headquartered in Horsham, Pennsylvania and most of its 550 employees were located there at
 the time of the bank restructuring.203 Following the consummation of the restructuring, the
 management, employees, location, and operations of the mortgage banking division largely
 remained the same despite the new ownership structure.204 Officers from Old GMAC Bank
 197 See Decius, 105 P.3d at 958–59.

 198 See Hartford Acc. & Indem. Co., Inc. v. Canron, Inc. 373 N.E.2d 364, 364–65 (N.Y. 1977); Valenta Enters.,

    Inc. v. Columbia Gas of N.Y., Inc., 455 N.Y.S. 2d 996, 998 (N.Y. App. Div. 1982); Emrich v. Kroner,
    434 N.Y.S.2d 491, 492 (N.Y. App. Div. 1980).
 199 Purchase and Assumption Agreement, § 2.3 [ALLY_PEO_0021066].

 200 Id. at Sched. C.

 201 See In re Seventh Dist. Asbestos Litig., 788 N.Y.S.2d 579, 583 (N.Y. Sup. Ct. 2005); Sweatland v. Park Corp.,

    587 N.Y.S.2d 54, 56 (N.Y. App. Div. 1992); New York v. Nat’l Serv. Indus., Inc., 460 F.3d 201, 209 (2d Cir.
    2006).
 202 See Decius, 105 P.3d at 959 (citations omitted) (internal quotation marks omitted) (citing Travis v. Harris

    Corp., 565 F.2d 443, 447 (7th Cir. 1977)).
 203 Walker Report, at 1 [RC40008925].

 204 See Int. of D. Walker, Nov. 28, 2012, at 76:4–14; Int. of R. Groody, Dec. 17, 2012, at 60:20–61:3, 61:21–62:1.



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 became the officers of the mortgage division within the restructured bank.205 Although the
 buyer was and remained headquartered in Utah, the mortgage division and operations
 remained in Horsham, Pennsylvania and nearly all of the employees of Old GMAC Bank were
 retained and remained there as well.206 Thus, the continuity of business and operations
 requirement appears to be met.
       Nonetheless, application of the de facto merger doctrine would be precluded by Utah’s
 requirement that the buyer have paid for the asset purchase with its own stock. Under the
 Purchase and Assumption Agreement, cash was paid as consideration for the assets and
 liabilities transferred.207 Accordingly, the Examiner concludes that a de facto merger theory is
 unlikely to prevail.
                                       iii. Mere Continuation
      Under the “mere continuation” exception, Utah courts consider “not whether the business
 operation[s] continued, but whether the corporate entity continued . . . . A mere continuation
 demands a common identity of stock, directors and stockholders and the existence of only one
 corporation at the completion of the transfer.”208 Similarly, New York courts have not found
 “mere continuation” if the selling corporation continues to exist after the asset sale—even if
 the selling corporation is stripped of its assets.209
      Old GMAC Bank continued to exist for three years after the asset sale.210 Accordingly,
 the Examiner concludes that a “mere continuation” theory is also unlikely to prevail.
                                       iv. Fraud
       Utah case law adopts the fraud exception, but has not explained or defined the exception
 in detail.211 Similarly, New York courts recognize the fraud exception,212 but there is relatively
 little case law analyzing the exception’s requirements. Of two New York cases briefly
 addressing the fraud exception: (1) one held that in order for the fraud exception to apply, a
 plaintiff must plead that the transaction was entered into with the intent to escape liability to
 the predecessor’s creditors;213 and (2) the other held that the fraud exception did not apply
 because there can be no fraudulent intent where there was a legitimate business explanation
 205 See Int. of R. Groody, Dec. 17, 2012, at 60:15–19; Int. of D. Walker, Nov. 28, 2012, at 126:6–10; see, e.g.,

    Walker Report, at 5 [RC40008925].
 206 See Int. of D. Walker, Nov. 28, 2012, at 126:6–21; see, e.g., Walker Report, at 5 [RC40008925].

 207 Purchase and Assumption Agreement, §3.1(c) [ALLY_PEO_0021066].

 208 Decius v. Action Collection Serv., Inc., 105 P.3d 956, 959 (Utah Ct. App. 2004).

 209 Ladjevardian v. Laidlaw-Coggeshall, Inc., 431 F. Supp. 834, 839 (S.D.N.Y. 1977).

 210 INSTITUTION DIRECTORY—NATIONAL MOTORS BANK FSB, FDIC, http://www2.fdic.gov/idasp/confirmation_

    outside.asp?inCert1=35054 (last updated Dec. 20, 2012).
 211 See Decius, 105 P.3d at 958–59.

 212 See Schumacher v. Richards Shear Co., Inc., 451 N.E.2d 195 (N.Y. 1983).

 213 See Beck v. Roper Whitney, Inc., 190 F. Supp. 2d 524, 539 (W.D.N.Y. 2001).



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 for the transaction.214 Other jurisdictions applying this exception have examined whether there
 was a lack of good faith, as where there is inadequate consideration and the creditors of the
 predecessor are not provided for.215 Here, there is no evidence that the aim of the transfer of
 Old GMAC Bank’s assets was to defraud the Bank’s creditors.216 And there is no evidence that
 the parties at the time anticipated the magnitude of the representation and warranty liabilities
 that would later arise with respect to the loans sold by Old GMAC Bank (or, as discussed
 below, that the Bank would bear such liabilities). Accordingly, the Examiner concludes that an
 attempt to hold Ally Bank responsible for the liabilities of Old GMAC Bank under the fraud
 exception to the doctrine of successor liability is unlikely to prevail.

                            (ii) AFI Indemnification

                                (A) Indemnification In Connection With The OTS Approval Of The
                                    2006 Bank Restructuring

      The OTS approved the transfer of assets under the 2006 Bank Restructuring subject to
 certain conditions, including the provision of a “holding company guarantee confirming
 responsibility for any of [Old GMAC Bank’s] contingent liabilities following the
 consummation of the transaction” and the receipt of written non-objection thereto from the
 OTS.217 An indemnification on these terms, if made in favor of ResCap/GMAC Mortgage,
 arguably would have covered the representation and warranty claims at issue because they
 arose from contingent liabilities of Old GMAC Bank and the indemnity, as phrased by the
 OTS, was broad enough to cover both contingent liabilities of Old GMAC Bank that were
 transferred to Ally Bank as well as those that remained with Old GMAC Bank. In AFI’s
 November 10, 2006 response to the OTS’s request, however, AFI agreed only to “indemnify,
 defend and hold harmless [Old GMAC Bank] with respect to any post-closing claims or




 214 See Krisher v. Monarch Mach. Tool Co., 1994 WL 705264, at *3 (N.D.N.Y. 1994).

 215 See Huray v. Fournier NC Programming, Inc, No. C9-02-1852, 2003 WL 21151772 at *3 (Minn. Ct. App.

    May 20, 2003); McKee v. Harris-Seybold Co., 264 A.2d 98, 107 (N.J. Law Div. 1970); Welco Indus., Inc. v.
    Applied Cos., 617 N.E.2d 1129, 1134 (Ohio 1993); In re Thorotrast Cases, 26 Phila. Co. Rptr. 479, 488–89
    (Pa. Com. Pl. 1994); Ostrowski v. Hydra-Tool Corp., 479 A.2d 126, 127 (Vt. 1984)).
 216 It is a separate issue whether the fact that ResCap received a non-voting interest in IB Finance involved fraud

    or a lack of good faith (which is analyzed in Section VII.L.1). The proper focus of the present analysis is
    instead whether the transfer of Old GMAC Bank’s assets was itself done with an intent to defraud Old GMAC
    Bank’s creditors. See Eagle Pac. Ins. Co. v. Christensen Motor Yacht Corp., 934 P.2d 715, 721 (Wash. Ct.
    App. 1997) (holding that in the case of a successor corporation created solely to hinder the creditors of the
    predecessor, the plaintiff had sufficiently shown a fraudulent purpose to impose liability on the successor);
    Schumacher, 451 N.E.2d at 199; Decius, 105 P.3d at 958–59.
 217 Letter from OTS to J. Feinberg (Aug. 16, 2006) [EXAM10221739].



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 liabilities relating to the assets sold to [Ally Bank]” as described in the applications to the
 OTS.218 This indemnification was narrower than that requested by the OTS. Nevertheless, the
 OTS issued a non-objection letter with respect to the indemnity AFI provided.219

      The indemnification AFI provided would not cover the claims here. First, it was made for
 the benefit of Old GMAC Bank, not ResCap/GMAC Mortgage. Second, the indemnity was
 limited to liabilities “relating to the assets sold to [Ally Bank]”; neither the 2001 MMLPSA
 nor the loans previously sold thereunder were among the assets sold to Ally Bank in the 2006
 Bank Restructuring. Accordingly, the Examiner concludes it is unlikely that a claim for
 indemnification under AFI’s November 10, 2006 letter to the OTS would prevail.

                                (B) Indemnification Under The ResCap Operating Agreements

      As discussed in Section III.B, AFI agreed in both the 2005 Operating Agreement and the
 2006 Amended Operating Agreement to “indemnify, defend and hold harmless ResCap and its
 Subsidiaries from and against any Losses related to GMAC Indemnifiable Liabilities (other
 than ‘GM Indemnifiable Liabilities’).”220 As discussed below, while representation and
 warranty liabilities of Old GMAC Bank likely would be subject to the indemnification
 obligation under the 2006 Amended Operating Agreement were it not for the “other than ‘GM
 Indemnifiable Liabilities’” carveout, this limitation likely would defeat any indemnification
 claim here.

    The 2005 Operating Agreement and the 2006 Amended Operating Agreement defined
 “GMAC Indemnifiable Liabilities” to include, in pertinent part:

            all Liabilities of any GMAC Affiliate to the extent such Liabilities (a) relate
            to, (b) arise out of or (c) result principally from any of the following items:

                 (i) the failure of any GMAC Affiliate to pay, perform or promptly
                 discharge any Liabilities of such GMAC Affiliate in accordance with
                 their terms; or

                 (ii) the GMAC Affiliate Business.221


 218 Letter from S. Khattri to R. Albanese (Nov. 10, 2006) [ALLY_0402156]. In consideration of AFI’s agreement

    to provide the holding company guarantee requested by the OTS, ResCap agreed to counter-indemnify AFI
    with respect to the same post-closing claims or liabilities. Letter from S. Khattri to B. Paradis (Nov. 10, 2006)
    [ALLY_0018335]. This indemnity was approved by the ResCap Board. Certificate of C. Quenneville (Nov.
    22, 2006) [CERB001616].
 219 Letter from R. Albanese to J. Feinberg (Nov. 20, 2006) [ALLY_0401904].

 220 2005 Operating Agreement, § 3 [ALLY_0140795] (emphasis added); 2006 Amended Operating Agreement, §

    3 (Residential Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006), Ex. 10.1) (emphasis added).
 221 2005 Operating Agreement, § 1 [ALLY_0140795]; 2006 Amended Operating Agreement, § 1 (Residential

    Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006), Ex. 10.1).

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     “GMAC Affiliate Business” in turn, was defined to include “all business and operations
 (whether or not such businesses or operations are terminated, divested or discontinued) of the
 GMAC Affiliates as conducted from time to time.”222 “GM Indemnifiable Liabilities” and
 “GM Affiliate Business” were defined similarly (save for the use of “GM Affiliate” instead of
 “GMAC Affiliate”).223

       A “GM Affiliate” was defined as “an Affiliate of GM other than GMAC and its
 Subsidiaries,”224 while a “GMAC Affiliate” was defined as “GM, GMAC and any Person that
 is an Affiliate of GM or GMAC, other than ResCap and its Subsidiaries.”225 An “Affiliate” is a
 person or entity “directly or indirectly Controlling or Controlled by or under direct or indirect
 common Control with” the person or entity in question.226

     Before the 2006 Bank Restructuring, Old GMAC Bank, as a ResCap Subsidiary, would
 not have qualified as a “GMAC Affiliate.” However, from and after the time when Old
 GMAC Bank was sent as a dividend to GM as part of the 2006 Bank Restructuring,227 Old
 GMAC Bank was both a “GMAC Affiliate” and a “GM Affiliate,” since it was then controlled
 by GM and was no longer a ResCap Subsidiary.

       Old GMAC Bank’s liabilities, if any, for breach of representations and warranties likely
 would constitute Liabilities arising from “(i) the failure of [a] GMAC Affiliate to pay, perform
 or otherwise promptly discharge any Liabilities of such GMAC Affiliate in accordance with
 their terms; or (ii) the GMAC Affiliate Business.” However, they would, by the same token,
 constitute Liabilities arising from “(i) the failure of [a] GM Affiliate to pay, perform or
 otherwise promptly discharge any Liabilities of such GM Affiliate in accordance with their
 terms; or (ii) the GM Affiliate Business.” Consequently, the Liabilities would constitute “GM
 Indemnifiable Liabilities,” and would therefore be excluded from the scope of the
 indemnification provided by GMAC, which is limited to Liabilities “other than GM
 Indemnifiable Liabilities.”228


 222 2005 Operating Agreement, § 1 [ALLY_0140795]; 2006 Amended Operating Agreement, § 1 (Residential

    Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006), Ex. 10.1).
 223 2005 Operating Agreement, § 1 [ALLY_0140795]; 2006 Amended Operating Agreement, § 1 (Residential

    Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006), Ex. 10.1).
 224 2005 Operating Agreement, § 1 [ALLY_0140795]; 2006 Amended Operating Agreement, § 1 (Residential

    Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006), Ex. 10.1).
 225 2005 Operating Agreement, § 1 [ALLY_0140795]; 2006 Amended Operating Agreement, § 1 (Residential

    Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006), Ex. 10.1).
 226 2005 Operating Agreement, § 1 [ALLY_0140795]; 2006 Amended Operating Agreement, § 1 (Residential

    Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006), Ex. 10.1).
 227 See Certificate of Share Transfer, dated Nov. 21, 2006 [ALLY_0401265]; Transfer of Shares Agreement,

    dated Nov. 22, 2006 [CERB001787].
 228 2005 Operating Agreement, § 3(b) [ALLY_0140796-97]; 2006 Amended Operating Agreement, § 3(b)
    (Residential Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006), Ex. 10.1).

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     Accordingly, the Examiner concludes it is unlikely that a claim against AFI for
 indemnification under either the 2005 Operating Agreement or the 2006 Amended Operating
 Agreement for representation and warranty liabilities of Old GMAC Bank would prevail.

                      (b) The MMLPSA’s Two-Year Survival Clause Likely Bars All Claims For
                          Loans Sold Thereunder

      The MMLPSA is governed by Delaware law.229 The governing statute of limitations for a
 breach of contract claim under Delaware law is typically three years.230 However, the
 MMLPSA includes a “survival” clause that provides as follows:

               Each party hereto covenants and agrees that the representations and warranties,
               covenants and obligations contained in Articles III through VI of this
               Agreement shall survive the execution hereof, and the Closing Date, and any
               inspection, investigation, or determination made by, or on behalf of, either
               party, and expiration or termination of this Agreement, for a period of two (2)
               years from the applicable Closing Date.231




 229 Section 8.5 of the 2001 MMLPSA specifies that the agreement is to be governed by Delaware law. 2001

    MMLPSA, § 8.5 [ALLY_0018253]. New York courts generally honor such contractual choice-of-law
    provisions. See, e.g., Millennium Falcon Corp. v. WRD Sales, Inc., 848 N.Y.S.2d 707, 708–09 (N.Y. App.
    Div. 2007) (“Since the parties to the note agreed that it would be governed by Connecticut law, we must apply
    the substantive law of that forum . . . .”); Notaro v. Sterling Transp. Servs., LLC, 943 N.Y.S.2d 793 (N.Y.
    Sup. Ct. 2012) (“New York courts will generally enforce a clear and unambiguous choice-of-law clause
    contained in an agreement so as to give effect to the parties’ intent.”). “Choice of law clauses are accorded
    prima facie validity and are to be enforced absent a strong showing that the clause resulted from fraud or
    overreaching, that it is unreasonable or unfair, or that enforcement would contravene some strong public
    policy of the forum.” MBIA Ins. Corp. v. Royal Bank of Can., No. 12238/09, 2010 WL 3294302, at *21 (N.Y.
    Sup. Ct. Aug. 19, 2010) (citing Hirschman v. Nat’l Textbook Co., 184 A.D.2d 494, 495 (N.Y. App. Div.
    1992)); see also Composite Holdings v. Westinghouse Elec. Corp., 992 F. Supp. 367, 370 n.25 (S.D.N.Y.
    1998) (noting that the “public policy of New York strongly supports enforcement of forum selection
    clauses”).
 230 DEL. CODE ANN. tit. 10 § 8106 (West 2008); Wedderien v. Collins, 937 A.2d 140 (Del. 2007).

 231 2001 MMLPSA, § 8.3 [ALLY_0018253]; 2006 MMLPSA, § 8.3 [ALLY_0018291] (same); 2007 MMLPSA,

    § 8.3 [ALLY_0018275] (same).

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 While this provision is not a model of clarity, Delaware courts have typically construed
 survival clauses such as this one to be contractual statutes of limitation.232 “[C]ase law in
 Delaware has read survival clauses . . . as acting to shorten the statute of limitations and
 require that suit be brought before the relevant survival period expires.”233 Accordingly, the
 MMLPSA’s survival clause likely would be read to require that GMAC Mortgage bring any
 claims related to breach of the representations and warranties within two years of the date of
 the pertinent loan sale.234 Because GMAC Mortgage stopped buying loans from Old GMAC
 Bank under the 2001 MMLPSA in November 2006, the survival period for any claims related
 to breach of Old GMAC Bank’s representations and warranties expired, at latest, in November
 2008.




 232 See GRT, Inc. v. Marathon GTF Tech., Ltd., No. 5571-CS, 2011 WL 2682898, at *3 (Del. Ch. 2011); Sterling

    Network Exch., LLC v. Digital Phoenix Van Buren, LLC, No. 07C-08-050WLW, 2008 WL 2582920, at *5
    (finding that the time in which the purchaser could bring claims related to representations and warranties was
    contractually limited by survival clauses); see also State St. Bank & Trust Co. v. Denman Tire Corp., 240 F.3d
    83, 87–88 (1st Cir. 2001) (applying Illinois law to provision that representations and warranties “shall expire
    on the second (2nd) anniversary of the Closing” and holding that such language “was reasonably susceptible
    to only one meaning: that any claim based on warranties contained in the Purchase Agreement must be
    brought within [the specified time period] of the closing”) (quotation omitted); LOU R. KLING & EILEEN T.
    NUGENT, 2 NEGOTIATED ACQUISITIONS OF COMPANIES, SUBSIDIARIES AND DIVISIONS § 15.02[2] (explaining
    that in merger and acquisition agreements, “[t]he survival period is, in effect, a contractual statute of
    limitations”).
 233 GRT, Inc. v. Marathon GTF Tech., Ltd., No. 5571-CS, 2011 WL 2682898, at *3 (Del. Ch. 2011) (“Delaware

    law does not have any bias against contractual clauses that shorten statutes of limitations because they do not
    violate the legislatively established statute of limitations, there are sound business reasons for such clauses,
    and our case law has long upheld such clauses as a proper exercise of the freedom to contract.”); see also
    Shaw v. Aetna Life Ins., 395 A.2d 384, 386 (Del. Super. Ct. 1978) (“[A]n express provision in a contract
    which [a]bbreviates the time for filing a claim, so long as it remains a reasonable time, hastens the
    enforcement and complements the policy behind the statute of limitations . . . .”) (citing 1A CORBIN ON
    CONTRACTS § 218 (1963)).
 234 2001 MMLPSA, § 1.7 [ALLY_0018253] (defining “Closing Date” to mean, “with respect to each purchase of

    Mortgage Loans . . . , the date on which such purchase shall occur and the applicable Purchase Price shall be
    paid . . .”). Other states, such as New York and California generally refuse to read survival clauses related to
    representations and warranties as shortening the applicable statute of limitations absent “clear and explicit”
    language. See, e.g., W. Filter Corp. v. Argan, Inc., 540 F.3d 947, 953 (9th Cir. 2008). However, “[u]nder
    Delaware law, which is more contractarian than that of many other states, parties’ contractual choices are
    respected and there is no special rule requiring that in order to contractually shorten the statute of limitations,
    parties utilize ‘clear and explicit’ language.” GRT, Inc. v. Marathon GTF Tech., Ltd., No. 5571-CS, 2011 WL
    2682898, at *12 (Del Ch. July 11, 2011).

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      Similarly, the MMLPSA’s survival clause likely limits any right GMAC Mortgage would
 otherwise have for indemnification against Old GMAC Bank. Pursuant to the 2001 MMLPSA,
 Old GMAC Bank agreed to indemnify GMAC Mortgage against “any losses, damages,
 deficiencies, claims, causes of action, [etc.] . . . which result from any material breach of any
 representation, warranty or covenant . . . .”235 However, the survival clause contained in
 section 8.3 of the MMLPSA explicitly limits obligations contained in Article VI of the
 MMLPSA, which include Old GMAC Bank’s indemnification of GMAC Mortgage. It appears
 that under Delaware law, such remedy provisions can be limited in the same manner as the
 representations and warranties themselves.236

      Absent the contractual limitations of the survival clause, claims by GMAC Mortgage
 concerning loans sold pursuant to the 2001 MMLPSA likely would be barred only to the
 extent that they relate to repurchases or settlements occurring more than three years before the
 Debtors’ bankruptcy filing (i.e., before May 14, 2009). This is because while Delaware’s
 three-year statute of limitations for contract claims “begins to run when the contract is
 breached” and would thus bar any action for breach of the representations and warranties
 themselves,237 claims for indemnification do not accrue until the “indemnitor-liability




 235 2001 MMLPSA, § 6.1 [ALLY_0018253].

 236 See GRT, Inc. v. Marathon GTF Tech., Ltd., No. 5571-CS, 2011 WL 2682898, at *16 (Del. Ch. July 11, 2011)

    (“The Survival Clause at issue in this case . . . not only expressly terminates the . . . Representations upon the
    expiration of the Survival Period, it also terminates the ‘remedies provided pursuant to Section 7.4.’ The
    parties’ decision to terminate the . . . Representations and the sole remedy for their breach, from an objective
    point of view, is further evidence of an intent to give . . . one-year [to] . . . file a claim for breach . . . .”).
 237 Aronow Roofing Co. v. Gillbane Bldg. Co., 902 F.2d 1127, 1128 (3d Cir. 1990); see Baron v. Allied Artists

    Pictures Corp., 717 F.2d 105, 108 (3d Cir. 1983) (“A cause of action for breach of contract accrues at the
    time of the breach and a cause of action in tort accrues at the time of the injury.”) (citation omitted); E.I.
    duPont de Nemours & Co. v. Medtronic Vascular, Inc., No. N10C-09-058-MMJ, 2013 WL 261415, at *11
    (Del Super. Ct. Jan. 29, 2013) (“The cause of action accrues ‘at the time of the wrongful act, even if the
    plaintiff is ignorant of the cause of action.’ The wrongful act in a breach of contract claim is the breach and
    the cause of action accrues at the time of breach.”) (citations omitted); see also Cent. Mortg. Co. v. Morgan
    Stanley Mortg. Capital Holdings LLC, No. 5140-CS, 2012 WL 3201139, at *17 (Del. Ch. Aug. 7, 2012)
    (“‘Because representations and warranties about facts pre-existing, or contemporaneous with, a contract’s
    closing are to be true and accurate when made,’ a breach of such representations and warranties ‘occurs on the
    date of the contract’s closing and hence the cause of action accrues on that date.’”) (citations omitted). For
    contracts involving severable performances, such as the MMLPSA (periodic loan sales), “the statute of
    limitations generally begins to run on each severable portion when a party breaches that portion of the
    contract.” SPX Corp. v. Garda USA, Inc., No. N10C-10-162, 2012 WL 6841398, at *3 (Del. Super. Ct. Dec.
    6, 2012) (citation omitted).

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 becomes fixed and ascertained or as soon as the debt becomes due.”238 “The point at which the
 indemnitee suffers loss or damage through payment of a claim after judgment or settlement is
 the determining factor.”239 Accordingly, absent the survival clause discussed above,
 indemnification claims by GMAC Mortgage against Old GMAC Bank for repurchases and
 settlements that occurred after May 14, 2009 (within three years of the Petition Date and the
 tolling afforded by section 108 of the Bankruptcy Code) would be timely.240




 238 Oliver B. Cannon & Son, Inc. v. Fidelity & Cas. Co. of N.Y., 484 F. Supp. 1375, 1389 (D. Del. 1980) (citation

    omitted); see also Ne. Controls, Inc. v. Fisher Controls Int’l, LLC, No. 06-412-SLR, 2008 WL 181336, at *4
    n.5 (D. Del. Jan. 18, 2008) (overruled on other grounds) (“[I]n the case of a contract for indemnity, the cause
    of action accrues and ‘the statute of limitations begins to run when the indemnitor-liability becomes fixed and
    ascertained or as soon the debt becomes due.’” ) (citation omitted); Sorensen v. Overland Corp., 142 F. Supp.
    354, 361 (D. Del. 1956) (“Indemnity against loss or damage does not accrue (nor does the statute begin to
    run) until the indemnitee has made payment or has actually suffered loss or damage.”); Stifel Fin. Corp. v.
    Cochran, 809 A.2d 555, 559 (Del. 2002) (“[B]ecause indemnification is a right conferred by contract, under
    statutory auspice, actions seeking indemnification are subject to the three year limitations period.”); Witco
    Corp. v. Adriatic Ins. Co., No. Civ.A. 95C-06-030, 2000 WL 302079, at *2 (Del Super. Ct. Jan. 31, 2000)
    (“The duty to indemnify does not arise until final judgment against [the] insured or [the] insured enters into a
    settlement.”); Marcucilli v. Boardwalk Builders, Inc., No. Civ.A 99C-02-007, 1999 WL 1568612, at *8 (Del
    Super. Ct. Dec. 22, 1999) (“[T]he limitations period on a claim for indemnification does not begin to run until
    the cause of action for indemnity arises or the indemnity suffers damage.”).
 239 Council of Unit Owners of Sea Colony, Phase III Condo. v. Carl M. Freeman Assocs., Inc., 1989 WL 40973,

    at *3 (Del Super. Ct. Apr. 11, 1989); Oliver B. Cannon & Son, Inc., 484 F. Supp. at 1388 (citation omitted)
    (“Liability becomes fixed and ascertained only upon the entry of a final judgment against the indemnitee”);
    see also Shively v. Ken-Crest Ctrs. for Exceptional Pers., No. 96C-05-316, 1998 WL 960719, at *3 (Del
    Super. Nov. 19, 1998) (“An indemnification contract, by its very nature, cannot be breached until one party is
    liable and seeks indemnification from the other.”).
 240 The decision in CertainTeed Corp. v. Celotex Corp., No. Civ.A 471, 2005 WL 217032 (Del. Ch. Jan. 24,

    2005), is not to the contrary. CertainTeed held that a buyer’s claim for indemnification arising from breach of
    contractual representations and warranties accrued on the date of the transaction, when the contractual rights
    were breached. Id. at *5. However, the court drew a distinction between indemnification claims for injuries
    suffered directly by the indemnified party as a result of the breach and claims for losses resulting from
    liability to a third party. Id. “[I]n the case of counts for breach of contract and misrepresentation, where claims
    involve direct injury to [the plaintiff]—e.g., claims resting on the assertion that [plaintiff] was injured because
    a . . . condition was not as represented in the Agreement—timeliness is to be measured by the statute of
    limitations for breach of contract and torts, respectively, with accrual occurring at the date of breach or injury,
    absent tolling.” Id. By contrast, “if the underlying claim for contractual indemnification is actually a claim for
    losses resulting from liability to a third party (i.e., like a common law indemnity claim) . . . [plaintiff’s] claim
    accrue[s] at the time when the last dollar of loss is ascertainable.” Id. Accordingly, where a defendant’s
    breach of contractual representations and warranties causes the plaintiff to incur liability to a third party, the
    plaintiff’s indemnity cause of action accrues when such liability becomes fixed. See Jolly v. MPTC Holdings,
    Inc., No. 3:08-CV-1374-M, 2009 WL 4279379, at *4–5 (N.D. Tex. Dec. 1, 2009) (interpreting Delaware law,
    including CertainTeed, to find that a purchaser’s post-closing claim for indemnification had not yet accrued,
    despite an undisputed breach of representations and warranties by the seller, because no third party had yet
    made a claim against the purchaser and the potential loss had not been ascertained).

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       The statute of limitations may only be tolled where the defendant has “fraudulently
 concealed the basis for [the plaintiff’s] claims.”241 While the Investigation has not
 encompassed a review of the details of every loan sale under the 2001 MMLPSA, it has not
 disclosed any evidence of fraudulent concealment by Old GMAC Bank. Moreover, given that
 Old GMAC Bank was a ResCap Subsidiary when the 2001 MMLPSA was in effect, and that
 GMAC Mortgage was the loan servicer and was intimately aware of the loans’ characteristics,
 it is unlikely that GMAC Mortgage would have a viable claim that the statute of limitations
 should be tolled for fraudulent concealment of any representation and warranty breaches.242

      In sum, by virtue of the two-year survival clause contained in section 8.3 of the
 MMLPSA, all claims by GMAC Mortgage against Old GMAC Bank related to the 2001
 MMLPSA are likely time-barred. Even if the survival clause were not construed as shortening
 the statute of limitations, contractual indemnification claims against Old GMAC Bank related
 to repurchases and settlements that occurred before May 14, 2009 would be untimely.

                       (c) Whether Old GMAC Bank Provided Representations And Warranties
                           To GMAC Mortgage

     Even if a claimant could overcome the obstacles just discussed, the question would
 remain whether Old GMAC Bank had enforceable representation and warranty obligations to
 GMAC Mortgage under the 2001 MMLPSA.

      Under Delaware law, the elements of a breach of contract claim are: (1) a contractual
 obligation; (2) a breach of that obligation; and (3) resulting damages.243 The key issue here




 241 See SmithKline Beecham Pharm. Co. v. Merck & Co., Inc., 766 A.2d 442, 450 (Del. Super. Ct. 2000); David

    B. Lilly Co. v. Fisher, 18 F.3d 1112, 1117 (3d Cir. 1994) (“Under Delaware law, the statute of limitations
    generally ‘begins to run at the time of the wrongful act, and, ignorance of a cause of action, absent
    concealment or fraud, does not stop it.’”); Isaacson, Stolper & Co. v. Artisans’ Sav. Bank, 330 A.2d 130, 132
    (Del. 1974) (“It is well established in common law jurisdictions generally that ignorance of the facts is in the
    ordinary case no obstacle to the operation of a statute of limitations. There are, of course, certain well defined
    exceptions, such as infancy, incapacity, certain types of fraud, or concealment of the facts . . . .”) (citation
    omitted). The Delaware Supreme Court has also established a “discovery exception,” but it is narrowly
    confined to medical malpractice cases and situations where an injury is both “inherently unknowable” and
    sustained by a “blamelessly ignorant” plaintiff. See David B. Lilly Co., 18 F.3d at 1117; Kaufman v. C.L.
    McCabe & Sons, Inc., 603 A.2d 831, 835 (Del. 1992) (“The time of discovery exception, in cases other than
    those of medical malpractice, is narrowly confined in Delaware to injuries which are both: (a) ‘inherently
    unknowable’; and (b) sustained by a ‘blamelessly ignorant’ plaintiff.”); see also Layton v. Allen, 246 A.2d
    794 (Del. 1968) (establishing the discovery exception in Delaware).
 242 See E.I. DuPont De Nemours & Co. v. Medtronic Vascular, Inc., No. N10C-09-058-MMJ, 2013 WL 261415,

    at *12 (Del Super. Ct. 2013) (“The doctrines of inherently unknowable injury, and fraudulent concealment, do
    not apply when the plaintiff has actual knowledge of the breach and potential injuries to follow.”).
 243 Interim Healthcare, Inc. v. Spherion Corp., 884 A.2d 513, 548 (Del. Super. 2005), aff’d, 886 A.2d 1278 (Del.

    2005).

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 appears to be whether the express contractual representation and warranty obligations under
 the 2001 MMLPSA remained in effect, or whether the agreement was modified or amended
 through the parties’ subsequent actions to eliminate those obligations.244

     The general rule in Delaware is that a written contract may be modified by agreements
 which themselves are not formally written.245 The 2001 MMLPSA requires that amendments
 be written, stating:

                  This Agreement may not be changed orally but only by an
                  agreement in writing, signed by the party against whom
                  enforcement of any waiver, change, modification or discharge is
                  sought.246

 Delaware law, however, nonetheless contemplates that even where the written contract
 explicitly forbids oral modifications, the parties can, “by their conduct, substitute a new oral
 contract without a formal abrogation of the written agreement.”247 But Delaware courts do not
 freely permit such modifications: “To make such a leap of faith. . . the Court must first rule
 out the possibility that the asserting party has alleged an oral modification in an attempt to
 unilaterally alter a pre-existing, but unfavorable, agreement.”248 The evidence of such a
 modification “must be of such specificity and directness as to leave no doubt of the intention




 244 The original inclusion of the written representations and warranties in the written agreement does not appear

    to have been the result of a mistake or scrivener’s error. Celini explained that the 2001 MMLPSA, including
    its representations and warranties, had been copies from a third-party arrangement. Int. of A. Celini, Feb. 18,
    2013, at 64:11–18. Celini asserts that the parties then agreed that the Bank would not have representation and
    warranty exposure in connection with negotiation of the January 2002 Addendum revising the First Lien Loan
    pricing provisions. See id. at 69:11–71:15.
 245 Haft v. Dart Grp. Corp., 841 F. Supp. 549, 567 (D. Del. 1993) (citing Pepsi-Cola Bottling Co. v. Pepsico,

    Inc., 297 A.2d 28, 33 (Del. 1972)).
 246 2001 MMLPSA, § 8.8 [ALLY_0018253].

 247 Pepsi-Cola Bottling Co., 297 A.2d at 33 (Del. 1972); see also Reeder v. Sanford Sch., Inc., 397 A.2d 139, 141

    (Del. Super. Ct. 1979) (holding “[t]he general rule is that a written contract may be modified by subsequent
    oral agreement”).
 248 Cont’l Ins. Co. v. Rutledge & Co., Inc., 750 A.2d 1219, 1230 (Del. Ch. 2000).



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 of the parties to change what they previously solemnized by formal document.”249 Further, the
 modification must be based on mutual consideration; past consideration is not sufficient to
 form an enforceable modification.250
       While the application of this standard here is not a matter that is entirely free from doubt,
 the Examiner concludes it is more likely than not that AFI/Ally Bank would prevail on a claim
 that the 2001 MMLPSA had been modified to eliminate representations and warranties with
 respect to First Lien Loans.251 According to Celini, in connection with the negotiation of First
 Lien Loan pricing in the January 2002 Addendum, there was explicit discussion and
 agreement that the agreed-upon cost-basis pricing meant that Old GMAC Bank would not
 have representation and warranty liability.252 Old GMAC Bank was realizing only net carry on
 the loans, consistent with its limited role as a financing conduit for GMAC Mortgage’s
 purchase of First Lien Loans.253 ResCap-side personnel, while not recalling the specific
 discussions Celini referenced, agreed that the understanding reached was that Old GMAC
 Bank would not have representation and warranty liability to GMAC Mortgage.254
       Of course, the fact that the parties did not document this understanding in the January
 2002 Addendum when they documented the First Lien Loan pricing, and waited to do so until
 adoption of the 2006 MMLPSA, is a significant factor weighing against finding a
 modification. But the parties’ conduct (including the lack of Bank reserves and the assumption
 of liabilities by GMAC Mortgage) seems to have consistently reflected an understanding that
 the Bank had no such liability. None of the documents produced suggest that the parties ever
 had another understanding, and none of the witnesses interviewed held a contrary view.
 249 See Reeder, 397 A.2d at 141 (finding that defendant’s promise through his statement to change the
    termination clause and to modify the salary term of a contract constituted extrinsic evidence and may be used
    to negate the mutuality of assent to the original agreement); Cont’l Ins. Co., 750 A.2d at 1230–32 (plaintiffs
    asserted that they orally modified a withdrawal provision in their limited partnership agreement to reflect their
    new investment strategy but the court, relying on letters and affidavits, found the evidence insufficient to meet
    the high burden to establish that the parties had agreed upon the alteration of withdrawal rights); Tunney v.
    Hilliard, No. 1317-VCN, 2008 WL 3975620, at *5 (Del. Ch. Aug. 20, 2008) (Del. 2009) (court held against
    the finding of a modification because of a lack of testimony from credible witnesses or first-hand knowledge
    of the alleged oral agreement, and found no clear evidence that plaintiff undertook the responsibilities alleged
    as part of the modified agreement), aff’d, 970 A.2d 257 (Del. 2009); see also Pegasus Dev. Corp. v. Hane,
    314 F. App’x 489, 492 (3d Cir. 2009) (holding that a single e-mail exchange submitted by defendant to show
    intent to modify agreement was insufficient to meet the burden established in Reeder).
 250 See Cont’l Ins. Co., 750 A.2d at 1232.

 251 As used in this Section, “First Lien Loan” shall mean: (1) an individual mortgage loan (other than a HELOC)

    secured by a mortgage that creates a first priority lien upon the pledged collateral; and/or (2) in the context of
    an MMLPSA, a “First Lien Mortgage Loan” as defined in the applicable MMLPSA.
 252 See Int. of A. Celini, Feb. 18, 2013, at 71:9–74:5.

 253 See id. at 71:9–74:5.

 254 Int. of B. Bier, Feb. 22, 2013, at 22:8–24:5; Int. of J. Whitlinger, Nov. 30, 2012, at 51:2–14; Int. of S. Blitzer,

    Mar. 5, 2013, at 26:18–28:15. Kenneth Blackburn had no recollection whether or not, as part of the process
    whereby the Bank sold loan to GMAC Mortgage, the Bank provided any representations and warranties on
    such loans. Int. of K. Blackburn, Mar. 26, 2013, at 11:1–14:3. See also Int. of J. Young, Sept. 28, 2012, at
    262:22–263:23; Int. of R. Groody, Dec. 17, 2012, at 121:21–122:18, 127:12–128:4.

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 Instead, the parties seem to have agreed early on to Groody’s axiom that the recipient of the
 gain on sale (GMAC Mortgage) would retain the representation and warranty risk.

       By the same token, however, it seems likely that an AFI/Ally Bank assertion that the
 2001 MMLPSA had been modified to exclude representation and warranty liability for Second
 Lien Loans would fail. Celini’s discussions about limiting representation and warranty
 liability arose in the context of an agreement that the purchase price on First Lien Loans
 would be at cost, limiting the Bank’s revenues to net carry. The pricing on Second Lien Loans
 was not modified by the January 2002 Addendum and, moreover, included a premium over
 the Bank’s cost during the entire life of the 2001 MMLPSA (and beyond, as discussed
 below).255 While Celini protested that this premium remained too small to support
 representation and warranty liability,256 the Bank was receiving more than net carry. Further,
 when the parties “cleaned up” the representation and warranty provisions in the 2006
 MMLPSA, excluding First Lien Loans from their scope, the Agreement explicitly maintained
 representations and warranties for Second Lien Loans (on which the Bank continued to
 receive a premium above its cost).257 Neither Celini nor Groody could provide an explanation
 for why these provisions were included in the 2006 MMLPSA if it was understood that the
 Bank would have no representation and warranty liability for Second Lien Loans.258 The
 MMLPSA was amended to eliminate Second Lien Loan representation and warranties only in
 the 2007 MMLPSA (when Second Lien Loan pricing was placed on the same basis as First
 Lien Loans).259

      It is true that the personnel interviewed generally understood that the Bank provided no
 representations and warranties for any loans, and that the Bank maintained no reserves for
 Second Lien Loan representation and warranty liabilities. Nevertheless, given the First Lien
 Loan pricing context of Celini’s original representation and warranty discussions, the
 disparate pricing between First and Second Lien Loans, and the evidence of the parties’ intent
 supplied by the 2006 MMLPSA, it is likely that the 2001 MMLPSA representation and
 warranty provisions would be deemed effective for Second Lien Loans.

                        (d) The Representation And Warranty Liabilities GMAC Mortgage
                            Incurred For Loans Purchased Under The 2001 MMLPSA

      While the Examiner concludes that it is not likely that a claim against AFI or Ally Bank
 for 2001 MMLPSA representation and warranty liabilities will prevail, the Examiner’s
 Professionals undertook analyses to evaluate the liabilities GMAC Mortgage incurred for
 255 2001 MMLPSA, Ex. C [ALLY_0018253] (setting premium at 450 basis points); Third Addendum to 2001

    MMLPSA, dated Jan. 1, 2003 [ALLY_0018247] (modifying premium to 175 basis points).
 256 Int. of A. Celini, Feb. 18, 2013, at 72:15–24.

 257 2006 MMLPSA, Art. IV, Ex. C [ALLY_0018291].

 258 See Section V.B.3.b(3).

 259 2007 MMLPSA, Art. IV (eliminating all loan-level representations and warranties), §§ 1.13, 1.9, 1.24 (pricing

    provisions do not distinguish between First and Second Lien Loans) [ALLY_0018275].

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 repurchases and settlement of representation and warranty claims in connection with loans
 purchased from Old GMAC Bank under the 2001 MMLPSA. This effort involved an analysis
 of ResCap’s records related to (1) loans repurchased from investors (for which available
 records are limited to repurchases in and after 2008); (2) the loans covered by the Debtors’
 settlements with Fannie Mae and Freddie Mac; and (3) the Trust R&W Claims.260 That
 analysis is, as discussed below, limited in several ways by the data maintained by the Debtors,
 particularly for the last of these categories, the Trust R&W Claims.

       For the first two categories, the Examiner’s Professionals estimate that the total dollar
 amount of representation and warranty and settlement liabilities incurred by GMAC Mortgage
 on First Lien Loans sold by Old GMAC Bank under the 2001 MMLPSA is approximately
 $278.2 million, including $255.2 million in repurchases from and after May 14, 2009.261 This
 estimate includes charge-offs incurred as a result of repurchases made through 2012,262 the
 settlements with Fannie Mae and Freddie Mac in 2010, and the related 2013 “cure”
 settlements with those entities. Loans the Bank purchased from GMAC Mortgage are
 excluded (because GMAC Mortgage provided representations and warranties to the Bank on
 such loans). This amount does not take into account any recoveries made by GMAC Mortgage
 through subsequent disposition of the loan (and to that extent may be overstated).

      The dollar amount of representation and warranty settlement liabilities incurred by
 GMAC Mortgage on Second Lien Loans sold by Old GMAC Bank under the 2001 MMLPSA
 (excluding loans purchased from GMAC Mortgage) for charge-offs (all incurred as a result of
 repurchases made on or after May 14, 2009) totaled approximately $5.1 million. (Second Lien
 Loans are not included in the Fannie Mae and Freddie Mac settlements.)

       It is clear that there were also loans, including First and Second Lien Loans, sold by Old
 GMAC Bank under the 2001 MMLPSA that are included in the securitizations that comprise
 the Trust R&W Claims. However, while it appears that the representation and warranty
 liability associated with such loans was no more than $400 million (including $343 million for
 Second Lien Loans), these numbers are likely overstated due to limitations in the available
 data.263 For example, the data does not permit segregation of loans purchased by the Bank
 from GMAC Mortgage. Given the limited and imprecise nature of the Debtors’ records
 concerning these securitizations, the Examiner’s Professionals are unable to provide a more
 accurate estimate of this liability.

 260 See 2008–2011 GMACM Repurchases Chargeoff Info Final [EXAM00339948]; FHLMC 2010 Settlement LL

    [EXAM00338680]; FNMA 2010 Settlement LL [EXAM00338681]; ResCap PLS Spreadsheet
    [EXAM00339947]; 2008–2011 GMACM Repurchases Chargeoff Info Final v2 [EXAM00345890]; #4 Cure
    Claim Allocation [EXAM00345891].
 261 As discussed in Section VII.L.2.a(1)(b), the 2001 MMLPSA’s two-year survival provisions likely bar all

    claims concerning loans sold under the agreement; even absent the two-year survival provision, claims related
    to repurchases made before May 14, 2009, would still be barred.
 262 2008–2011 GMACM Repurchases Chargeoff Info Final v.2 [EXAM00345890].

 263 ResCap PLS Spreadsheet [EXAM00339947].




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                           (i) Representation And Warranty Charge-Offs For Loans Purchased
                               Under The 2001 MMLPSA

      The Examiner’s Professionals analyzed the Debtors’ records concerning charge-offs on a
 per-loan basis for loans sold by Old GMAC Bank under the 2001 MMLPSA (excluding loans
 the Bank purchased from GMAC Mortgage in the first instance). The available records are
 limited to repurchases in and after 2008.264

       These charge-offs related to both Fannie Mae/Freddie Mac loans and to non-Agency
 loans. The charge-offs represented the difference between the unpaid balance of the loans at
 the time of repurchase and the Debtors’ estimate of the loan value at that time. The Debtors’
 records included, among other data, the year the charge-off was recorded on the Debtors’
 general ledger, the amount of the charge-off, the effective date of the loan sale as recorded on
 the Debtors’ general ledger, categorization of the entity that initially funded and underwrote
 the loan, identification of First Lien Loans and Second Lien Loans, the amount wired to the
 investor for the repurchase of the loan, and, where applicable, any recoveries the Debtors
 realized from third-party correspondents from whom the loans were purchased.

       The Debtors’ records for charge-offs did not include any recoveries GMAC Mortgage
 realized through the subsequent disposition of the repurchased loans or foreclosed properties.
 As a result, the estimates of costs associated with the charge-offs provided below do not
 include the effect of any such recoveries. Charge-offs were categorized as impairment, make
 whole, or interest expense during 2010 through 2012.265 Loan-level detail for 2008 and 2009
 did not include the distinction between impairments and interest expense, though the charge-
 off was inclusive of both.




 264 See 2008–2011 GMACM Repurchases Chargeoff Info Final [EXAM00339948]; 2008–2011 GMACM
    Repurchases Chargeoff Info Final v2 [EXAM00345890] (providing information on charge-off activity by
    individual loan for 2008 through 2012).
 265 2008–2011    GMACM Repurchases Chargeoff Info Final [EXAM00339948]; 2008–2011 GMACM
    Repurchases Chargeoff Info Final v2 [EXAM00345890]. Impairment is the amount charged to the Debtors’
    general ledger to record the difference between the amounts paid to repurchase the loan, less the current value
    of the loan. Make whole is the amount the Debtors paid to third party investors for the losses incurred on the
    loan. Interest expense is the amount paid to third party investors for accrued interest on the loan.

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      Based on an analysis of the Debtors’ records for repurchases occurring in and after 2008,
 GMAC Mortgage’s total liability for repurchases of loans purchased from Old GMAC Bank
 (net of recoveries from correspondents) totaled approximately $5.1 million for Second Lien
 Loans (all repurchased on or after May 14, 2009) and $77.8 million for First Lien Loans
 (including an estimated $54.9 million for First Lien Loans repurchased on or after May 14,
 2009).266 The table below provides a summary of these charge-offs:




                           (ii) Representation and Warranty Liability Related To The 2010 Fannie
                                Mae And Freddie Mac Settlements For Loans Purchased Under the
                                2001 MMLPSA

       The Examiner’s Professionals analyzed liabilities for the 2010 Fannie Mae and Freddie
 Mac settlements.267 The available data included the unpaid principal balances as of the
 settlement date, the year the loan was funded, the entity that funded and underwrote the loan,
 and the Debtors’ allocation of the total settlement amount on a per-loan basis. The Debtors
 allocated the total settlement amounts pro rata based on the unpaid principal balances of the
 loans included in the settlements. Because the loans at issue are Fannie Mae and Freddie Mac
 loans, they consist of First Lien Loans.
 266 Because the Debtors’ records contained only the year in which the loans were repurchased, and not the specific

    day or month, it was necessary to allocate the 2009 First Lien Loan repurchases to estimate the portion that
    occurred before May 14, 2009. The 2009 repurchases were allocated on the assumption that they occurred
    evenly over the course of the year. Accordingly, 2009 charge-offs were reduced by 36.4% (133 days/365 days).
 267 See FHLMC 2010 Settlement LL [EXAM00338680]; FNMA 2010 Settlement LL [EXAM00338681].



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      As summarized in the table below, approximately $97.6 million of the total $461.5
 million 2010 Fannie Mae settlement, and $65.5 million of the total $325 million 2010 Freddie
 Mac settlement relate to loans sold by Old GMAC Bank under the 2001 MMLPSA (excluding
 loans purchased from GMAC Mortgage):




                         (iii) Representation And Warranty Liability Related To The 2013
                              Fannie Mae And Freddie Mac Cure Settlements For Loans
                              Purchased Under The 2001 MMLPSA

       The Examiner’s Professionals analyzed the claims under the 2013 “cure” settlements
 with Fannie Mae and Freddie Mac. These settlements encompassed claims excluded from the
 2010 Fannie Mae and Freddie Mac settlements such as claims for mortgage insurance
 coverage and title defects, as well as servicing-related claims.268 Because the cure claims
 relate to Fannie Mae and Freddie Mac loans, the loans at issue by definition are First Lien
 Loans, rather than Second Lien Loans.




 268 Proof of Claim No. 4875, filed by Freddie Mac on Nov. 15, 2012 [Case No. 12-12019]; Proof of Claim

   No. 4899, filed by Freddie Mac on Nov. 15, 2012 [Case No. 12-12032]; Proof of Claim No. 4852, filed by
   Fannie Mae on Nov. 16, 2012 [Case No. 12-12019]; Proof of Claim No. 4853, filed by Fannie Mae on Nov.
   16, 2012 [Case No. 12-12020]; Proof of Claim No. 4854, filed by Fannie Mae on Nov. 16, 2012 [Case
   No. 12-12032]; Proof of Claim No. 4855, filed by Fannie Mae on Nov. 16, 2012 [Case No. 12-12033]; Proof
   of Claim No. 4849, filed by Fannie Mae on Nov. 16, 2012 [Case No. 12-12042].

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                                (A) The Freddie Mac Cure Settlement

       On November 15, 2012, Freddie Mac filed proofs of claim against the Debtors totaling
 $73.5 million.269 These claims were settled for a total of $39.4 million.270 Exhibit A to the
 proofs of claim allocates the $73.5 million to nine categories of “outstanding and projected
 obligations.”271 Two of the categories involve, or potentially involve, representation and
 warranty claims, including a “representations and warranties” category containing claims
 totaling $2.4 million,272 and an “outstanding repurchases” category containing claims totaling
 $5.6 million.273 The remaining claim categories appear not to involve representation and
 warranty liabilities.274

       From the available information, it is not clear how much of the $39.4 million settlement
 is attributable to the two categories of claims potentially related to representation and warranty
 liability. The $8 million in claims in these two categories equates to 11% of the total $73.5
 million in filed claims. Simply allocating the $39.4 million settlement on this basis would
 indicate that these potential representation and warranty claims accounted for $4.3 million of
 the settlement.

       This figure would have to be further reduced to eliminate loans not purchased from Old
 GMAC Bank and loans the Bank purchased from GMAC Mortgage. Unfortunately, the
 available information does not include loan-level data permitting analysis of these issues.
 Given that the Bank played a relatively smaller role in GMAC Mortgage’s production in
 earlier years, it seems likely that most of the claims at issue were not purchased from the Bank
 or were sold to the Bank in the first instance by GMAC Mortgage. Even if 50% of remaining
 total survived these hurdles (which seems unlikely), the net liability at issue would be reduced
 to just over $2 million.




 269 Proof of Claim No. 4875, filed by Freddie Mac on Nov. 15, 2012 [Case No. 12-12019]; Proof of Claim

    No. 4899, filed by Freddie Mac on Nov. 15, 2012 [Case No. 12-12032].
 270 Stipulation and Order Relating to the Assumption and Assignment of Certain Agreements of Freddie Mac

    Pursuant to section 365 of the Bankruptcy Code and Related Relief [Docket No. 2894] at 3.
 271 Proof of Claim No. 4875, filed by Freddie Mac on Nov. 15, 2012, Ex. A [Case No. 12-12019].

 272 Id.

 273 Debtorpersonnel involved in the cure settlement process assert that this category actually relates
    predominantly to servicing violations, but the available data did not permit verification of this assertion.
 274 The  remaining categories include: (1) performing loan fees; (2) outstanding compensatory fees;
    (3) compensatory fees not yet billed; (4) foreclosure timeline violation; (5) loan prospector fees; (6) seller
    fees; and (7) servicing error repurchases. Proof of Claim No. 4875, filed by Freddie Mac on Nov. 15, 2012,
    Ex. A [Case No. 12-12019].

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                               (B) The Fannie Mae Cure Settlement

       On November 16, 2012, Fannie Mae filed proofs of claim totaling $382.7 million.275
 According to the proofs of claim, a total of approximately $290 million of the total $382.7
 million related to representation and warranty issues (though the proofs do not provide loan-
 level detail of claim size); the remainder of the $382.7 million related to servicing.276 These
 claims settled in 2013 for a total of $265 million.277 Allocating the settlement on a pro rata
 basis based on claim size, $200.8 million of the total $265 million settlement would be
 attributable to representation and warranty issues.

      Records obtained from ResCap provide certain loan-level detail for $273.1 million of the
 $290 million in representation and warranty claims.278 This data specifies which loans were
 sold by Old GMAC Bank to GMAC Mortgage, whether the loan was originally purchased
 from GMAC Mortgage, the unpaid principal balance of each loan, and further, the sale date of
 the loan as recorded on the Debtors’ general ledger. This data shows that 18.5% of the unpaid
 principal balance of loans in the representation and warranty category related to loans sold by
 Old GMAC Bank under the 2001 MMLPSA that Old GMAC Bank had not purchased from
 GMAC Mortgage. Because the data available does not include the per-loan claim amount, it is
 not possible to allocate the settlement based on this factor. Allocating the $200.8 million
 portion of the settlement related to representation and warranty based on the 18.5% of the total
 unpaid principal balance attributable to loans which were acquired from Old GMAC Bank
 (excluding loans the Bank acquired from GMAC Mortgage) under the 2001 MMLPSA yields
 an estimate of $37.2 million attributable to such loans.




 275 Proof of Claim No. 4852, filed by Fannie Mae on Nov. 16, 2012 [Case No. 12-12019]; Proof of Claim

    No. 4853, filed by Fannie Mae on Nov. 16, 2012 [Case No. 12-12020]; Proof of Claim No. 4854, filed by
    Fannie Mae on Nov. 16, 2012 [Case No. 12-12032]; Proof of Claim No. 4855, filed by Fannie Mae on Nov.
    16, 2012 [Case No. 12-12033]; Proof of Claim No. 4849, filed by Fannie Mae on Nov. 16, 2012 [Case
    No. 12-12042]; #4 Cure Claim Allocation [EXAM00345891].
 276 Proof of Claim No. 4852, filed by Fannie Mae on Nov. 16, 2012, Sched. 1 [Case No. 12-12019].

 277 Stipulation and Order for the Assumption and Assignment of Certain Agreements of Fannie Mae Pursuant to

    section 365 of the Bankruptcy Code and Related Relief [Docket No. 2769] at 4; Proof of Claim No. 4852,
    filed by Fannie Mae on Nov. 16, 2012, Sched. 1 [Case No. 12-12019].
 278 #4 Cure Claim Allocation [EXAM00345891]. GMAC Mortgage Risk Officer Jeff Cancelliere has explained

    that a variety of issues related to the data for the remaining $16.9 million in representation and warranty
    claims prevented provision of this data for such claims. E-mail from J. Cancelliere to Mesirow Financial
    (Apr. 19, 2013).

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                           (iv) 2001 MMLPSA Loans Covered By The $8.7 Billion Proposed RMBS
                                Trust Settlement Agreement

      The Examiner’s Professionals reviewed data provided by the Debtors related to the 392
 securitizations included in the proposed $8.7 billion settlement for the Trust R&W Claims.279
 The securitization detail provided by the Debtors included for each securitization, among
 other data, the following: (1) securitization name; (2) issue year of the securitization;
 (3) original principal balance; (4) estimated long-term loss; (5) cumulative collateral losses
 incurred on the securitization through March/April 2012; (6) estimated future losses on the
 remaining collateral based on a third-party vendor model; (7) total estimated losses on the
 securitization; (8) categorization of the loan product (includes both First Lien and Second Lien
 Loans); and (9) percentage of each securitization originated by the Bank and subsequently
 sold to GMAC Mortgage.280

      The original principal balance of these securitizations was approximately $221 billion.281
 In schedules that the Debtors prepared in connection with the negotiation of the RMBS Trust
 Settlement Agreements, the Debtors estimated the losses associated with each of the 392
 securitizations, including both cumulative losses through March/April 2012 and estimated
 future losses; the estimated losses totaled $43.8 billion.282 As part of their analysis, the
 Debtors allocated the $8.7 billion allowed claim among the 392 securitizations pro rata based
 upon each securitization’s share of the estimated total losses.283

      The Debtors’ records and prospectus supplements disclosed that Old GMAC Bank or
 Ally Bank was a source of loans for 124 of the 392 securitizations included in the Trust R&W
 Claims. Of these 124 Securitizations, sixty-six were issued before November 22, 2006, the
 date of the 2006 Bank Restructuring.284 The table below provides a break-down of these sixty-
 six securitizations by lien type and original principal balance:




 279 ResCap PLS Spreadsheet [EXAM00339947].

 280 The Debtors’ records for GMAC Mortgage securitizations include the percentage of the loans originated by

    Old GMAC/Ally Bank as disclosed in the prospectus supplements. For securitizations issued by RFC, the data
    included information extracted from GMAC Mortgage’s subledger system. The Examiner’s Professionals
    identified certain inconsistencies between the Debtors’ records and the filed prospectus supplements and in
    those instances relied upon the data in the prospectus supplements.
 281 ResCap PLS Spreadsheet, Box K-411 [EXAM00339947].

 282 Id. at Box O-411.

 283 Id. at Box P-411.

 284 It is unclear from the prospectus supplement for a Second Lien Loan securitization issued November 28, 2006

    whether or what portion of the loans included were purchased from Old GMAC Bank under the 2001
    MMLPSA, or from Ally Bank under the 2006 MMLPSA. The estimates provided here assume that these
    loans were purchased from Ally Bank.

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       These sixty-six securitizations have an original principal balance of approximately $44.3
 billion, or 20.1% of the total original principal balance of all 392 securitizations included in the
 Trust R&W Claims.285 Under the Debtors’ allocation based on estimated total losses, the portion
 of the RMBS Trust Settlement Agreements associated with these sixty-six securitizations is $1.7
 billion.286
      The prospectus supplements and the Debtors’ records set forth the percentage of loans in
 each securitization attributable to the Bank, but do not provide information as to whether the
 loans in question were first sold to the Bank by GMAC Mortgage.287 The table below
 summarizes the percentage of loans attributed to Old GMAC Bank for those securitizations:




 If the $8.7 billion allowed claim is allocated based on the percentage of each securitization
 attributed to the Bank, and on the allocation of the allowed claim to the various securitizations
 based upon the Debtors’ estimate of total losses associated with each securitization (the $1.7
 billion calculated above), the portion of the settlement that would be attributed to loans sold
 by Old GMAC Bank under the 2001 MMLPSA would be $400 million. Dividing this further
 between First and Second Lien Loans, the allocation would be approximately $57 million for
 First Lien Loans, and $343 million for Second Lien Loans.
 285 ResCap PLS Spreadsheet [EXAM00339947].

 286 Id.

 287 See,e.g., GMAC Mortgage Corporation, GMACM Home Equity Loan Trust 2005-HE1, Prospectus
    Supplement (Mar. 23, 2005), at S-4; GMAC Mortgage Corporation, GMACM Mortgage, LLC Home Equity
    Loan Trust 2006-HE1, Prospectus Supplement (Mar. 29, 2006), at S-5; GMAC Mortgage Corporation,
    GMACM Home Equity Loan Trust 2006-HE2, Prospectus Supplement (June 27, 2006), at S-5.

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      There are, however, important reasons for believing that these amounts would overstate
 the liability properly allocable to loans purchased from Old GMAC Bank. First, as noted
 above, the data does not permit segregation of loans that the Bank acquired in the first
 instance from GMAC Mortgage. Second, the allocation assumes that the loans purchased from
 Old GMAC Bank performed the same as all other loans in the pertinent securitization.
 Available data does not permit an evaluation of this assumption; however, as the Debtors’
 analysis noted, “[h]istorically Bank production was high credit quality, which could lead to
 better performance[.]”288 In light of the limitations in the available data, the Examiner’s
 Professionals are unable to provide a more accurate estimate of the liability associated with
 the RMBS Trust Settlement Agreements attributable to loans purchased from Old GMAC
 Bank under the 2001 MMLPSA.

      In any event, for the reasons discussed in Sections VII.L.2.a(1)(a) and VII.L.2.a(1)(b),
 the Examiner concludes that a claim against AFI or Ally Bank for recovery of amounts related
 to representation and warranty liabilities for loans sold under the 2001 MMLPSA is unlikely
 to prevail.

                 (2) While The 2006 MMLPSA Likely Would Be Interpreted As Imposing
                     Representation And Warranty Obligations On Ally Bank For Second Lien
                     Loans, The MMLPSA’s Two-Year Survival Clause Likely Bars All Claims
                     For Loans Sold Thereunder

      Ally Bank is a party to the 2006 MMLPSA, unlike the 2001 MMLPSA. As discussed in
 Section VII.L.2.a(1)(c), the 2001 MMLPSA likely would be interpreted as maintaining
 Second Lien Loan representations and warranties. This result seems even more likely for the
 2006 MMLPSA, given that while the 2006 MMLPSA eliminates Bank representations and
 warranties for First Lien Loans, it explicitly retains them for Second Lien Loans.289 This
 revision is difficult to interpret as anything other than a reaffirmation that the Bank is
 providing representations and warranties for Second Lien Loans.

     Of course, the 2006 MMLPSA remained in effect for only seven months, from
 October 31, 2006 to June 1, 2007, when the 2007 MMLPSA took effect. As discussed above,
 the 2007 MMLPSA eliminated the separate pricing provisions previously applicable to
 Second Lien Loans and eliminated all loan-level representation and warranty provisions.

      In any event, the Examiner concludes that claims concerning loans purchased under the
 2006 MMLPSA, including Second Lien Loans, are not likely to prevail because the 2006
 MMLPSA includes a two-year survival clause identical to the one contained in the 2001
 MMLPSA.290 Consequently, all claims by GMAC Mortgage against Ally Bank related to the
 representations and warranties under the 2006 MMLPSA likely would be held to have expired
 288 ResCap PLS Spreadsheet [EXAM00339947].

 289 2006 MMLPSA, Art. IV [ALLY_0018291].

 290 Id.
      § 8.3; see also Section VII.L.2.a(1)(b) (discussing the enforceability and application of the 2001
    MMLPSA’s survival clause).

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 as of June 1, 2009, two years after the last loans were sold to GMAC Mortgage pursuant to the
 2006 MMLPSA. Absent this survival clause, it is likely that Delaware’s three-year statute of
 limitations for indemnification claims, and the fact that such claims accrue when the
 indemnifiable liability becomes fixed,291 would have preserved claims by GMAC Mortgage
 against Ally Bank for repurchases or settlements related to Second Lien Loans occurring after
 May 14, 2009.292

       While the Examiner concludes that claims related to loans sold under the 2006 MMLPSA
 are not likely to prevail, the Examiner’s Professionals analyzed the available data to evaluate
 the liabilities GMAC Mortgage incurred for repurchases and settlement of representation and
 warranty claims in connection with Second Lien Loans purchased under the 2006 MMLPSA.
 It appears from the Debtors’ records that there were no repurchases of Second Lien Loans of
 this vintage (before or after May 14, 2009).293 There were, however, loans purchased from
 Ally Bank included among the securitizations issued by GMAC Mortgage in late 2006 and in
 2007 that would be covered by the proposed $8.7 billion RMBS Trust Settlement Agreements.
 The available information concerning the precise volume and nature of these loans is limited,
 but they include Second Lien Loans. Ally Bank was identified as an originator or purchaser of
 loans in the prospectus supplements or the Debtors’ records for thirty-eight securitizations
 issued between November 22, 2006 and May 31, 2007,294 the period during which GMAC
 Mortgage purchased loans from Ally Bank under the 2006 MMLPSA. Of these thirty-eight




 291 See Section VII.L.2.a(1)(b) (for a discussion of the law concerning the statute of limitations applicable to

    claims for indemnification).
 292 See Section VII.L.2.a(1)(b); 2007 MMLPSA, § 6.1 [ALLY_0018275] (indemnification provision).

 293 2008–2011 GMAC Repurchases Charged Info Final [EXAM00339948].

 294 GMAC Mortgage, LLC, GMACM Home Equity Loan Trust 2006-HE5, Prospectus Supplement (Nov. 28,

    2006), at S-5; GMAC Mortgage, LLC, GMACM Home Equity Loan Trust 2007-HE, Prospectus Supplement
    (Mar. 28, 2007), at S-5. It is unclear from the prospectus supplements for securitizations issued in November
    2006 after the November 22, 2006 Bank Restructuring whether or to what extent loans were purchased from
    Old GMAC Bank under the 2001 MMLPSA or from Ally Bank under the 2006 MMLPSA. For purposes of
    this analysis, the lone November 2006 Second Lien Loan securitization dated after November 22, 2006 is
    assumed to consist of Ally Bank loans.

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 securitizations, the disclosures identify two as containing Second Lien Loans.295 These two
 securitizations have an original principal balance of approximately $2.4 billion, or 1.1% of the
 total original principal balance of all securitizations included in the Trust R&W Claims. The
 Exhibit below provides a summary of these two securitizations:




 As discussed in Section VII.L.2.a(1)(d)(iv), the Debtors allocated the $8.7 billion allowed
 claim pro rata based on an analysis of the estimated losses on each of the 392 securitizations.
 Under that allocation, the portion of the allowed claim attributed to these two securitizations
 was $102 million.296 Based on the percentage of each securitization consisting of loans sold by
 Ally Bank identified in the prospectus supplements, the portion of the settlement attributable
 to such loans would be $86.1 million.297
       However, as with the analysis in Section VII.L.2.a(1) of loans purchased under the 2001
 MMLPSA, there are important reasons for believing that these amounts would overstate the
 liability properly allocable to loans purchased from Ally Bank. The same considerations noted
 there apply here. First, the available data does not permit segregation of loans that the Bank
 acquired in the first instance from GMAC Mortgage. Second, the allocation assumes that the
 loans purchased from the Bank performed the same as all other loans in the pertinent
 securitization. The data available do not permit an evaluation of this assumption; however, as
 the Debtors’ spreadsheet analyzing the claims noted, “[h]istorically Bank production was high
 credit quality, which could lead to better performance[.]”298
      In sum, the Examiner concludes that, while Ally Bank likely would be held to have
 provided representations and warranties for Second Lien Loans under the 2006 MMLPSA, a
 claim against the Bank for loans sold under the 2006 MMLPSA is unlikely to prevail because it
 would be time-barred under the two-year survival provision. If such claims were viable, based
 on the available data, it appears that the amount at issue would be less than $86.1 million.
 295 GMAC Mortgage, LLC, GMACM Home Equity Loan Trust 2006-HE5, Prospectus Supplement (Nov. 28,

    2006), at S-5; GMAC Mortgage, LLC, GMACM Home Equity Loan Trust 2007-HE1, Prospectus Supplement
    (Mar. 28, 2007), at S-5.
 296 ResCap PLS Spreadsheet [EXAM00339947].

 297 Id.

 298 Id.




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               b. Failure To Obtain Independent Director Approval/Waivers Under The
                  Operating Agreements

      As discussed in Section V.B, there are numerous agreements and revisions to agreements,
 including the 2006 MMLPSA and later revisions thereto, the 2007 through 2009 versions of
 the Pipeline Swap, and the 2007 MSR Swap, as well as the 2008 agreements regarding
 brokering loans to the Bank, that occurred between the inception of the 2005 Operating
 Agreement and November 2010, none of which were presented to the ResCap Board, or more
 particularly, to the Independent Directors.299 Each of the 2005 Operating Agreement and the
 2006 Amended Operating Agreement barred ResCap transactions with GMAC Affiliates that
 were not “consistent with those that parties at arm’s length would agree to and for fair
 value,”300 absent waiver of these restrictions by the Independent Directors.301 As the parties
 themselves (and the regulators) repeatedly recognized, the MMLPSA, Pipeline Swap, and
 MSR Swap (considered singly or together) were not on terms that were available in the
 market, to which parties at arm’s length would have agreed.

       That GMAC Mortgage, rather than ResCap, entered into the agreements did not render
 the 2005 Operating Agreement’s or the 2006 Amended Operating Agreement’s affiliate
 transaction restrictions inapplicable; both the 2005 Operating Agreement and the 2006
 Amended Operating Agreement explicitly required that ResCap’s subsidiaries comply with
 the restrictions on affiliate transactions.302 As David Walker, a former CFO of GMAC
 Mortgage Group and one of the architects of ResCap’s formation and the 2005 Operating
 Agreement,303 stated, the Operating Agreement’s provisions concerning transactions with
 affiliates should be read to require approval of ResCap’s subsidiaries’ contracts with affiliates
 that were not ResCap subsidiaries “[b]ecause the point of the Operating Agreement is that
 ResCap’s business, which would include that subsidiary activity, needs to be distinct from,
 you know, the rest of [AFI] . . . .”304

     Walker, however, further suggested that ResCap/GMAC Mortgage transactions with the
 Bank would not trigger those provisions because the mortgage side of the Bank essentially
 should be viewed as a ResCap subsidiary, even after the 2006 Bank Restructuring
 299 The July 2010 MSR Swap revisions were approved by the ResCap Board in November 2010. Minutes of a

    Special Meeting of the Board of Residential Capital, LLC, Nov. 5, 2010, at RC40018844–45 [RC40018729].
 300 2005Operating Agreement, § 2(b) [ALLY_0140795] (emphasis added); 2006 Amended Operating
    Agreement, § 2(b) (Residential Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006), Ex. 10.1)
    (emphasis added).
 301 2005 Operating Agreement, § 8 [ALLY_0140795]; 2006 Amended Operating Agreement, § 8 (Residential

    Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006), Ex. 10.1).
 302 2005   Operating Agreement, § 2(b) [ALLY_0140795]; 2006 Amended Operating Agreement, § 2(b)
    (Residential Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006), Ex. 10.1) (ResCap required to assure
    that “its Subsidiaries” comply with restrictions on transactions with GMAC Affiliates).
 303 Int. of D. Walker, Nov. 28, 2012, at 11:10–21:24.

 304 Id. at 31:11–14.



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 (see Section V.A.1) occurred.305 Of course, ResCap had no interest in Ally Bank at the time
 the 2006 MMLPSA was executed. But even after ResCap acquired its interest in IB Finance,
 under the terms of the 2006 Amended Operating Agreement, because ResCap’s interest was
 non-voting, Ally Bank remained a “GMAC Affiliate” subject to the Operating Agreement’s
 restrictions on Affiliate Transactions; and Ally Bank was not a ResCap “Subsidiary” to whom
 the restrictions did not apply.306 Further, whatever logical force this position might have held
 in earlier years, it no longer held after January 2009, when ResCap sold the balance of its non-
 voting interest in Ally Bank; yet 2009 amendments to the Pipeline Swap and the MSR Swap
 were not presented to the ResCap Board or the Independent Directors.307

      Nonetheless, the Examiner concludes there are significant obstacles that make it unlikely
 that any claim for breach of the Operating Agreements would result in any recovery against
 AFI.

      First, as discussed in Sections V.B.12.a and V.B.12.b, the agreements at issue do not
 appear to have resulted in losses to GMAC Mortgage. While not on arm’s-length terms, it
 does not appear that the agreements themselves were economically unfair to ResCap (though
 there are issues as to whether there were breaches of the agreements, discussed separately
 below). In short, the agreements do not appear to have materially and adversely affected
 ResCap’s creditors.308

      Second, and perhaps in contrast to the 2006 Bank Restructuring, the information obtained
 in the Investigation does not suggest that AFI or Ally Bank was responsible for the
 determination as to whether the agreements in question were submitted to the Independent
 Directors for review. Further, AFI’s obligations under the Operating Agreements are narrowly




 305 Id. at 32:5–17 (“GMAC Mortgage engaging with the mortgage side of the bank is really like staying within

    the ResCap walls.”).
 306 After the 2006 Bank Restructuring, GMAC Bank was wholly owned by IB Finance, which in turn was owned

    by AFI with 2 million IB Finance Class A Shares and ResCap with 2 million IB Finance Class M Shares. See
    Section V.A. To qualify as a “Subsidiary” of ResCap under the 2006 Amended Operating Agreement, ResCap
    had to own “a majority of the voting interests” of such company, either directly or indirectly. See 2006
    Amended Operating Agreement, § 1 (Residential Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006),
    Ex. 10.1) (definition of “Subsidiary”) (emphasis added). Here, ResCap owned no voting interests of GMAC
    Bank. Instead, GMAC held all of the voting interests of GMAC Bank, making GMAC Bank a Subsidiary of
    GMAC and a “GMAC Affiliate.” See id. § 1. Consequently, transactions between GMAC Bank, on the one
    hand, and ResCap or its “Subsidiaries” (including GMAC Mortgage), on the other hand, clearly fell within the
    scope of transactions subject to restrictions pursuant to the 2006 Amended Operating Agreement’s section
    2(b) Id. § 2(k).

 307 See Sections V.B.1.a, VII.L.2.b.

 308 2005 Operating Agreement, § 8 [ALLY_0140795]; 2006 Amended Operating Agreement, § 8 (Residential

    Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006), Ex. 10.1).

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 circumscribed,309 and the Investigation has not revealed evidence of any breach of AFI’s
 implied contractual duty of good faith310 in connection with the execution of these agreements
 or the failure to submit them to the Independent Directors or ResCap’s Board.

      Third, and finally, as discussed in Section III.B, under the Operating Agreements, the
 remedies of third-party beneficiary creditors are “limited to specific enforcement of the
 provisions of th[e] Agreement”;311 there is a similar limitation of the remedies available
 against AFI to specific performance, coupled with an express prohibition on liability for
 damages.312 With respect to the agreements at issue here, it does not appear that there is a
 basis for avoiding this limitation on remedies based on bad faith, fraud or conduct that
 “smacks of intentional wrongdoing.”313 Of course, the agreements in question were later
 replaced by successor versions approved by the Independent Directors and/or terminated.

      Consequently, the Examiner concludes that any claims that the Operating Agreements
 were breached because the MMLPSA, Pipeline Swap, MSR Swap, or broker-related
 agreements were not on terms that parties at arm’s length would have agreed to, and that this
 departure was not waived by the Independent Directors, are not likely to prevail.

              c. Application Of The Pipeline Swap To The Funding To Sale Period And To
                 Bank-Originated Loans

      As discussed in Sections V.B.5 and V.B.10.b(1), when HFS loans were added to the
 Pipeline Swap in July 2008 (contemporaneously with adoption of the 2008 MMLPSA), the
 parties did not revise the terms of the Pipeline Swap to extend the period covered beyond the
 rate lock to funding time period to include the time from the loan’s funding to its sale to
 GMAC Mortgage under the MMLPSA.314 They likewise failed to modify the Pipeline Swap’s
 definition of Subject Transactions to include loans “originated” by the Bank, so that the
 Pipeline Swap by its terms remained limited to loans “purchased” by the Bank. Yet, it is clear
 309 2005 Operating Agreement, § 7 [ALLY_0140795]; 2006 Amended Operating Agreement, § 7 (Residential

    Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006), Ex. 10.1). AFI’s obligations under these
    provisions do not encompass section 2(b)‘s covenant that ResCap and its “Subsidiaries” will not enter into
    affiliate agreements that are not on arm’s length, fair-value terms, or section 8’s provisions for waiver by the
    Independent Directors.
 310 See Section VII.L.1.

 311 2005 Operating Agreement, § 11 [ALLY_0140795]; 2006 Amended Operating Agreement, § 11 (Residential

    Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006), Ex. 10.1).
 312 2005 Operating Agreement, § 7 [ALLY_0140795]; 2006 Amended Operating Agreement, § 7 (Residential

    Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006), Ex. 10.1).
 313 See Section VII.L.1; Deutsche Lufthansa A.G. v. Boeing Co., 2007 U.S. Dist. LEXIS 9519, at *7 (S.D.N.Y.

    Feb. 2, 2007); Indus. Risk Insurers v. Port Auth., 387 F. Supp. 2d 299, 305 (S.D.N.Y. 2005); Net2Globe Int’l,
    Inc. v. Time Warner Telecomm. of N.Y., 273 F. Supp. 2d 436, 454 (S.D.N.Y. 2003).
 314 As discussed   in Section V.B.4, “rate lock” refers to the date upon which the Bank commits to fund or
    purchase a loan; “funding” refers to the date on which the Bank purchases or funds the loan, and “sale” refers
    to the date of sale under the MMLPSA.

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 that from and after July 2008 the Swap was applied as though it encompassed the period from
 funding to sale for HFS loans, and was applied to brokered loans originated by Ally Bank.

      The issue, then, is whether application of the Pipeline Swap in this fashion should be
 considered a breach of the Pipeline Swap, or whether, notwithstanding the Pipeline Swap’s
 seemingly unambiguous language, this application of the Pipeline Swap should be considered
 consonant with the parties’ agreement. To resolve this question requires consideration of:
 (1) whether the doctrine of mistake should be applied to reform the Pipeline Swap’s terms;
 and (2) whether, even if the doctrine of mistake is inapplicable, the parties modified the terms
 of the Pipeline Swap through their subsequent dealings.

                  (1) Mutual Mistake

      The Pipeline Swap is governed by New York law.315 Under New York law, “[a] written
 agreement may be reformed for mutual mistake where the parties have reached an oral
 agreement and, unknown to either, the signed writing does not express that agreement.”316
 Reformation is proper to “restate the intended terms of an agreement when the writing that
 memorializes that agreement is at variance with the intent of both parties.”317 A mistake in the
 reduction of the agreement to writing, no matter if the mistake is by a scrivener or a party, and




 315 March 2008 Pipeline Swap Schedule, part 4(h) [ALLY_0018074]; July 2008 Pipeline Swap Schedule, part

    4(h) [ALLY_0018237]; Amended and Restated Schedule to the 2002 ISDA Master Agreement, dated as of
    Apr. 1, 2011, part 4(h) [RC00027879].
 316 CRP/Extell Parcel I, L.P. v. Cuomo, 34 Misc. 3d 1214(A), at *5 (N.Y. Sup. Ct. 2012), aff’d, 101 A.D.3d 473

    (2012) (citing Ebasco Constructors, Inc. v. Aetna Ins. Co., 260 A.D.2d 287, 290 (N.Y. App. Div. 1999); see
    also Travelers Indem. Co. of Ill. v. CDL Hotels USA, Inc., 322 F. Supp. 2d 482, 495 (S.D.N.Y. 2004)
    (“Reformation or rescission may be appropriate where a writing does not set forth the actual agreement of the
    parties.”); Resort Sports Network Inc. v. PH Ventures III, LLC, 67 A.D.3d 132, 135 (N.Y. App. Div. 2009)
    (same). By contrast, New York only permits reformation for a “unilateral mistake” where the mistake is
    coupled with fraud. See Travelers Indem. Co. of Ill., 322 F. Supp. 2d at 498. Further, if the terms of the
    written agreement accurately memorialize the parties’ agreement, the court will honor the writing and will not
    reform those terms to “alleviate a hard or oppressive bargain” subsequently realized. George Backer Mgmt.
    Corp. v. Acme Quilting Co., Inc., 385 N.E.2d 1062, 1066 (N.Y. 1978) (holding that a contract that
    subsequently resulted in monetary consequences to a party that the party did not anticipate was still valid
    because the contract was highly negotiated, and the party could not show that the consequence of the contract
    was due to a mistake in the contract).
 317 US Bank Nat’l Ass’n v. Lieberman, 98 A.D.3d 422, 423–24 (N.Y. App. Div. 2012) (finding reformation not

    warranted where evidence proffered by plaintiff showed that the written agreement conformed to the intent of
    the parties). A claim for reformation of the 2008 Pipeline Swap would be timely. An action for reformation is
    governed by the six-year statute of limitations governing contracts in New York. N.Y.C.P.L.R.
    213 (McKinney 2004); Wilshire Credit Corp. v. Ghostlaw, 300 A.D.2d 971, 973 (N.Y. App. Div. 2002)
    (citing Wallace v. 600 Partners Co., 658 N.E.2d 715, 716 (N.Y. 1995)); Schmitt v. Schmitt, 123 A.D.2d 617
    (N.Y. App. Div. 1986). The statute of limitations for such a claim begins to run from the time the asserted
    error was allegedly committed. See Wallace, 658 N.E.2d at 717.

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 no matter how the mistake occurred, can be corrected by reformation.318 However, where the
 language of the contract is unambiguous, claims that the agreement does not reflect the
 parties’ agreement face a heightened evidentiary burden.319 The proponent of reformation
 must present “a high level of proof, free from contradiction or equivocation, that the
 instrument is not written as intended by both parties.”320 This requires “clear and convincing
 evidence”321 of a prior agreement between the parties, showing exactly what the parties agreed
 upon.322

                  (2) Modification

     Under New York law, a written contract generally can be modified by agreement,
 whether express or implied.323 The Pipeline Swap, however, explicitly provides that
 amendments to the agreement must be in writing:
           No amendment, modification or waiver in respect of this Agreement will be
           effective unless in writing (including a writing evidenced by a facsimile




 318 Simek v. Cashin, 292 A.D.2d 439, 440 (N.Y. App. Div. 2002); see also Ebasco Constructors, 260 A.D.2d at

    290 (finding that plaintiffs overwhelmingly established the occurrence of a scrivener’s error that justified
    remedy of reformation because evidence showed numerous errors in the insurance policy).
 319 See S. Fork Broad. Corp. v. Fenton, 141 A.D.2d 312 (N.Y. App. Div. 1988) (finding that conclusory
    assertions by a sophisticated party that the writing did not express the terms of the agreement cannot defeat
    summary judgment because the party must overcome a heavy presumption that a deliberately prepared and
    executed written instrument manifests the true intention of the parties).
 320 CRP/Extell Parcel, 34 Misc. 3d 1214(A), at *6–7 (citing 16 N.Y. JUR.2D CANCELLATION OF INSTRUMENTS §

    92); see also S. Fork Broad. Corp., 141 A.D.2d at 315 (“The proponent of reformation must show in no
    uncertain terms not only that mistake or fraud exists, but exactly what was really agreed upon between the
    parties.”). The burden of proof for reformation is high in part because it implicates the type of danger against
    which the parol evidence rule and Statute of Frauds were meant to protect, namely, “the danger that a party,
    having agreed to a written contract that turns out to be disadvantageous, will falsely claim the existence of a
    different, oral contract.” Resort Sports Network, 67 A.D.3d at 135 (citing Chimart Assoc. v. Paul, 489 N.E.2d
    231, 234 (N.Y. 1986)).
 321 See Healy v. Rich Prods. Corp., 981 F.2d 68, 73 (2d Cir. 1992); Yu Han Young v. Chiu, 49 A.D.3d 535, 536

    (N.Y. App. Div. 2008).
 322 See Lieberman, 98 A.D.3d at 424 (stating that reformation based upon a scrivener’s error requires proof of a

    prior agreement between parties); K.I.D.E. Assocs., Ltd. v. Garage Estates Co., 280 A.D.2d 251, 253 (N.Y.
    App. Div. 2001) (noting that the evidence must show what parties agreed upon, particularly if the negotiations
    were conducted by sophisticated and counseled parties).
 323 See S. Fed. Sav. & Loan Ass’n of Ga. v. 21-26 E. 105th St. Assocs., 145 B.R. 375, 380 (S.D.N.Y. 1991), aff’d,

    978 F.2d 706 (2d Cir. 1992); see also Robotic Vision Sys., Inc. v. Gen. Scanning, Inc., 96-CV-3884 (JG), 1997
    WL 1068696, at *6 (E.D.N.Y. Sept. 8, 1997) (stating that “[p]arties to a contract may modify the terms of a
    written contract by a subsequent course of conduct”).

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         transmission) and executed by each of the parties or confirmed by an exchange
         of telexes or electronic messages on an electronic messaging system.324

       New York law concerning such provisions is similar to Delaware law.325 “Under certain
 conditions, however, a written agreement which provides that it cannot be modified except by
 a writing, can be modified by a course of conduct or actual performance.”326 To demonstrate a
 modification, there must be mutual assent of each party.327 It is not enough to simply show
 that the parties acted inconsistently with the terms of the written contract;328 the parties’
 altered performance must be “unequivocally referable” to a modified oral agreement.329 On
 the other hand, the course of performance and conduct of parties will hold great weight as to
 whether there was a modified oral agreement, as courts have held that “[t]he practical
 interpretation of a contract by the parties, manifested by their conduct subsequent to its
 formation for any considerable length of time before it becomes a subject of controversy, is



 324 ISDA Master Agreement, dated as of Oct. 1, 2004, § 9(b) [ALLY_0041583]; see also ISDA 2002 Master

    Agreement, dated as of Apr. 1, 2011, § 9(b) [RC00027962]:
         An amendment, modification or waiver in respect of this Agreement will only be effective if in
         writing (including a writing evidenced by a facsimile transmission) and executed by each of the
         parties or confirmed by an exchange of telexes or by an exchange of electronic messages on an
         electronic messaging system.
 325 See Section VII.L.2.a(1)(c) (discussing Delaware law).

 326 S. Fed. Sav. & Loan Ass’n, 145 B.R. at 380 (citing Seven-Up Bottling Co. (Bangkok), Ltd. v. PepsiCo, Inc.,

    686 F. Supp. 1015, 1022 (S.D.N.Y. 1988)).
 327 See Larson v. Eney, 741 F. Supp. 2d 459, 465 (S.D.N.Y. 2010) (noting that mutual assent includes a meeting

    of the minds as to all material terms); Dallas Aerospace, Inc. v. CIS Air Corp., 352 F.3d 775, 783 (2d Cir.
    2003) (“[A] single act of accepting payment is not a course of performance sufficient to demonstrate mutual
    assent.”).
 328 See, e.g., Airway Maint., LLC v. N. Fork Bank, No. 0015081/2004, 2007 WL 4846194 (N.Y. Sup. Ct. Nov.

    21, 2007) (finding that conduct itself could not produce a modification, particularly where plaintiffs did not
    produce any evidence of an oral agreement to modify); Robotic Vision Sys., 1997 WL 1068696, at *6
    (rejecting as insufficient a party’s claim that a confidentiality agreement, which required oral designations of
    confidentiality to be followed by a written designation, was modified by the parties’ course of conduct
    because the parties never designated anything in writing); S. Fed. Sav. & Loan Ass’n, 145 B.R. at 380–81
    (finding that a bank’s conduct, which demonstrated an intention to ignore restrictions and limitations in the
    contract and to use undisbursed funds to pay hard and soft costs, did not amount to a modification by conduct
    because there was no evidence that the parties had mutually assented and agreed to modification).
 329 See S. Fed. Sav. & Loan Ass’n, 145 B.R. at 380–81 (stressing that the party must show evidence that the

    conduct and verbal agreement refers specifically to the modification, rather than only to an intent to modify or
    to an action inconsistent with the written contract. Without this implied agreement to modify, conduct on its
    own is insufficient); Airway Maint., 2007 WL 4846194 (stating that plaintiff needs to prove that conduct is
    unequivocally referable to the alleged oral modification and that the conduct conferred some benefit on the
    party against whom enforcement is sought); Ballard v. Parkstone Energy, LLC, 522 F. Supp. 2d 695, 709
    (S.D.N.Y. 2007) (“For a course of performance to demonstrate mutual assent to a modification, it must be
    ‘unequivocally referable’ to the modification.”).

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 entitled to great, if not controlling weight in the construction of the contract.”330 Further, a
 valid modification must include consideration—legal detriment incurred by both parties—to
 support the change.331

      Here, given the available evidence and the exacting standard, while the applicability of
 the doctrine of mistake is a closer question, there appears to be a strong argument for
 modification.

      As discussed in Section V.B.5, the Bank’s HFS portfolio historically had been hedged
 through the application of the MMLPSA and its cost-based pricing. The 2008 revision of the
 MMLPSA and the addition of the HFS portfolio to the Pipeline Swap, were by all accounts
 aimed at maintaining the hedged status of the portfolio.332 The contemporaneous MMLPSA
 pricing revisions, with their reference to hedge accounting, appear to reflect a similar intent.333
 Moreover, it appears that, from the outset, the parties performed as though the HFS portfolio
 was fully hedged, so that, in combination with the MMLPSA, the loans would be transferred
 to GMAC Mortgage at cost, as they always had. None of the personnel interviewed, and none
 of the documents produced, evidence any other view.

      The language of the Swap, however, unambiguously refers solely to the rate lock to
 funding period, and Bank personnel, at least, realized that this was the language in the
 agreement.334 There seems to be no doubt that the language used was language the parties

 330 Viacom Int’l, Inc. v. Lorimar Prods., Inc., 486 F. Supp. 95, 98 n.3 (S.D.N.Y. 1980); see also Austin v. Barber,

    227 A.D.2d 826, 828 (N.Y. App. Div. 1996) (finding that, despite a contractual provision barring modification
    except in writing, the conduct of the parties demonstrated a modification because evidence showed plaintiff
    requested certain additions to a construction contract, and defendant performed those requests).
 331 See Rooney v. Slomowitz, 11 A.D.3d 864, 867 (N.Y. App. Div. 2004) (“Consideration is necessary to prove

    the existence of an oral modification of a written agreement.”); Metzger v. Aetna Ins. Co., 229 A.D. 2, 6 (N.Y.
    App. Div. 1930) (finding sufficient consideration where defendant received a larger premium and plaintiff
    was relieved from danger of immediate cancellation); Pactiv Corp. v. Multisorb Techs. Inc., 823 F. Supp. 2d
    840, 847 (N.D. Ill. 2011) (applying New York law and rejecting as insufficient a party’s claim that a
    confidentiality agreement between food packaging manufacturer and its competitor was modified through
    conduct so as to include oral disclosures and non-designated documents as confidential information under the
    agreement when there was no consideration for these additional inclusions); Ballard, 522 F. Supp. 2d at 710
    (finding that there was no consideration for the seller’s purported waiver of a 60 day deadline); Estate of
    Anglin v. Estate of Kelley, 270 A.D.2d 853 (N.Y. App. Div. 2000) (holding no modification by conduct to
    have been made because there was no consideration made by either party for any change to plaintiff’s
    entitlement under a buy-sell agreement).
 332 Int. of R. Groody, Dec. 17, 2012, at 160:10–161:6, 164:25–165:13, 167:9–174:14; Int. of A. Celini, Feb. 18,

    2013, at 196:22–197:18; GMAC Bank Affiliate Transaction Memorandum, July 1, 2008 Schedule to ISDA
    Master Agreement, dated June 30, 2008, at 3 [ALLY_0017919] (asserting that the transaction results in a
    “perfect hedge for the Bank”).
 333 2008 MMLPSA, § 1.9 [ALLY_0201210].

 334 See GMAC Bank Affiliate Transaction Memorandum, July 1, 2008 Schedule to ISDA Master Agreement,

    dated June 30, 2008, at 1 [ALLY_0017919] (noting swap covers changes in value “from the rate lock date to
    the time of funding for HFI and HFS”).

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 knew they were using. The Investigation has uncovered no evidence that the parties
 specifically agreed that the period covered should be rate lock to sale,335 and that this simply
 did not get transcribed in the document.

      Instead, the problem appears to be that these were complicated transactions, and, whether
 through carelessness in analysis, sloppiness in preparation of the agreements (of which there
 are numerous examples),336 or otherwise, the parties simply seem not to have understood that
 to achieve their agreed general purpose, this language should have been revised to extend the
 period to which the Swap applied to the date of sale. While hedging the HFI portfolio only for
 the period from lock to funding fit the business purpose of that portion of the transaction,
 hedging the HFS portfolio only for this shorter period and leaving the portfolio unhedged from
 funding to sale would have made little business sense. The parties’ consistent conduct
 following adoption of the 2008 Pipeline Swap and MMLPSA revisions was to apply the Swap
 to the full rate lock to sale period; GMAC Mortgage, for example, hedged the risk in the
 market as though it had fully assumed the risk, rather than leaving the risk for the funding to
 sale period with Ally Bank.337

      Whether the contract would be reformed under the doctrine of mistake based on these
 facts is a close question, but the Examiner concludes that a court more likely than not would
 reform the contract.

      The argument for application of the mistake doctrine to reform the 2008 Pipeline Swap to
 encompass brokered loans is weaker. In July 2008, the volume of brokered, Bank-originated
 loans was very small.338 There appears to be no evidence that these loans were specifically
 discussed in the discussions leading up to adoption of the 2008 Pipeline Swap.

      However, it is abundantly clear from the written record of the Brokering Consumer
 Loans to Bank Project, described in Section V.B.6.a and in Section V.B.6.d, that the parties
 intended that the Pipeline Swap apply not only to brokered loans, but also to the “funding to
 sale” period. Those documents, including e-mails exchanged between the parties documenting
 their agreement on the economics, reflect an agreement that the Pipeline Swap will apply to
 brokered loans, and will apply from rate lock to sale; indeed, the whole analysis of the
 allocation of revenues undertaken in connection with the project turns upon application of the
 Swap in this fashion. Consequently, even if one were to conclude that the doctrine of mistake
 was inapplicable to the contract terms as originally written, there appears to be a very strong
 argument that, at minimum, the contract terms were modified in connection with the
 Brokering Consumer Loans to Bank Project.

 335 As discussed in Section V.B.4, “rate lock” is when the funding price to the borrower or purchase price to a

    third party is fixed and “sale” is when the loan is sold to GMAC Mortgage.
 336 See, e.g., Section V.B.4.d (discussing the May 2007 Pipeline Swap).

 337 See Int. of S. Blitzer, Mar. 5, 2013, at 105:21–107:24; see also Int. of J. Whitlinger, Nov. 30, 2012, at 134:19–

    135:5, 137:10–20, 147:25–148:11.
 338 See Int. of A. Celini, Feb. 18, 2013, at 41:19–23.



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       Accordingly, the Examiner concludes that it is unlikely that a claim that the Pipeline Swap
 was breached when it was applied to the funding to sale period would prevail, and it is unlikely
 that a claim that application of the Swap to brokered loans was a breach would prevail.

             d. The Misallocation Of Net Revenues On Loans Brokered By GMAC Mortgage

      Section V.B.6 sets forth in detail the facts underlying this issue, and the Examiner’s
 evaluation of the evidence concerning the negotiation of the brokering arrangement, the
 implementation of the agreed allocation of revenues in January–July 2009, the effect of the
 Bank’s fair-value election, and the 2011–12 investigation of and response to the revenue-
 allocation issue.

       In sum, the evidence shows that the participants in the Brokering Consumer Loans to
 Bank Project agreed to an allocation of revenues on loans GMAC Mortgage brokered to the
 Bank that was consistent with the prior allocation of revenues on 250.250 loans, and with the
 application of the pricing and swap provisions of the MMLPSA and Pipeline Swap. While the
 Bank initially was to receive certain revenues such as points and origination fees, and to incur
 certain expenses such as broker expense, the BCL2B Presentation and contemporaneous
 e-mail exchanges between Bank and ResCap representatives all demonstrate that the parties
 contemplated that, through the application of FAS 91 deferrals, the economic effect of all
 these revenues and expenses would be transferred to GMAC Mortgage. The accounting
 examples provided in the BCL2B Presentation are equally clear on this point. It is telling that
 the parties upon inception of the brokering arrangement implemented the revenue allocation in
 just this fashion.

       The parties’ agreement, moreover, reflected the parties’ fundamental approach to the
 allocation of revenues, repeatedly articulated by Bank officers Celini and Groody: the Bank
 would act as a financing conduit, collecting net carry, while GMAC Mortgage would assume
 the risks on the transaction, including representation and warranty risk, hedging risk, etc., and
 was consequently entitled to the gain on sale.

       Later claims in 2012 that the BCL2B Presentation was somehow “unclear” appear to
 simply ignore the repeated demonstration of how the parties in 2008 (and afterwards)
 understood the revenue allocation would work (perhaps, in the case of KPMG, because it
 lacked access to all of the available information). There is ample fodder here for an argument
 that the initial reaction of those reviewing the problem in late 2011 (that the Bank had retained
 gain on sale revenue due to GMAC Mortgage) was squelched, and that the result in 2012 was
 the product of a desire, in the face of ResCap’s impending bankruptcy, to avoid restating Ally
 Bank’s financials (and the regulatory scrutiny that would have ensued), rather than a fair and
 objective attempt to resolve the matter.339

 339 It might be possible to fashion a breach of fiduciary duty claim against ResCap officials who apparently

    succumbed to AFI’s and the Bank’s desires. As discussed in Section VII.E.2.c, such claims face a variety of
    substantial obstacles. More to the point, they would appear in this instance to be wholly redundant of the
    recoveries the Examiner concludes are already available to Debtors under contract law.

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      The evidence shows that the Bank’s August 1, 2009 conversion to fair-value accounting,
 even if unintentionally, resulted in a straightforward breach of the parties’ agreement,
 documented in the MMLPSA and Pipeline Swap and in the parties’ communications and
 documentation concerning the Brokering Consumer Loans to Bank Project and in their
 subsequent conduct from January 1, 2009 to July 31, 2009.340 There is no evidence that GMAC
 Mortgage agreed to the fundamental reallocation of revenues wrought by the Bank’s fair-value
 accounting election—that it agreed that it would continue to absorb the risks related to the loan
 transaction while allowing the Bank to retain a portion of the gain on sale. Indeed, neither
 party seems to have even understood that the fair-value election had effected this change until
 December 2011. In any case, as the Bank’s Sponsor of the Brokering Consumer Loans to Bank
 Project, Celini, noted, to alter the revenue allocation that had been agreed upon (whether
 through a change in accounting or otherwise) would have required an affirmative agreement of
 the parties, and there was no such agreement here. There thus does not appear to be any basis
 to conclude that the fair-value election reflected a modification of the parties’ agreements.

      Accordingly, the Examiner concludes that GMAC Mortgage likely would prevail on a
 contractual claim that the allocation of revenues from January 1, 2009 to July 31, 2009 was
 proper, and that it is entitled to payment of the revenues misallocated to the Bank from and
 after August 1, 2009.341 GMAC Mortgage would be entitled not only to return of the $51.4
 340 Even if the contemplated allocation of revenues was not mandated by the terms of the 2008 MMLPSA and

   Pipeline Swap, the contemporaneous Brokering Consumer Loans to Bank Project documentation and the
   parties ensuing implementation of the arrangement would constitute a written modification of those
   agreements to provide for the contemplated revenue allocation. See Section V.B.6; ISDA Master Agreement,
   dated as of Oct. 1, 2004, § 9(b) [ALLY_0041583] (acknowledging agreement to modify through electronic
   messages); 2008 MMLPSA, § 8.8 [ALLY_0201210]. Although the 2008 MMLPSA requires that any
   modification include a signed writing, Delaware courts have held that modifications to agreements may
   nevertheless be valid even if such modifications do not comply with the terms set forth for modifications in
   the original agreement. See Pepsi-Cola Bottling Co. v. Pepsico Inc., 297 A.2d 28, 33 (Del. 1972) (“We think,
   therefore, that a written agreement between contracting parties, despite its terms, is not necessarily only to be
   amended by formal written agreement.”); see also Cont’l Ins. Co. v. Rutledge & Co., Inc., 750 A.2d 1219,
   1229 (Del. Ch. 2000) (“[I]t is settled law that contract provisions deeming oral modifications unenforceable
   can be waived orally or by a course of conduct just like any other contractual provision.”).
 341 The claim would be predicated upon the MMLPSA, governed by Delaware law, and the Pipeline Swap,

   governed by New York law, and the parties’ agreements reflected in the documentation of the Brokering
   Consumer Loans to Bank Project. See 2001 MMLPSA, § 8.5 [ALLY_0018253]; March 2008 Pipeline Swap,
   part 4(h) [ALLY_0018074]; July 2008 Pipeline Swap Schedule, part 4(h) [ALLY_0018237]; Amended and
   Restated Schedule to the 2002 ISDA Master Agreement, dated as of Apr. 1, 2011, part 4(h) [RC00027879].
   Under either Delaware’s three-year statute of limitations (and Bankruptcy Code section 108’s tolling
   provisions) or New York’s six-year statute, the claims would be timely. New York law would call for the
   application of interest at the rate of 9% per annum. See N.Y. C.P.L.R. § 5004. Under Delaware law, the
   applicable rate would be 5% above the Federal Reserve discount rate. See DEL. CODE ANN. tit. 6,
   § 2301(a); see also Chaplake Holdings Ltd. v. Chrysler Corp., No. Civ.A 94C-04-164-JO, 2003 WL
   22853462, at *5 (Del. Super. Ct. Oct. 30, 2003). Precisely which rate a court would apply in these
   circumstances is unclear, but the pertinent rate would be applied to the $51.4 million component repaid to
   Ally Bank from the repayment date, and to the $469.1 million in revenues retained by the Bank for the period
   August 1, 2009 through April 2012 from the date on which each of the constituent portions of those revenues
   was due to GMAC Mortgage (i.e., the sale date of the pertinent loan).

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 million paid to Ally Bank in March 2012,342 but also to payment of over $469 million in
 additional revenues (net of the below-market broker fee) that it would have received had the
 parties’ agreed revenue allocation been abided by from August 1, 2009 to April 30, 2012,
 when the MMLPSA and Pipeline Swap were terminated.

               e. Failure To Pay The Value Of Correspondent-Loan And Purchased MSRs To
                  GMAC Mortgage Under The MSR Swap

       As discussed in Section V.B.10.b.(2), Ally Bank has, as part of its payments under the
 MSR Swap, paid to GMAC Mortgage the value of MSRs arising from Bank-originated loans
 upon their initial capitalization, but has not done so for MSRs arising from loans the Bank
 purchased from correspondents or for purchased MSRs. GMAC Mortgage has a potential
 claim that Ally Bank breached the Swap’s requirements by failing to pay to GMAC Mortgage
 the value of such newly recognized MSRs. The value of the MSRs not paid to GMAC
 Mortgage is approximately $1.725 billion, including $1.329 billion for the period before the
 April 2011 revision of the MSR Swap.343 As discussed below, this claim raises issues similar
 to those under the 2001 MMLPSA and the Pipeline Swap, discussed in Sections
 VII.L.2.a(1)(c) and VII.L.2.c, involving the parties’ consistent implementation of a contract in
 a fashion that conflicts with its written terms. However, the proper resolution of those issues
 in this context is less clear-cut.

      The MSR Swap’s FMV Schedule (before the April 2011 revisions) defined the “Subject
 Transaction” as the “dollar amount of mortgage servicing rights owned by [Ally Bank] as
 reported on the accounting general ledger of [the Bank],” and requires periodic payment of the
 “FMV Change,” defined as “in respect of a Subject Transaction . . . the FAS 156 mark to
 market for the Valuation Period as recorded by [Ally Bank] against the mortgage servicing
 right asset.”344 These FMV Swap provisions do not explicitly distinguish between “FAS 156
 mark to market” changes related to bank-originated loan MSRs and those related to the
 recognition of correspondent-loan MSRs or purchased MSRs. By their terms, the provisions
 turn on the value of the MSRs on the balance sheet, not on whether the Bank has recognized a
 gain on the asset in its income statement.

       As a preliminary matter, the evidence does not appear to support Young’s assertions
 concerning this issue. As discussed in Section V.B.10.b(2), Young contended that the
 increases in the value of the Bank’s MSR portfolio due to newly recognized MSRs were not
 required to be paid under the MSR Swap’s FMV Schedule because they are not part of the
 “FAS 156 mark to market,” and that the Bank had instead paid the capitalized value of Bank-
 originated loan MSRs to GMAC Mortgage not under the FMV Swap, but as part of the Net
 Servicing Fee. As Young pointed out, the Bank recognizes a gain, or earnings, on MSRs
 arising from Bank-originated loans (having paid nothing to purchase the MSR), while, for
 342 Whether the payment of the $51,419,494 constituted a voidable preference is addressed separately in
    Section VII.F.5.c(3).
 343 See Section V.B.10.b(2), Ex. V.B.10.b(2).

 344 2007 FMV Schedule, parts 6(a)(iii), (v) [RC00027822].



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 purchased MSRs and correspondent-loan MSRs for which the Bank paid an SRP (servicing-
 released premium), it does not recognize a gain because it records the MSR at the value for
 which it was purchased. The same is true for excess servicing rights (where the capitalized
 value of the excess servicing rights for both Bank-originated loans and correspondent loans
 also corresponded to a gain). Were Young’s explanation correct, the Bank’s treatment of
 newly recognized MSRs would be consistent with the MSR Swap.
      The Examiner concludes, however, that Young’s attempt to reconcile the parties’
 practices with the terms of the MSR Swap is not likely to prevail for several reasons reflected
 in the discussion in Section V.B.10.b(2):
                 (1) First, FAS 156 does encompass the initial recognition of an asset on an
                     entity’s balance sheet.
                 (2) Second, the original Net Servicing Fee definition, when speaking to
                     “amounts collected or earned by” the Bank, referred to these amounts as
                     “i.e. normal servicing fees and ancillary income” (not, “e.g. normal
                     servicing fees and ancillary income”); Young acknowledged that the
                     amounts in question are neither.
                 (3) Third, while the documentary evidence concerning the portion of the MSR
                     Swap under which the capitalization of Bank-originated MSRs was paid is
                     limited, it reflects that the parties understood the payment was made under
                     the FMV Swap.
                 (4) Fourth, Cortese, who was heavily involved in implementation of the Swaps,
                     plainly understood that these payments were made under the FMV Swap
                     (before and after the April 2011 revisions).
      Further, the April 2011 revisions to the MSR Swap do not appear to eliminate the
 applicability of the FMV Swap to recognition of new MSRs on the Bank’s balance sheet
 (including capitalization of the correspondent-loan MSRs and purchased MSRs). On the
 contrary, the FMV and FMV Change definitions adopted in April 2011 speak simply of
 changes in the “estimated valuation of the mortgage servicing rights then owned by [the
 Bank],345 abandoning the requirement that the change be the “FAS 156 mark to market.” To
 the extent Young’s argument that the FMV Swap was inapplicable because recognition of a
 new MSR is not a “FAS 156 mark to market” had any force, it is inapplicable to the revised
 language adopted in April 2011.
      On the other hand, it is true that the April 2011 MSR Swap Confirmation’s definition of
 Actual Net Servicing Fee eliminates the reference to “normal servicing fees and ancillary
 income” found in the Net Servicing Fee definition in earlier versions of the Swap. Instead, the
 Actual Net Servicing Fee definition as written encompasses any amounts “posted to all
 servicing and mortgage servicing rights related income statement accounts” in the Bank’s
 general ledger, not limited to normal servicing fees and ancillary income. This would
 345 April 2011 MSR Swap Confirmation, § 2 [ALLY_0041799] (definitions of FMV Change and FMV Value).



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 encompass the gains on Bank-originated loan MSR capitalization and the recognition of
 excess servicing rights, but not the recognition of correspondent-loan MSRs or purchased
 MSRs (which involve no gain). But, by the same token, if this definition is not limited to
 normal servicing fees and ancillary income, then it also encompasses the amounts Young
 concedes were always covered by the FMV Swap—the periodic adjustments to fair value
 (mark to market) of MSRs previously capitalized on the Bank’s general ledger, because those
 amounts are also posted to mortgage servicing rights income statement accounts in the Bank’s
 general ledger.346 Consequently, that the revised Actual Net Servicing Fee definition is broad
 enough to encompass capitalization of MSRs for Bank-originated loans does not resolve
 whether the FMV Swap also applies.
      Focusing first on the period before the April 2011 amendment, the question is whether
 application of the FMV Swap to encompass changes in the value of MSRs arising from Bank-
 originated loans, but not to MSRs arising from correspondent loans or to purchased MSRs, is
 consistent with the parties’ agreement. As Cortese’s explanation of the disparate treatment of the
 different types of MSRs reflects, it rested on a notion that the “Swap is more of a revenue, of a
 P&L view, than, say, the balance sheet,” and the MSRs were differentiated based on whether
 they involved a “gain or loss,” rather than whether their recognition involved a “change[] in the
 balance sheet.” But this is plainly at odds with the language of the FMV Schedule, which
 explicitly and unambiguously speaks to the balance sheet—“the dollar amount of mortgage
 servicing rights owned by [the Bank] as reported on the accounting general ledger of [the
 Bank]”—not to whether the Bank’s initial booking of the asset involves a gain or loss.
      Nevertheless, here, as in other instances discussed above, the parties appear to have
 consistently applied the agreement in a way that is at odds with its language. The question
 then, is whether the parties should be understood to have agreed to different terms than those
 reflected in the language of their agreement, based either on the doctrine of mistake or on a
 claim that they modified the terms of their contract.
     The MSR Swap is governed by New York law.347 New York law governing the doctrines
 of mistake and modification is discussed in Sections VII.L.2.c(1) and VII.L.2.c(2).
      The doctrine of modification does not appear to be the proper rubric for analysis of this
 issue, at least before the April 2011 revisions (which are analyzed below). There is no
 suggestion here of an agreement after the Swap was adopted to alter its terms (in contrast to
 Celini’s statements concerning an agreement to modify the 2001 MMLPSA representation and
 warranty provisions, see Section V.B.3, and the Broker to Bank evidence of agreement that
 the Pipeline Swap would govern brokered loans, see Section V.B.6). Like the MMLPSA
 346 SeeMortgage Segment Legacy YTD Consolidating Trial Balance (Dec. 31, 2011) [EXAM00228758].
    Although this is undoubtedly not what the parties intended, applied in accordance with its terms, the revised
    Actual Net Servicing Fee language would arguably require double payments to GMAC Mortgage of the gain
    on MSR and excess servicing fee capitalization.
 347 See 2007 FMV Schedule, part 4(h) [RC00027822] (stating that New York law governs); 2007 Net Funding

    Schedule, part 4(h) [RC00027852] (same); 2010 FMV Schedule, part 4(h) [ALLY_0018110] (same); 2010
    Net Funding Schedule, part 4(h) [ALLY_0018118] (same); Amended and Restated Schedule to the 2002
    ISDA Master Agreement, dated as of Apr. 1, 2011, part 4(h) [RC00027879] (same).

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 and the Pipeline Swap, the MSR Swap barred oral modifications.348 Consequently, as
 discussed above, to establish a modification, it is not enough to show that the parties acted
 inconsistently with a contract’s written terms; the parties’ altered performance must be
 “unequivocably referable” to a modified oral agreement.349 Of course, in evaluating claims
 that there was such an oral modification, the parties’ subsequent conduct would be entitled to
 great weight.350 But, again, before April 2011, there is no claim of modification here and no
 event that seems to entail a modification. Further, it does not appear that a modification in
 which GMAC Mortgage simply gave up the right to receive the newly recognized value of
 correspondent-loan MSRs and purchased MSRs would be supported by mutual
 consideration.351

      Instead, the claim, best articulated by Cortese, is that the parties always intended the
 agreement to operate in the fashion in which it was applied, and, implicitly, that the
 inconsistent language in the FMV Swap—which unambiguously applies to the value of MSRs
 on the balance sheet, rather than their impact on the income statement—should be understood
 348 The MSR Swap provides:


          No amendment, modification or waiver in respect of this Agreement will be effective unless in
          writing (including a writing evidenced by a facsimile transmission) and executed by each of the
          parties or confirmed by an exchange of telexes or electronic messages on an electronic messaging
          system.
    ISDA Master Agreement, dated June 12, 2007, § 9(b) [ALLY_0041610].
 349 See S. Fed. Sav. & Loan Ass’n of Ga. v. 21-26 E. 105th St. Assocs., 145 B.R. 375, 380–81 (S.D.N.Y. 1991),

    aff’d, 978 F.2d 706 (2d Cir. 1992) (stressing that the party must show evidence that the conduct and verbal
    agreement refers specifically to the modification, rather than only to an intent to modify or to an action
    inconsistent with the written contract. Without this implied agreement to modify, conduct on its own is
    insufficient); Airway Maint., LLC v. N. Fork Bank, No. 0015081/2004, 2007 WL 4846194 (N.Y. Sup. Ct.
    Nov. 21, 2007) (stating that plaintiff needs to prove that conduct is unequivocally referable to the alleged oral
    modification and that the conduct conferred some benefit on the party against whom enforcement is sought);
    Ballard v. Parkstone Energy, LLC, 522 F. Supp. 2d 695, 709 (S.D.N.Y. 2007) (“For a course of performance
    to demonstrate mutual assent to a modification, it must be ‘unequivocally referable’ to the modification.”).
 350 Viacom Int’l, Inc. v. Lorimar Prods., Inc., 486 F. Supp. 95, 98 n.3 (S.D.N.Y. 1980); see also Austin v. Barber,

    227 A.D.2d 826, 828 (N.Y. App. Div. 1996) (finding that, despite a contractual provision barring modification
    except in writing, the conduct of the parties demonstrated a modification because evidence showed plaintiff
    requested certain additions to a construction contract, and defendant performed those requests).
 351 See Rooney v. Slomowitz, 11 A.D.3d 864, 867 (N.Y. App. Div. 2004) (“Consideration is necessary to prove

    the existence of an oral modification of a written agreement.”); Metzger v. Aetna Ins. Co., 229 A.D. 2, 6 (N.Y.
    App. Div. 1930) (finding sufficient consideration where defendant received a larger premium and plaintiff
    was relieved from danger of immediate cancellation); Pactiv Corp. v. Multisorb Techs. Inc., 823 F. Supp.
    2d 840, 847 (N.D. Ill. 2011) (applying New York law and rejecting as insufficient a party’s claim that a
    confidentiality agreement between food packaging manufacturer and its competitor was modified through
    conduct so as to include oral disclosures and non-designated documents as confidential information under the
    agreement when there was no consideration for these additional inclusions); Ballard v. Parkstone Energy,
    LLC, 522 F. Supp. 2d 695, 710 (S.D.N.Y. 2007) (finding that there was no consideration for the seller’s
    purported waiver of a 60 day deadline); Estate of Anglin v. Estate of Kelley, 270 A.D.2d 853 (N.Y. App. Div.
    2000) (holding no modification by conduct to have been made because there was no consideration made by
    either party for any change to plaintiff’s entitlement under a buy-sell agreement).

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 as a mistake in the drafting of the agreement. As discussed in Section VII.L.2.c(1), where the
 language of the contract is unambiguous, claims that the agreement does not reflect the
 parties’ agreement face a heightened evidentiary burden.352 The proponent of reformation
 must present “a high level of proof, free from contradiction or equivocation that the
 instrument is not written as intended by both parties.”353 This requires “clear and convincing
 evidence”354 of a prior agreement between the parties, showing exactly what the parties agreed
 upon.355

       According to Cortese, the focus on whether the MSR involved a gain for the Bank was
 attributable to the fact that “[t]he intent of the swap was to have all those economics, net cash
 flows, go back to GMAC Mortgage,” since “[t]he Bank was holding the MSR for, I think,
 purely financing purposes.”356 Cortese, of course, was not a party to the negotiation of the
 MSR Swap, and, unfortunately, the recollection of the participants in those negotiations,
 particularly with respect to the issue of the treatment of newly recognized MSRs, was
 limited.357

      However, the documentary record shows that from the outset, the MSR Swap was
 conceptualized as a “total return swap.”358 Under this “total return swap,” all of the economics
 of the MSRs would be traded to GMAC Mortgage in exchange for a fixed rate of return,


 352 See S. Fork Broad. Corp. v. Fenton, 141 A.D.2d 312 (N.Y. App. Div. 1988) (finding that conclusory
    assertions by a sophisticated party that the writing did not express the terms of the agreement cannot defeat
    summary judgment because the party must overcome a heavy presumption that a deliberately prepared and
    executed written instrument manifests the true intention of the parties).
 353 CRP/Extell Parcel I, L.P. v. Cuomo, 34 Misc. 3d 1214(A), at *6–7 (N.Y. Sup. Ct. 2012), aff’d, 101 A.D.3d

    473 (2012) (citing 16 N.Y. Jur.2d Cancellation of Instruments § 92); see also S. Fork Broad. Corp., 141
    A.D.2d at 315 (“The proponent of reformation must show in no uncertain terms not only that mistake or fraud
    exists, but exactly what was really agreed upon between the parties.”). The burden of proof for reformation is
    high in part because it implicates the type of danger against which the parol evidence rule and Statute of
    Frauds were meant to protect, namely, “the danger that a party, having agreed to a written contract that turns
    out to be disadvantageous, will falsely claims the existence of a different, oral contract.” Resort Sports
    Network Inc. v. PH Ventures III, LLC, 67 A.D.3d 132, 135 (N.Y. Sup. Ct. 2009) (citing Chimart Assoc. v.
    Paul, 489 N.E.2d 231, 234 (N.Y. 1986)).
 354 See Healy v. Rich Prods. Corp., 981 F.2d 68, 73 (2d Cir. 1992); Yu Han Young v. Chiu, 49 A.D.3d 535, 536

    (N.Y. App. Div. 2008).
 355 See U.S. Bank Nat. Ass’n v. Lieberman, 98 A.D.3d 422, 424, 950 N.Y.S.2d 127, 129 (N.Y. App. Div. 2012)

    (stating that reformation based upon a scrivener’s error requires proof of a prior agreement between parties);
    K.I.D.E. Assocs., Ltd. v. Garage Estates Co., 280 A.D.2d 251, 253 (N.Y. App. Div. 2001) (noting that the
    evidence must show what parties agreed upon, particularly if the negotiations were conducted by
    sophisticated and counseled parties).
 356 Int. of J. Cortese, Mar. 7, 2013, at 28:19–29:9.

 357 See Int. of R. Groody, Dec. 17, 2012, at 215:21–216:5; Int. of B. Bier, Feb. 22, 2013, at 154:23–158:5.

 358 See Preliminary Analysis of Bank Opportunity [EXAM11248134] (referring to total return swap) (attached to

    e-mail from B. Bier to D. Applegate (Dec. 14, 2006) [EXAM11232773]).

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 eliminating risk (other than counterparty risk) to the Bank.359 Precisely what this meant in the
 context of the recognition and capitalization of new MSRs does not appear from the available
 evidence to have been specifically addressed at the time; the principal focus was instead on
 the volatility of the asset. The Bank did recognize a gain on the capitalization of new MSRs
 for Bank-originated loans that it did not recognize for the other MSRs in question, and passing
 this gain on to GMAC Mortgage preserved the Bank’s profit and loss neutrality. Further,
 Groody’s August 2007 presentation to the Bank Board, after saying that “the Bank will pay
 cash to GMAC [Mortgage] in the event the market value of the asset increases” (and vice
 versa if the market value decreases), states that “[t]he swap will use the recorded amounts in
 the Bank’s income statement at the basis for the cash settlement of the swap to ensure all
 monthly income statement volatility is removed from the Bank each month.” The presentation
 is not specific to MSR capitalization or recognition, and, again, is not particularly detailed,
 but, like Cortese, it does focus on “income statement” impact.

       However, the parties nevertheless chose to draft the FMV Swap to call for payments
 based on changes to the balance sheet value of the Bank’s MSR assets. The Investigation has
 revealed no evidence to suggest use of this specific language was somehow unintended, or
 that the parties had intended that other language be used. As with the Pipeline Swap, discussed
 in Section VII.L.2.c, the issue instead seems to be that the language was included
 intentionally, but did not accomplish the parties’ agreed purpose (or match the parties’
 consistent implementation of the agreement).

      Notably, in light of the absence of any provision for unwinding the MSR Swap on
 termination, discussed in Section V.B.9.b(5), it is questionable whether the economics of the
 transaction ultimately make sense, even as applied, with the payment for capitalization of
 MSRs limited to those for Bank-originated loans. The terms of the MSR Swap permit GMAC
 Mortgage to keep the remaining value of the MSRs (to the extent not already repaid to Ally
 Bank through amortization and market-driven declines in value) upon termination of the
 agreement, even though it had not paid an SRP to acquire the MSR (as it would have done
 before implementation of the MSR Swap). As discussed in Section V.B.9.b(5), this could be
 viewed as akin to permitting the borrower on a loan to retain the loan’s remaining unpaid
 principal balance upon termination. One might have expected the MSR Swap’s termination
 provisions to include a provision for a run-off of the existing MSR portfolio or for a return of
 the remaining value of the MSRs to the Bank on termination. But they contain no such
 provisions, and, as a result, upon termination of the MSR Swap, results were simply trued up
 through the termination date. The Bank paid GMAC Mortgage approximately $364 million
 under the MSR Swap for Bank-originated loan MSRs from 2007 through April 2012,360 and
 GMAC Mortgage kept the unamortized portion of those MSRs at termination.

     Whatever one concludes about the economics of the Swap as implemented, it would
 make little economic sense to enforce the pre-April 2011 MSR Swap as written and require
 359 See,
       e.g., Minutes of a Regular Meeting of the Board of Directors of GMAC Bank, Aug. 22, 2007, at
    ALLY_PEO_0001451 [ALLY_PEO_0001400].
 360 See Section V.B.12.b(1), Ex. V.B.12.b(1)-3.



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 payment to GMAC Mortgage of the value of correspondent-loan MSRs and purchased MSRs,
 which totaled $1.329 billion for the period from the inception of the Swap until its amendment
 in April 2011 (including $402 million in 2007 and 2008 before the 2009 Bank Transaction).361
 The Bank had paid to purchase these MSRs (either through payment of an SRP or by
 purchasing the MSR separately from a loan). Requiring that their value be paid to GMAC
 Mortgage when the MSR was recorded on the Bank’s balance sheet and not recovered on
 termination is more difficult to justify than paying GMAC Mortgage the value of Bank-
 originated loan MSRs. While Ally Bank owned all of these MSRs, and GMAC Mortgage paid
 an SRP for none of them, paying over Bank-originated loan MSRs at least preserved P&L
 neutrality for the Bank.

      The MSR Swap, as discussed in Section V.B.9, was a recurring subject of concern for the
 Bank’s regulators. It is not clear that they (or anyone else) understood this aspect of the MSR
 Swap’s functioning with respect to Bank-originated loan MSRs. It may be that the Bank
 would have substantial arguments that the arrangement would not have withstood regulatory
 scrutiny had it been applied to require payment of the value of purchased and correspondent-
 loan MSRs upon recognition. And the Bank, of course, had the right to terminate the MSR
 Swap upon relatively short notice, particularly after the September 2009 amendment
 permitting the Bank to terminate on thirty days’ notice.

      Accordingly, as with the application of the Pipeline Swap, based on the available
 evidence and the exacting standard which governs the application of the doctrine of mistake,
 while it is a close question, the Examiner concludes that a court more likely than not would
 reform the pre-April 2011 MSR Swap to require payment of the value of newly recognized
 MSRs only for those MSRs on which the Bank recognized a gain.

       Turning, then, to the period from adoption of the April 2011 MSR Swap Confirmation
 through termination of the Swap, the first issue is whether the revisions establish that the value
 of newly purchased MSRs or correspondent-loan MSRs would not be captured by the FMV
 portion of the Swap.362 However, as discussed above, the April 2011 FMV Change and FMV
 definitions are, if anything, even clearer in their applicability, given the elimination of the
 “FAS 156 mark to market” reference. Apart from that revision, the only substantive April
 2011 change to the FMV Swap is the introduction of the “MSR Amount” adjustment to the
 FMV Change.363 However, as Young pointed out, that provision applies only to circumstances
 where the Bank has sold MSRs, requiring adjustment of the FMV Change based on the gain or
 loss realized in such sales. While calculation of the Bank’s gain or loss on such sales does take
 into account any gain the Bank realized on capitalization of the MSRs, the reference to gain
 on capitalization is limited to this context, and is not made applicable to the calculation of the
 FMV Change except where there has been a sale of MSRs.
 361 See Section V.B.10.b(2), Ex V.B.10.b(2).

 362 See Law Debenture Trust Co. of N.Y. v. Maverick Tube Corp., 595 F.3d 458, 466–67 (2d Cir. 2010); R/S

    Assocs. v. New York Job Dev. Auth., 771 N.E.2d 240, 242 (N.Y. 2002); W.W.W. Assocs., Inc. v. Giancontieri,
    566 N.E.2d 639, 642 (N.Y. 1990).
 363 April   2011 MSR Swap Confirmation, § 2, at 4 [ALLY_0041799] (definition of MSR Amount).

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       The issue, therefore, again becomes whether the doctrine of mistake is applicable. All of
 the same considerations applicable to the analysis of the pre-April 2011 MSR Swap set forth
 above are similarly applicable to the April 2011 MSR Swap Confirmation. Added to these
 considerations is the fact that, by April 2011, the parties’ practice had long been in place, that,
 as Cortese testified, the accountants had gone to those preparing the revised language to tell
 them “this is how we’re doing it” and seek “language that coincided with how [the
 accountants] were doing it.”364 On the other hand, the requested revisions seem not to have
 been executed in a way that accomplished this purpose. Further, the disparate economic result
 of transferring the newly recognized value of purchased MSRs and correspondent-loan MSRs
 to GMAC Mortgage, MSRs for which it had paid no SRP, would be an additional $397
 million for the period when the April 2011 MSR Swap was in effect.365

      Considering all of the facts and circumstances, the Examiner concludes that, while it is a
 close question, a court more likely than not would reform the April 2011 MSR Swap
 Confirmation to require payment of the value of newly recognized MSRs only for those MSRs
 on which the Bank recognized a gain.

     3. Dispute Regarding Application Of Indemnity Cap

      As discussed in Section V.C.2, the interpretation of the provisions set forth in the
 January 30 Letter Agreement, the Servicing Agreement Modification Terms, and ultimately
 the A&R Servicing Agreement, have been the subject of a dispute. The Debtors assert that the
 January 30 Letter Agreement, and thus the A&R Servicing Agreement, provides for a cap on
 indemnity payments to be made to Ally Bank by GMAC Mortgage relating to the
 modification of loans in the Ally Bank portfolio. AFI and Ally Bank argue that the A&R
 Servicing Agreement, which constitutes the entire agreement of the parties, is unambiguous,
 does not include a cap on indemnity payments relating to loan modifications, and is consistent
 with the terms of the January 30 Letter Agreement.

               a. The Terms Of The January 30 Letter Agreement

      The “reimbursement” and “indemnity” provisions set forth in the January 30 Letter
 Agreement and the Servicing Agreement Modification Terms, respectively, are not identical
 and appear to cover distinct situations. A closer examination of these provisions illustrates the
 differences.




 364 Int. of J. Cortese, Mar. 7, 2013, at 37:24–38:13.

 365 See Section V.B.10.b(2); Ex. V.B.10.b(2).



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           The reimbursement provision of the January 30 Letter Agreement, paragraph 5, provides
 that:

                    ResCap and [GMAC Mortgage] each acknowledges and agrees
                    to fully reimburse AFI and Ally Bank for any and all amounts
                    expended by AFI or Ally Bank in connection with AFI’s or Ally
                    Bank’s performance or satisfaction of obligations under any
                    [DOJ/AG Settlement] or FRB/FDIC Consent Order and for any
                    fines, penalties or other amounts levied against AFI or Ally
                    Bank, in each case, as a result of the failure of ResCap, [GMAC
                    Mortgage] or their subsidiaries to perform their obligations
                    under any [DOJ/AG Settlement] or FRB/FDIC Consent
                    Order.366

           This provision is expressly limited by the following language:

                    ResCap and [GMAC Mortgage] shall not have any further
                    obligation to reimburse AFI or Ally Bank for Settlement Costs
                    pursuant to this Paragraph 5 from and after the time ResCap and
                    [GMAC Mortgage] have effected the hard dollar payments . . .
                    and have earned $200,000,000 of funds paid or credited as a
                    result of mitigation, remediation or other financial
                    accommodation to mortgage loan borrowers or other third
                    parties . . . pursuant to the [DOJ/AG Settlement].367

      This reimbursement obligation (and the subsequent limitation) covers “amounts
 expended by AFI and Ally Bank . . . as a result of the failure of ResCap, [GMAC Mortgage]
 or their subsidiaries to perform their obligations under any [DOJ/AG Settlement] . . .” and is
 capped as set forth therein.368

      In contrast, the indemnity provision set forth in Servicing Agreement Modification Terms
 provides that GMAC Mortgage “shall indemnify Ally Bank for any loss suffered by Ally
 Bank with respect to Subject Loans as a result of any modification or loss mitigation . . . .”369
 These two provisions, covering “amounts expended . . . for any fines, penalties, or other
 amounts levied against AFI or Ally Bank” as opposed to “loss[es] suffered” as a result of loan
 modification activity provide distinct and targeted language crafted to address two different




 366 January 30 Letter Agreement, ¶ 5 [ALLY_0194817].

 367 Id.

 368 Id.

 369 Id. Ex. C-1.



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 issues.370 The indemnity provision included in the Servicing Agreement Modification Terms
 lacks a limitation similar to that provided in paragraph 5 of the January 30 Letter Agreement.
 The only limiting provision prohibits GMAC Mortgage from performing “modifications or
 other loss mitigation activities once indemnification payments to Ally Bank pursuant to the
 Modification Amendment exceed $75,000,000 in the aggregate.”371
      A review of drafts of the January 30 Letter Agreement distributed during negotiation also
 highlights this distinction.372 For example, paragraphs 4 and 5 of AFI’s January 25 draft
 agreement, detailed in Section V.C.2.a, have separate provisions with language almost identical
 to the separate provisions discussed above.373 The inclusion of both provisions in the text of the
 same draft agreement would indicate that the drafter considered these two separate and distinct
 provisions. ResCap’s response to this draft agreement corroborates this interpretation. ResCap’s
 mark-up of AFI’s January 25 draft agreement incorporated a cap on the reimbursement for
 “amounts expended by AFI or Ally Bank” in connection with the DOJ/AG Settlement “from
 and after the time ResCap and [GMAC Mortgage] have effected the hard dollar payments . . .
 and $200 million of soft dollar credits pursuant to the DOJ/State AG Settlement.”374 However,
 ResCap only deleted most of what was paragraph 5 of AFI’s January 25 draft agreement
 regarding the reimbursement of “Ally Bank for any loss suffered by Ally Bank with respect to
 any mortgage loan as a result of any modification or loss mitigation” in connection with the
 DOJ/AG Settlement,375 rather than proposing a cap as it had in the other provision.
                b. The Terms Of The A&R Servicing Agreement
      The A&R Servicing Agreement incorporates the indemnity provision required by the
 Servicing Agreement Modification Terms. Specifically, the A&R Servicing Agreement
 provides that “[GMAC Mortgage] shall indemnify [Ally Bank] for losses suffered by [Ally
 Bank] as a result of any action taken in accordance with the AG Menu Items attached hereto
 as Exhibit 4-B; provided, that [GMAC Mortgage] shall not be required to indemnify [Ally
 Bank] for any losses in connection with any such action that also would have been permitted
 under the terms of the Standard Matrix.”376 Exhibit 4-B provides the framework for “ResCap
 AG Consumer Relief,” or the implementation of the consumer relief required by the DOJ/AG
 Settlement.
 370 Employees  of GMAC Mortgage admit that, at the very least, the language in the Servicing Agreement
    Modification Terms is more specific to modification activity. See Int. of J. Pensabene, Jan. 9, 2013, at 205:19–21
    (when asked about the language in Exhibit C to the January 30 Letter Agreement in comparison to the language
    in paragraph 5, Pensabene noted that it was “language clearly much more specific to modification activity.”).
 371 January 30 Letter Agreement, Ex. C-2 [ALLY_0194817].

 372 An in-depth discussion of the negotiation of the January 30 Letter Agreement is included in Section V.C.2.a.

 373 AFI Draft Terms of Support Relating to Possible DOJ/State Attorneys’ General Settlement, dated Jan. 25,

    2012, ¶¶ 4–5 [EXAM20276340].
 374 Draft Terms of Support Relating to Possible DOJ/State Attorneys’ General Settlement—ResCap Comments,

    dated Jan. 26, 2012, ¶ 4 [RC00067767].
 375 Id. ¶ 6.

 376 A&R Servicing Agreement, § 10.01(e) [ALLY_0114469].



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      The A&R Servicing Agreement also includes the limitation on modifications as set forth
 in the Servicing Agreement Modification Terms, which states that “[i]n no case shall [GMAC
 Mortgage] evaluate additional Portfolio Loans for actions pursuant to the AG Menu Items in
 the month following the month in which indemnification payments to [Ally Bank] . . . exceed
 $75,000,000 in the aggregate.”377 The A&R Servicing Agreement notably omits, however, any
 cap on indemnity such as the cap included in paragraph 5 of the January 30 Letter Agreement,
 which limits GMAC Mortgage’s reimbursement liabilities once the “hard dollar payments”
 have been made under the DOJ/AG Settlement, and ResCap and GMAC Mortgage have
 earned $200 million of “soft dollar credits.”378

               c. Ambiguity

       The January 30 Letter Agreement and the A&R Servicing Agreement are governed by
 New York law.379 Under New York law, an ambiguity exists when an agreement “on its face”
 is “reasonably susceptible” to more than one interpretation.380

      No ambiguity exists when contract language has “a definite and precise meaning,
 unattended by danger of misconception in the purport of the [agreement] itself, and
 concerning which there is no reasonable basis for a difference of opinion.”381 In addition,
 contractual “[l]anguage whose meaning is otherwise plain does not become ambiguous merely
 because the parties urge different interpretations,” unless each is a reasonable interpretation.382
 When determining whether a particular provision is ambiguous, the agreement must be read
 “as a whole to ensure that undue emphasis is not placed upon particular words and phrases.”383
 Taking the agreement “as a whole” should involve the recognition of contrasting provisions384
 and may eliminate any ambiguity.385



 377 Id. § 10.01(f).

 378 January 30 Letter Agreement, ¶ 5 [ALLY_0194817].

 379 Id. ¶ 13; A&R Servicing Agreement, § 12.07 [ALLY_0114469].

 380 Greenfield v. Philles Records, Inc., 780 N.E.2d 166, 171 (N.Y. 2002); Chimart Assocs. v. Paul, 489 N.E.2d

    231, 233 (N.Y. 1986); see, e.g., Readco, Inc. v. Marine Midland Bank, 81 F.3d 295, 299 (2d Cir. 1996).
 381 Law Debenture Trust Co. of N.Y. v. Maverick Tube Corp., 595 F.3d 458, 467 (2d Cir. 2010); Greenfield, 780

    N.E.2d at 170–71; Hunt Ltd. v. Lifschultz Fast Freight, Inc., 889 F.2d 1274, 1277 (2d Cir. 1989); Breed v. Ins.
    Co. of N.A., 385 N.E.2d 1280, 1282–83 (N.Y. 1978).
 382 Law Debenture Trust Co., 595 F.3d at 467 (citing Hunt Ltd. 889 F.2d at 1277).

 383 Id. (citing Bailey v. Fish & Neave, 868 N.E.2d 956, 959 (N.Y. 2007)); Crow & Sutton Assocs., Inc. v. Welliver

    McGuire, Inc., 820 N.Y.S.2d 179, 179 (N.Y. App. Div. 2006); see also Lockheed Martin Corp. v. Retail
    Holdings, N.V., 639 F.3d 63, 69 (2d Cir. 2011).
 384 See, e.g., W.W.W. Assocs., Inc. v. Giancontieri, 566 N.E.2d 639, 642 (N.Y. 1990).

 385 Law Debenture Trust Co., 595 F.3d at 467 (citing Readco, Inc., 81 F.3d at 299) (“[W]here consideration of

    the contract as a whole will remove the ambiguity created by a particular clause, there is no ambiguity.”); see
    also Hudson-Port Ewen Assocs., L.P. v. Chien Kuo, 578 N.E.2d 435, 435 (N.Y. 1991).

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      The primary objective of contract interpretation is to construe an agreement in accordance
 with the parties’ “expressed” intent,386 and “the best evidence of what parties to a written
 agreement intend is what they say in their writing.”387 Accordingly, “a written agreement that is
 complete, clear and, unambiguous on its face must be [interpreted] according to the plain
 meaning of its terms,”388 without any assistance from extrinsic evidence.389

      While evidence “outside the four corners of a document as to what was really intended . . .
 is generally inadmissible to add to or vary the writing,”390 extrinsic evidence of the parties’
 intent may be considered if an agreement is ambiguous.391 However, “extrinsic and parol
 evidence is not admissible to create an ambiguity” in an otherwise complete and clear
 agreement.392

              d. Analysis

     The Examiner concludes that it is likely that a court would find that AFI’s and Ally
 Bank’s position, that there was no cap on the indemnity obligation set forth in the Servicing
 Agreement Modification Terms and the A&R Servicing Agreement, would prevail.

      The indemnity provision of the A&R Servicing Agreement is likely to be considered
 unambiguous. The only limitation with respect to this provision is that modifications must
 cease when indemnification payments reach $75 million in the aggregate, and may only
 resume upon agreement by the parties. The A&R Servicing Agreement does not incorporate a
 cap relating to the payment of the hard dollar payments and the earning of $200 million in soft
 dollar credits. The Debtors do not dispute this. They instead argue that the A&R Servicing
 386 Hunt Ltd., 889 F.2d at 1277; Law Debenture Trust Co., 595 F.3d at 467; see also Welsbach Elec. Corp. v.

   MasTec N.A., Inc., 859 N.E.2d 498, 500 (N.Y. 2006); Greenfield v. Philles Records, Inc., 780 N.E.2d 166, 170
   (N.Y. 2002).
 387 Greenfield, 780 N.E.2d at 170 (citing Slamow v. Del Col, 594 N.E.2d 918, 919 (N.Y. 1992)); see, e.g.,

    Wallace v. 600 Partners Co., 658 N.E.2d 715, 717 (N.Y. 1995); Breed v. Ins. Co. of N.A., 385 N.E.2d 1280,
    1282 (N.Y. 1978).
 388 Law Debenture Trust Co., 595 F.3d at 467 (citing Greenfield, 780 N.E.2d at 170); see, e.g., R/S Assocs. v.

    N.Y. Job Dev. Auth., 771 N.E.2d 240, 242 (N.Y. 2002); Reiss v. Fin. Performance Corp., 764 N.E.2d 958, 960
    (N.Y. 2001); Bailey v. Fish & Neave, 868 N.E.2d 956, 959 (N.Y. 2007) (“[W]here the language is clear,
    unequivocal and unambiguous, the contract is to be interpreted by its own language.”) (internal quotation
    marks omitted); W.W.W. Assocs., Inc., 566 N.E.2d at 642 (“[W]hen parties set down their agreement in a
    clear, complete document, their writing should as a rule be enforced according to its terms.”).
 389 Int’l Multifoods Corp. v. Commercial Union Ins. Co., 309 F.3d 76, 83 (2d Cir. 2002); Alexander & Alexander

    Servs., Inc. v. These Certain Underwriters at Lloyd’s, London, England, 136 F.3d 82, 86 (2d Cir.1998); see,
    e.g., State v. Home Indem. Co., 486 N.E.2d 827, 828–29 (N.Y. 1985).
 390 Law Debenture Trust Co., 595 F.3d at 466; R/S Assocs., 771 N.E.2d at 242; W.W.W. Assocs., Inc., 566 N.E.2d

   at 642.
 391 Law Debenture Trust Co., 595 F.3d at 467; Greenfield, 780 N.E.2d at 170.

 392 S.Rd. Assocs., LLC v. Int’l Bus. Machines Corp., 826 N.E.2d 806, 809 (N.Y. 2005) (citing W.W.W. Assocs.,

    Inc., 566 N.E.2d at 642); R/S Assocs., 771 N.E.2d at 242–43; Reiss, 764 N.E.2d at 961.

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 Agreement must be read in conjunction with the January 30 Letter Agreement, and that the
 January 30 Letter Agreement “capped the Debtors’ reimbursement obligations to AFI and
 Ally Bank once the Debtors had made the $110 million cash payment and earned $200 million
 in Soft Dollar Credits.”393

      Even assuming the Debtors are correct, and these documents cannot be interpreted
 independently of each other,394 the Examiner’s conclusion remains the same, as a court would
 likely conclude that the terms of the January 30 Letter Agreement are also unambiguous.
 Taking the January 30 Letter Agreement as a whole, and considering contrasting the
 provisions of paragraph 5 and the Servicing Agreement Modification Terms likely eliminates
 any ambiguity. As stated above, the reimbursement provision in paragraph 5 of the January 30
 Letter Agreement and the indemnity provision set forth in the Servicing Agreement
 Modification Terms and the A&R Servicing Agreement are different. The provision in
 paragraph 5 has a cap, while the provisions in the Servicing Agreement Modification Terms
 and the A&R Servicing Agreement are subject only to the limitation relating to the payment of
 $75 million in the aggregate. While individuals interviewed by the Examiner have stated that
 the parties had a business understanding that there was to be a cap on indemnity payments
 made under the terms of the Servicing Agreement Modification Terms and the A&R Servicing
 Agreement,395 a plain reading of the document would be unlikely to support such an
 interpretation.

      Moreover, even if a court were to find the January 30 Letter Agreement ambiguous, and
 thus look to extrinsic evidence, the Examiner finds it likely that a court would determine that
 the parties did not intend to include a cap on the indemnity payments related to loan
 modifications. As provided herein, a review of the drafts of the January 30 Letter Agreement
 does not indicate any intent of the parties to include an indemnity cap, but instead supports the
 proposition that the provisions were distinct. In two ancillary writings, which provided the
 parties an opportunity to clarify their alleged business understanding, a February 9, 2012



 393 Letter from L. Nashelsky to R. Schrock (July 9, 2012) (attached to Declaration of Thomas Marano, Chief

    Executive Officer of Residential Capital, LLC, in Further Support of Debtors’ Ally Servicing Motion [Docket
    No. 793-1] at Ex. 7).
 394 The Examiner has not been asked to opine on this issue, and it appears unlikely that the Examiner’s ultimate

    conclusion would be impacted either way.
 395 See, e.g., Int. of J. Whitlinger, Feb. 27, 2013, at 206:25–207:8 (“[O]ur view was—and I was very clear when

   we were negotiating some of this—that ‘You’re giving us debt forgiveness of $196.5 million. And once we hit
   above that amount, we don’t have to pay anymore. Because you only gave us debt forgiveness up to that
   amount. Yes.?’ ‘Yes.’ That was the business understanding.”). Despite this, Whitlinger acknowledged that this
   understanding may not have made it into the actual agreement. See id. at 209:5–12 (responding to a question of
   whether this understanding made it into the January 30 Letter Agreement or elsewhere and stating that “[w]hat
   you have is what you have. That’s why we were debating it for my other deposition”); Int. of J. Pensabene, Jan.
   9, 2013, at 242:19–24 (“It was my understanding that one, we had exceeded our estimate—internal estimates
   indicated that we had exceeded $200 million worth of credit and as a result we were not required to make any
   further reimbursement to the bank.”).

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 e-mail396 and a May 11, 2012 agreement regarding the reimbursement obligations of ResCap
 and GMAC Mortgage,397 the parties specifically refer to the use of Ally Bank’s loan portfolio
 in exchange for “full reimbursement” to Ally Bank, rather than discussing a cap in any
 manner. The course of conduct of the parties supports this proposition as well. In reviewing
 voluminous correspondence concerning the lengthy negotiation of the A&R Servicing
 Agreement, the negotiation of the AG Menu Matrix, or the discussions regarding the
 prepetition indemnity payment, the Examiner did not encounter any evidence of the parties
 discussing any indemnity cap. There were numerous discussions regarding the $75 million
 aggregate cap and how to deal with that issue, both pre- and postpetition.398 While this
 aggregate limit was the cause of great concern for the parties, at no time prior to June 20 did
 ResCap and GMAC Mortgage indicate that the alleged cap on indemnity payments was an
 issue.




 396 E-mail from J. Young to R. Zachary, H. Benton, T. Hamzehpour, J. Pensabene, C. Evans, and J. Whitlinger

    (Feb. 9, 2012), at EXAM20169859–60 [EXAM20169858] (responding to a request for e-mail confirmation
    regarding the ability to perform modifications in Ally Bank’s loan portfolio, Young stated “[y]es, under the
    agreement of full reimbursement for all losses related to loan preservation activities”).
 397 See  Agreement for AG Settlement Loan Modifications For April 2012, dated May 11, 2012
    [ALLY_PEO_0087335] (“The parties acknowledge that such modifications, which are required in order . . . to
    comply with the terms of the [DOJ/AG Settlement], are conditioned on full reimbursement to Ally Bank of all
    losses in accordance with the [January 30 Letter Agreement], as well as the [AG Menu Matrix] . . . .”).
 398 See Sections V.C.2.b, V.C.2.c, V.C.2.d. Further, the majority of discussions involving the $75 million
    aggregate cap involved concern over whether the cap would prevent GMAC Mortgage from performing the
    required modifications. See E-mail from C. Schares (Apr. 12, 2012) [EXAM00001279] (responding to a question
    from Rosen of whether reimbursements were capped at $75 million, Schares responded “[u]nfortunately, yes. But
    we could still argue for our interpretation and we can also ask to increase the cap”). This seems inconsistent with
    the existence of an indemnity cap as the Debtors allege.

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